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                                     Jakki J. Mohr, Ph.D.



                                    Expert Report on
                         Role of Distributors in Opioid Marketing


                                       August 3, 2020




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 INTRODUCTION
 1. I have been retained as an independent expert witness by counsel for the Plaintiffs Cabell County and
 the City of Huntington (“Plaintiffs”) to offer opinions in the following areas:

 a.      To provide an overview of the function and purpose of distributors in marketing strategy
         generally.
 b.      To comment on the basic duties and obligations of marketers.
 c.      To provide an overview of the role of the wholesale distributor in the opioid supply chain.
 d.      To assess the role of Distributor Defendants, McKesson Corporation (“McKesson”), Amerisource
         Bergen Drug Corporation (“Amerisource Bergen”) and Cardinal Health, Inc. (“Cardinal”) (referred
         to herein as “Defendants” or “Distributors”), in the growth of the demand for prescription
         opioids, including through marketing. These large corporations are often referred to as “the Big
         Three,” as they collectively are responsible for roughly 92% of the pharmaceutical distribution
         market in the United States.1
 e.      To offer opinions on the integration of the distribution channel for prescription opioids,
         including the Distributors’ line-of-sight into both upstream supply and downstream demand.
 My opinions are set forth in this report and are given to a reasonable degree of certainty. The basis for
 those opinions includes the items cited in this report and the attached Schedules; my knowledge,
 training, education, and experience in the field of marketing; and my expertise in supply chain
 management and distribution. I reserve the right to change or add to this Report if additional
 information becomes available.

 QUALIFICATIONS (see CV attached as Schedule 1)
 2. My position is Regents Professor of Marketing at the University of Montana. I received my Ph.D. in
 marketing, with an emphasis in distribution channels, from the University of Wisconsin-Madison in
 1989.

 3. My academic research over the past 30 years has focused on distribution channel management and
 strategies; marketing strategies related to development and commercialization of technology and
 innovation; and most recently, the environmental impacts and responsibilities of business.

 4. I teach undergraduate and graduate courses in Marketing Management, Advertising & Promotion,
 Business-to-Business Marketing, Marketing of Technology & Innovation, Data Analytics & Innovation,
 Brand Management, and Channels Management.

 5. Prior to my Ph.D., I worked at Hewlett-Packard (hp) in Cupertino, CA as an advertising coordinator. My
 role was to coordinate the distribution channel’s marketing efforts with our national brand advertising;
 the objective was to ensure that hp’s presence at the point of purchase in local markets was consistent
 with our national campaign. I coordinated cooperative advertising (wherein hp provided reimbursement
 to dealers upon verification of qualified dealer/retailer advertising, funded through an accrual program

 1
  HDA, The Role of Distributors in the US Health Care Industry (2019) at 3. (Available at
 https://www2.deloitte.com/content/dam/Deloitte/us/Documents/life-sciences-health-care/us-hda-
 role-of-distributors-in-the-us-health-care-industry.pdf)

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 as a percentage of purchase of hp product for their stores’ inventory) as well as soft-money campaigns
 for extra promotional efforts by retailers. I also attended trade shows, which helped to funnel sales
 leads to our salespeople, who called on dealers and retailers.

 6. My dissertation research focused on partnerships and alliances between manufacturers and channel
 intermediaries. Funded in part by IBM, I explored factors that affect how computer retailers perceived
 manufacturer’s communication strategies in their efforts to coordinate channel member activities. At
 the time of my dissertation research, IBM had recently introduced its PC (personal computer) and was
 changing its channel strategy. IBM had historically relied on personal selling to call on enterprise
 customers, but the introduction of the PC necessitated a new channel of sales through retailers and
 intermediaries.

 7. I published multiple articles on channel structure and management in academic journals (e.g., the
 Journal of Marketing, Journal of Retailing), business/practitioner journals (California Management
 Review), and trade press (Computer Reseller News, and Marketing Management).

 8. In my role on various editorial boards for the Journal of Marketing, the Journal of the Academy of
 Marketing Science, and others, I peer-reviewed multiple manuscripts on distribution channel issues.

 9. In addition to having received the Stern Award, the American Marketing Association’s award for the
 best article in distribution channels, I also served on the selection committee.

 10. I also serve as a consultant/expert for the State of Montana and the State of Alaska with respect to
 pharmaceutical marketing.


 METHODOLOGY
 11. In forming my opinions, I considered the materials listed on Schedule 2 to this Report, the
 publications and texts listed in this Report, as well as my professional experience in marketing and
 distribution. The opinions expressed in this Report are solely my own and are expressed to a reasonable
 degree of certainty.

 12. I was assisted in the assembly of the evidence tables attached to this Report by three research
 assistants. I supervised and directed their work.

 13. My report reflects the basic standards and strategies of distribution channel structure and
 management, and its role in marketing and increasing and maintaining demand for products.

 14. As Defendants were part of the distribution channel for prescription opioids, which takes place in a
 “closed system” governed by the Controlled Substances Act (CSA), I was provided with relevant section
 of the CSA and its implementing regulations, including, 21 U.S.C. §§ 801–971 (2006); 21 C.F.R. §§ 1300–
 1321 (2009) (See Schedule 2).

 The CSA was passed in response to a drug abuse problem that President Richard Nixon called a “serious
 national threat to the personal health and safety of millions of Americans,” and he recognized
 that “[a] national awareness of the gravity of the situation is needed; a new urgency and
 concentrated national policy are needed at the Federal level to begin to cope with this growing



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 menace to the general welfare of the United States.”2 The following year, Congress enacted the
 Controlled Substances Act (CSA) as a part of the Comprehensive Drug Abuse Prevention and
 Control Act of 1970, which was signed into law and became effective on May 1, 1971.3

 The CSA was designed to protect the public health by providing for a closed system of drug distribution,
 in which all legitimate handlers of controlled substances must obtain a DEA registration, and, as a
 condition of maintaining such registration, must take reasonable steps to ensure their registration is not
 being used as a source of diversion of the controlled substance or harming the public health.4

 Relevant parts of the CSA are excerpted in Schedule6 to my Report.5 In addition, I have reviewed the
 Expert Report of David Courtright, specifically his sections regarding the CSA.6

 COMPENSATION
 15. My rates for expert work are $350/hour for research and writing and $500/hour for deposition and
 testimony.


 PRIOR TESTIMONY
 16. I have not testified as an expert at trial or by deposition in the past four years.


 OPINIONS
 1. A distributor is a channel intermediary that provides a variety of services (logistics and order
 fulfillment, marketing and sales, training and service/support, etc.) for upstream manufacturers in
 meeting the needs and demands of downstream customer accounts.

 2. Given their privileged role in connecting upstream suppliers to downstream customers, Distributors
 have a unique lens on product flows, information and payments, both at the manufacturer and the
 pharmacy levels. Distributors’ technology and information systems provide an interface that ensures
 supply is synchronized with demand.

 3. Within distribution channels for many products sold through retailers, all of the main participants in
 the channel, including manufacturers, distributors, and retailers, engage in marketing to sell more
 products. In the opioid distribution channel, the Distributors participated in an integrated supply chain



 2
   Report by the United States House of Representatives Energy and Commerce Committee, Red Flags
 and Warning Signs Ignored: Opioid Distribution and Enforcement Concerns in West Virginia, December
 19, 2018 at 27. (hereinafter “Congressional Report”); citing Aron J. Hall, DVM, MSPH, et al., Patterns of
 Abuse Among Unintentional Pharmaceutical Overdose Fatalities, Vol. 300 No. 22, JAMA, 2613, 2619
 (2008) and United States Department of Justice National Drug Intelligence Center Report, Drug Market
 Analysis 2008: Appalachia High Intensity Drug Trafficking Area (2008).
 3
   Id.
 4
   Id; see also Expert Report of David Courtright.
 5
   See Schedule 6.
 6
   Expert Report of David Courtright.

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 that collectively increased opioid sales over time through various marketing efforts. This supply chain7
 had a common goal of growing the demand for opioids.

 4. To the extent any of the Defendant Distributors claim they did not participate in marketing opioids,
 those statements would be false. In fact, the Distributors’ marketing strategies are highly sophisticated.

 5. Because of the tight channel integration of the various members of the opioid supply chain, it is quite
 difficult to separate one supply chain member’s impact from another in terms of each individual actor’s
 responsibility for growing the opioid market. Rather, all parties worked together in a collective and
 indivisible effort to expand the market.

 6. The Distributors played a significant role in expanding and maintaining the opioid market in numerous
 ways including:

     ➢ Sophisticated cultivation of relationships with pharmacists, through providing value-added
       services to help them operate their businesses, implementing integrated technology platforms,
       harnessing data based on those relationships to target opioid marketing efforts based on
       specific pharmacy’s buying habits, and conducting research to understand their buying triggers
       and barriers.
     ➢ Provision of sophisticated marketing services to opioid manufacturers, including selling them
       access to their pharmacy networks for delivering branded advertising and sales promotions to
       pharmacists, conducting both qualitative and quantitative research of all key stakeholders in the
       healthcare supply chain in order to identify barriers and triggers for prescribing and using
       opioids, performing key functions such as staffing field sales personnel on the manufacturers’
       behalf, training pharmacists in behavioral coaching to ensure patient compliance/adherence to
       their opioid prescriptions, and training the pharmaceutical sales force in effective selling
       strategies. The Distributors also provided consulting services for these manufacturers, both


 7
  When I refer to the “supply chain” for prescription opioids, I am referencing the basic distribution
 channel that takes the opioid drug from labeler (manufacturers) to distributor to retailers (or in some
 cases direct from labelers to retailers). I have reviewed the Expert Report of Craig McCann, Ph.D, CFA
 and the Appendices thereto. The supply chain for the Cabell-Huntington market is generally illustrated
 by the Vertical Integration of Oxycodone Shipments to Cabell County and the City of Huntington, WV in
 Total Dosage Units from Labelers to Distributors, Vertical Integration of Oxycodone Shipments to Cabell
 County and the City of Huntington, WV in Total Dosage Units from Distributors to Dispensers, Vertical
 Integration of Hydrocodone Shipments to Cabell County and the City of Huntington, WV in Total Dosage
 Units from Labelers to Distributors, Vertical Integration of Hydrocodone Shipments to Cabell County and
 the City of Huntington, WV in Total Dosage Units from Distributors to Dispensers tables appended to the
 Expert Report of Craig McCann at Appendix 10(e). Based on the Expert Report of Craig J. McCann, Ph.D.,
 CFA, I understand that from 2006 to 2014 the three Defendants in this case were primarily engaged in
 the sale and shipment of semisynthetic opioids, including oxycodone and hydrocodone (herein I will
 refer to the drugs Defendants’ sold and shipped listed in Dr. McCann’s report generally as “Defendants’
 Drugs”). According to Dr. McCann’s report, oxycodone and hydrocodone accounted for 85.9% of all
 dosage units in the transactions in Cabell County and Huntington City, West Virginia from 2006 to 2014
 (McCann Report at Appendix 6a).



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         creating marketing strategy (e.g., segmentation analysis, value proposition design, etc.) and
         implementing marketing strategy.

 7. Distributors were compensated in two direct ways for the services they provided to the
 pharmaceutical manufacturers: they were paid on a traditional fee-for-service model (used by most
 marketing/advertising agencies), and they received a percentage of the sales increase (“lift”)
 attributable to their specific marketing efforts. (They also received their traditional compensation based
 on mark-up on product sales, chargebacks, etc.). Hence, the Defendant Distributors were not “neutral”
 actors having no stake in whether opioid sales went up or down but, instead, were highly
 motivated/incentivized to increase sales of opioids.

 8. Marketing is more than branded advertising designed to create awareness and generate sales of
 individual branded products. Marketing also includes indirect marketing based on creation of content
 (continuing education, speaker series, white papers and journal articles) designed to create favorable
 impressions of credibility and expertise where customers may not be aware of—and therefore less
 skeptical about—the entity behind the effort. Known as thought leadership and /or content marketing,
 the Distributors performed these marketing activities for the opioid manufacturers further elevating the
 opioid demand.

 9. Indirect marketing also includes strategies designed to cultivate primary demand and demand for the
 product class as a whole. For example, the pharmaceutical industry engaged in a concerted effort to
 change the healthcare industry’s and society’s perceptions of opioids — as well as to influence
 regulation and legislation — in the United States through front groups (American Pain Foundation) and
 trade associations (Healthcare Distribution Alliance-the HDA, previously known as the Healthcare
 Distribution Management Association—the HDMA). The Distributors not only participated in these
 marketing activities, but also played a leadership role in them.

 10. Marketing includes public relations (PR) designed to influence media and cultivate favorable
 coverage. Through the HDA, the Distributors collectively joined forces to hire communications and
 advocacy agencies that effectively influenced media to convey their message about opioids and pain
 management.

 11. All these activities successfully enlarged the market for opioids and increased opioid sales.

 12. Any company that participates in marketing a product – from manufacturers, to distributors, to
 retailers – has a duty to do so without causing harm. This is especially true when a company is selling a
 dangerous product to vulnerable consumers. When that product is a controlled substance subject to the
 Controlled Substances Act, all who market, sell, or supply the product have a duty to protect the public
 health and ensure that their marketing or participation in the growth for demand of a product is not
 injuring the public health.




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 DETAILED OPINIONS AND BASIS
         I. The Big Three (Defendant) Distributors
 The Distributors “are at the heart of the US health care ecosystem,” and claim to “play a critical role in
 supporting patient safety.”8 As of 2017, 92% of all prescription drugs were sold through a distributor,
 and the business is dominated by three large companies.9 “Pharmaceutical distributors’ $450 billion in
 annual revenue is highly concentrated among three traditional full-line distributors: AmerisourceBergen,
 Cardinal Health, and McKesson,” and the combined market share “for these three companies grew from
 87 percent in 2013 to 92 percent in 2017.”10 Between 2002 and 2017, revenue for the Big Three
 Distributors increased from $98.5 billion in 2002 to roughly $450 billion in 2017, an over four-fold
 increase.11 One of the reasons for the increase in growth for the Big Three Distributors was substantial
 increase in growth of opioid sales between 2002 and 2011.12

 As the HDA reports, “In addition to enabling a secure, transparent, and efficient pharmaceutical supply
 chain that safeguards patient safety, distributors offer value-added services such as independent
 pharmacy support, generic sourcing programs, hub services, and innovative partnerships.”13 The HDA
 report also highlights how, “beyond operational efficiency,” the distributors also support the efficient
 flow of information and money,” by, for example, “managing contracts and facilitating chargebacks.”14

 The fact that the Distributors’ role goes beyond transport is also reflected in the general description
 each company provides to its investors.

 Cardinal Health is “a global integrated healthcare services and products company providing customized
 solutions for hospital systems, pharmacies, ambulatory surgery centers, clinical laboratories and
 physician offices worldwide.”15 In the United States, Cardinal Health’s pharmaceutical segment
 “distributes branded and generic pharmaceutical, over-the-counter healthcare and consumer products
 through its Pharmaceutical Distribution division to retailers (including chain and independent drug
 stores and pharmacy departments of supermarkets and mass merchandisers), hospitals and other
 healthcare providers.”16 Cardinal Health “maintains prime vendor relationships that streamline the
 purchasing process resulting in greater efficiency and lower costs for [its] customers,” and “provides
 services to pharmaceutical manufacturers including distribution, inventory management, data reporting,
 new product launch support and contract pricing and chargeback administration.”17 In sum, Cardinal



 8
   HDA, The Role of Distributors in the US Health Care Industry, at 3.
 9
   Id. at 8.
 10
    Id.
 11
    Id.
 12
    IQVIA Institute, Medicine Use and Spending in the U.S., A Review of 2017 and Outlook to 2022
  (2018) at 20-21.
 13
    HDA, The Role of Distributors in the US Health Care Industry, at 4.
 14
    Id. at p.10.
 15
    Cardinal Health Form 10-K (2016).
 16
    Id.
 17
    Id.

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 Health’s Pharmaceutical segment “connect[s] patients, providers, payers, pharmacists and
 manufacturers for integrated care coordination and better patient management.”18

 AmerisourceBergen is also a global company having “pharmaceutical sourcing and distribution services”
 that “help both healthcare providers and pharmaceutical and biotech manufacturers improve patient
 access to products and enhance patient care.”19 Its “business strategy is focused on the global
 pharmaceutical supply channel where [it] provide value-added distribution and service solutions to
 healthcare providers (primarily pharmacies, health systems, medical and dialysis clinics, physicians, and
 veterinarians) and pharmaceutical manufacturers that increase channel efficiencies and improve patient
 outcomes.”20 AmerisourceBergen distributes brand-name and generic pharmaceuticals “and related
 services to a wide variety of healthcare providers,” and “also provides pharmacy management, staffing
 and additional consulting services, and supply management software to a variety of retail and
 institutional healthcare providers.”21 According to AmerisourceBergen, its drug distribution and related
 services are “designed to reduce healthcare costs and improve patient outcomes.”22 “We work with
 manufacturers to improve product launches and expand markets.”

 McKesson is a global company with a US pharmaceutical distribution business that “supplies branded,
 specialty and generic pharmaceuticals and other healthcare-related products” to “retail national
 accounts (including national and regional chains, food/drug combinations, mail order pharmacies and
 mass merchandisers),” “independent retail pharmacies,” and “institutional healthcare providers
 (including hospitals, health systems, integrated delivery networks, clinics and alternate site
 providers).”23 McKesson’s pharmaceutical distribution business also “provides solutions and services to
 pharmaceutical manufacturers. This business sources materials and products from a wide array of
 different suppliers, including certain generic pharmaceutical drugs produced through a contract-
 manufacturing program.”24 Its Manufacturer Marketing partners with pharmaceutical manufacturers,
 “delivering an unmatched combination of communication, distribution, packaging, and pharmacist-
 coaching options, plus targeted analytics of exclusive data, designed to enable brands to … optimize
 resources and improve profitability.”25

 Hedly Rees, a consultant specializing in pharmaceutical supply chain management,26 states that “the
 pharma companies would never be able to get their products to patients without the wholesalers….the
 net result is that the entire distribution network is in the hands of third parties; none of it is owned by
 the pharmas, not even the ability to collect cash from customers. That is all embedded in the channel
 network. Increasingly, pharmas need the wholesaler to get their products to customers and receive cash
 in return.”


 18
    Id.
 19
    AmerisourceBergen Form 10-K (2016).
 20
    Id.
 21
    Id.
 22
    Id.
 23
    McKesson Form 10-K (2016).
 24
    Id.
 25
    McKesson, Manufacturer Marketing Custom Solutions for Driving Brand Performance (2010).
 26
     Rees, Hedley, Supply Chain Management in the Drug Industry (2011) at 155.


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 Given the concentration of purchasing power with the Distributors, Rees further notes that any
 company that relies on the services of these players is “in a weaker position when it comes to
 bargaining.” Rees continues: “No one is going to believe even the biggest big pharma company if they
 said they could achieve it themselves.” This importance of Distributors is echoed by Jack McCain, who
 states that “failure to construct a good distribution channel for a new specialty pharmaceutical product
 can result in poor prescriber uptake.” 27

         II. Marketing Basics28
 Although specific industries may have unique characteristics, the scope of marketing strategy generally
 concerns itself with how a company/organization creates differential advantage (competitive
 advantage) in the marketplace in which it competes. Marketing requires (a) providing products/services
 that customers value, (b) pricing them in such a way that signals that value; (c) creating awareness and
 stimulating demand for those products, and (d) distributing those products where and when customers
 need them. In addition, marketing concerns itself with providing customer service to ensure loyalty and
 repeat purchases for long-term profitability.

 Marketing strategy guides strategic priorities and resource allocations, and hence, plays a large role in
 decisions managers make regarding selling products and services. Companies develop marketing
 strategy based on a systematic process of identifying strengths, weaknesses, opportunities and threats
 in a marketplace (sometimes referred to as a SWOT analysis); segmenting markets; honing their focus
 on key target markets; crafting value propositions that resonate with targeted customers; implementing
 the marketing strategy; and then evaluating the results/return-on-investment of that strategy on an
 ongoing basis.

 Marketing may differentiate between competitors (brand marketing), or it may attempt to expand
 demand for an entire market (economists refer to this as primary demand, demand for the product class
 as a whole), a strategy which benefits all sellers. Companies/industries use this broader marketing
 strategy when there are benefits from collective action (e.g., to address key barriers that all companies
 face collectively). This form of marketing often relies on industry trade associations to implement. For
 example, in the pharmaceutical industry, the Healthcare Distributors Alliance (HDA) undertook
 communications and advocacy work that benefited the Defendant Distributors collectively. These trade
 associations serve the interests of its members and perform key functions that would be costly or less
 impactful if individual member performed that function on its own. Among these common functions
 that trade associations perform are government lobbying, media relations, and other communications
 and advocacy services. By working behind-the-scenes to influence favorable media coverage and
 government relations, the industry trade association bolsters the ability of all companies to market and
 sell their products successfully.

 Marketing strategies are based on a nuanced understanding of the market environment into which
 those products are sold. Market research is a critical component of understanding customers,
 competitors, and the environment in which companies operate (e.g., the regulatory and socio-cultural

 27
    McCain, Jack, Connecting Patients with Specialty Products; Part 1: Distribution Models for biologics
 and other specialty pharmaceutical products. Biotechnology Healthcare (Summer 2013) at 8-13.
 28
    Kotler, Philip and Gary Armstrong, Principles of Marketing (17th edition, 2018). Pearson.

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 environment). It is the foundation of designing a marketing strategy, in that a targeted strategy is based
 on the underlying research regarding latent market potential and how to cultivate and realize that
 potential in the market. In addition, research is used to identify the barriers to increased sales and then
 to develop marketing strategies to overcome those barriers. Given their sophistication, the Defendant
 Distributors conducted research to understand each target market’s buying motivations and developed
 strategies to address those motivations.

 Marketing strategies are typically multi-faceted and are designed to grow product sales through
 different channels. Strategic marketing decisions are made in four key areas, comprised of “the 4 Ps:”
 Product, Price, Place, and Promotion:

     •   Product refers to the items/services a company offers to customers in the marketplace
     •   Price is the monetary exchange of value
     •   Place refers to the places at which customers gain access to a product (also known as the
         channel of distribution)
     •   Promotion (sometimes referred to Integrated Marketing Communications) includes the use of
         advertising, public relations, personal selling, and promotional incentives (rebates, coupons,
         etc.). Sales promotions are divided into either consumer promotions (targeted to the end users
         of a product) or trade promotions (targeted to channel members; the word “trade” in marketing
         refers to “distribution channels”).

 With respect to Promotion, marketing is premised on a strategy of deepening engagement with a
 customer during that customer’s buying process (sometimes referred to as a customer journey). For
 example, first, a customer must become aware of a product; then they must understand its key features
 and benefits; then they must make a decision about whether to purchase the product (which often
 entails overcoming inertia of habitually buying a different brand or product); and then they evaluate
 whether the product lives up to expectations or not. Hence, marketing tends to rely on an integrated
 approach to marketing communications, in which advertising is used first to educate and inform
 customers about products (e.g., create awareness) before more detailed information is conveyed in the
 form of flyers, emails, etc. Later, customers may be exposed to incentives to create the impetus to buy,
 including coupons or rebates that provide a financial motivation to purchase. Depending upon the
 product, salespeople also play a key role in each of these tasks.

 As is seen in the case of the marketing for prescription opioids, marketing can be brand-specific and
 targeted to key customers, or it can be designed to change or maintain attitudes regarding a class of
 products (like prescription opioids) or an industry as a whole, and thus sell more products. As illustrated
 by the marketing of prescription opioids described herein, marketing strategies have become multi-
 faceted and utilize a broad range of tools far beyond direct marketing (e.g., advertising), including a
 variety of indirect marketing tools:

         -   Public relations/stakeholder engagement
         -   Thought leadership and unbranded (content) marketing
         -   Media relations
         -   Government relations




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 As was true with opioid industry marketing, often these indirect marketing tools are often NOT
 associated with any one brand per se, but instead, are designed to indirectly influence customers’ and
 other stakeholders’ perceptions of the industry and product category as a whole.

 Public relations (PR) refers to efforts by a company to influence the way various stakeholders perceive
 the reputation of a company or industry. PR is a sophisticated field, and PR professionals use an array of
 strategies and tactics to cultivate positive perceptions. In the opioid market, the pharmaceutical
 companies and the Healthcare Distributors Alliance hired specialized PR professionals for
 communications, media relations, and advocacy work.

 Media relations entails proactive outreach to various media outlets (key journalists, publications, etc.) to
 influence the media coverage given to a company, its products, or an industry.

 Part of media relations is known as crisis communications. When a company or its products have
 created harm in some way, appropriate marketing strategy is to maintain a proactive, strategic response
 team ready to go into action to mitigate possible damage.

 Government relations entails cultivating relationships with key government officials and agencies to
 influence decisions that affect a company, its products, and industry regulations.

 As mentioned previously, PR efforts are sometimes managed by industry trade associations on behalf of
 its members. This is often a tool used to elevate the market by portraying broad consensus on points
 that will benefit all industry players.

 An increasingly important marketing strategy companies use is referred to as content marketing (aka
 thought leadership). Via content marketing, a company becomes a ‘trusted expert’ that customers rely
 on for advice, insights, and knowledge on relevant topics pertinent to the customers’ business/industry.
 Examples include company blogs, webinars, white papers, email newsletters, and other content whose
 purpose is not specifically to market a particular branded product, but instead to position the company
 as a trusted leader about important topics. The common goal is for the audience to turn to their trusted
 advisor for sales. This tool might include offering educational programs and other information
 prospective customers would find useful.

 Additionally, this “unbranded marketing” includes sponsoring thought leaders, industry groups or
 associations who serve as influencers for the company’s product and initiatives. These more indirect
 forms of marketing can be an important source of marketing when it is difficult to place traditional ads
 in front of a particular target market. Moreover, this marketing approach creates credibility in a more
 subtle fashion, bypassing the usual skepticism customers have with traditional marketing tactics. These
 indirect tools are particularly important when some of the target customers are professionals, such as
 doctors or pharmacists, as is the case with prescription opioids.

 Continuing education programs are an example of marketing through thought leadership. For-profit
 companies often offer continuing education programs to satisfy the requirements for different classes of
 professionals to stay licensed/registered in good standing with their licensing bodies (e.g., continuing
 legal education for attorneys; continuing professional education for accountants; continuing medical
 education for healthcare professionals). Because for-profit companies know that their targeted
 customers (e.g., licensed professionals) are required to complete a certain number of hours of


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 continuing education to renew their licensure, they offer their “thought leadership” marketing initiatives
 as continuing education.

 Another example is using expert spokespeople. Marketing often relies on expert spokespeople to
 harness the credibility and expertise these spokespeople have to indirectly “burnish” their products’
 image through a halo (carryover) effect. Using expert spokespeople is obvious when we see it used in
 advertising. However, when these experts are paid influencers that are not identified as such, the
 technique is more powerful, because it bypasses the usual skepticism customers (especially
 professionals) have with traditional marketing tactics.

 As is clear in the case of the opioid supply chain, companies that manufacturer a product are not the
 only entities that market products. In today’s era of integrated supply chains, all companies, from the
 manufacturer to distributor to retailers, participate in designing and executing a coordinated marketing
 strategy focused on selling product to end users. For example, Coughlan and Jap stress the importance
 of manufacturers and channel intermediaries each bringing “the necessary complementary
 competencies to create explosive channel growth together,” as well as the scale necessary to manage
 the demand that such explosive growth generates.29

 Reliance on technology and data affords a company important visibility into key market trends, and data
 drives many aspects of the supply chain. In pharmaceutical marketing, given that the majority of
 pharmaceuticals flow through three companies, the Distributors have unique visibility up and down the
 supply chain. Indeed, as stated by the HDA:30

         -   “Visibility into downstream inventory data informs manufacturers’ demand forecasting and
             production decisions.”
         -   “Visibility into upstream supply data can help pharmacies gauge continuity of supply and
             prepare for shortages.”
         -   “The government also relies primarily upon data provided by the distributors for suspicious
             order monitoring efforts.”

 Technology and data are, therefore, key resources to the various participants in the opioid supply chain.
 To facilitate data sharing, the opioid manufacturers and Distributors shared information systems
 (through electronic data interchange, known as EDI, or virtual private networks, known as VPNs).
 Similarly, Distributors have the opportunity to link with the customers’ (pharmacies’) technology
 systems, providing just-in-time information for automated order fulfillment, enterprise resource
 planning (ERP) systems for production, and upstream supply chain management. In fact, Distributors
 offer and provide a number of data-driven services to pharmacies including: automated pharmacy
 dispensing, data management services, direct-to-customer order fulfillment, pharmacy management
 systems and services and prescription data capture.31 “Beyond operational efficiency, distributors also
 support the efficient flow of information and money in the pharmaceutical ecosystem.”32


 29
    Coughlan, Anne T. and Sandy D. Jap, A Field Guide to Channel Strategy: Building Routes to Market,
 (2016) at 150. CreateSpace.
 30
    HDA, The Role of Distributors in the US Health Care Industry at 10.
 31
    Id. at 13.
 32
    Id. at 10.

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 Data is also important in customer relationship marketing (CRM). CRM leverages technology (the
 internet, software, databases, etc.) and data analytics to develop a database of customers and their
 purchase history to identify the most important customers (e.g., 20% of customers account for 80% of
 the volume of sales) and personalize offers to each customer based on his/her personal transaction
 history and other pertinent knowledge that companies have about the customer (birthdays, credit
 scores, preferences, etc.). It also allows companies to cross-sell and up-sell other items and services with
 the idea of increasing the customer’s “share of wallet” and lifetime value. The targeting strategies
 Defendant Distributors used in placing the pharma manufacturers’ ads and promotions in front of
 specific pharmacies based on past purchase volume, purchase of competitors’ brands, and products
 purchased in the past six months are illustrative of their sophisticated CRM use. Additionally,
 Distributors utilized these customer databases to send targeted promotion on behalf of opioid
 manufacturers to specific customer segments.

 When done well, marketing provides what economists refer to as “utilities” (e.g., sources of value):

     ➢ Form utility refers to creating products (e.g., manufacturing) that customers desire;
     ➢ Possession utility refers to helping customers take ownership of the products (e.g., by offering
       credit/financing);
     ➢ Time utility refers to making products available when customers want/need them; and
     ➢ Place utility refers to making products available where customers need/want them.

 The Distributors’ marketing focused on facilitating form utility, ensuring possession utility by offering
 rebates, discounts and pricing incentives to customers, ensuring time utility in ensuring an
 uninterrupted supply chain, and place utility in making the products accessible and available.

         III. Basic Duties of Marketers
 Like any professional discipline, ay company or person participating in marketing a product must follow
 a code of conduct in its marketing strategy. Many marketing professionals rely on the code of conduct
 found in the American Marketing Association’s Code of Ethics (see Schedule 3). This code of conduct
 highlights the responsibility to “do no harm,” to foster trust in the marketing system by avoiding
 deception, and building customer confidence in the integrity of marketing through core values of
 honesty, responsibility, fairness, respect, transparency, and citizenship. Entities or individuals who do
 not adhere to this basic duty jeopardize trust in the system and the safety of customers.

 In addition, various marketing sub-specialties such as marketing research professionals, digital
 marketers, salespeople, and competitive intelligence professionals also have additional codes of ethics.

 Marketers must be especially careful with respect to public relations. The Code of Ethics for the Public
 Relations Society of America (see Schedule 4) specifically identifies examples of improper conduct that
 include industry trade associations or other entities that appear independent but are actually funded
 and influenced by companies with a vested interest (also known as “front groups”), or recruiting people
 to participate in ostensible grass roots campaigns (also known as “astroturfing”). In addition, the PRSA’s
 Code of Ethics stresses the importance of avoiding situations where one’s professional interests conflict
 with society’s interests. In the case of opioid marketing, these basic duties were violated by Defendant
 Distributors.



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 The Federal Trade Commission also has explicit rules regarding the use of paid spokespeople and other
 influencers. In its goal to stop deceptive ads, its Endorsement Guidelines provide detail about how
 advertisers and endorsers can comply with law, stating that “if you work with brands to recommend or
 endorse products, your endorsement message should make it obvious when you have a relationship
 (“material connection”) with the brand, including a personal, family, or employment relationship or a
 financial relationship – such as the brand paying you or giving you free or discounted products or
 services.” This law is designed to “make the recommendations honest and truthful, and it allows people
 to weigh the value of your endorsements.”33

 Industries that sell potentially dangerous products have heightened standards of conduct that they must
 follow. The Code of Practice for the International Federation of Pharmaceutical Manufacturers and
 Associations (IFPMA)34 acknowledges that “Our industry is unlike any other – our products can prolong
 and save lives. We therefore hold ourselves to higher ethical standards than other industries.” In
 addition, the Pharmaceutical Research and Manufacturers of America (PhRMA)35 acknowledges, “we are
 committed to following the highest ethical standards as well as all legal requirements. We are also
 concerned that our interactions with health care professionals not be perceived as inappropriate by
 patients or the public at large.” It continues, “[p]romotional materials provided to health care
 professionals by or on behalf of a company should: (a) be accurate and not misleading; (b) make claims
 about a product only when properly substantiated; (c) reflect the balance between risks and benefits;
 and (d) be consistent with all other Food and Drug Administration (FDA) requirements governing such
 communications.” “All companies that interact with health care professionals about pharmaceuticals
 should adopt procedures to assure adherence to this Code.” In the case of opioid marketing, these
 duties were violated by Defendant Distributors.

 Rees notes that pharmaceutical channels have unique requirements: “careful storage, handling,
 tracking, and commercial accounting of the products so that no unintended harm or damage is done to
 any and all parties concerned” (p. 87). He continues to say that, because the detailed workings of
 pharmaceutical channels are extremely complex, “strategies must be devised and implemented based
 on a detailed understanding of requirements, and critically, patient value must be at the forefront” (p.
 87). The World Health Organization publishes guidelines which make clear that: “All parties involved in
 the distribution of pharmaceutical products have a responsibility to ensure that the quality of
 pharmaceutical products and the integrity of the distribution chain is maintained throughout the
 distribution process from the site of the manufacturer to the entity responsible for dispensing or
 providing the product to the patient or his or her agent.”36




 33
    FTC, Disclosures 101 for Social Media Influencers, (November 2019). (Available at
 https://www.ftc.gov/tips-advice/business-center/guidance/disclosures-101-social-media-influencers)
 34
    IFPMA, New IFPMA Code of Practice (2019) (Available at https://www.ifpma.org/subtopics/new-
 ifpma-code-of-practice-2019/)
 35
    PhRMA, Code on Interactions with Healthcare Professionals (September 2019) at 2, 6, 13 (Available at
 https://www.phrma.org/-/media/Project/PhRMA/PhRMA-Org/PhRMA-Org/PDF/A-C/Code-of-
 Interaction_FINAL21.pdf)
 36
    World Health Organization. WHO good distribution practices for pharmaceutical products (Annex 5).
 WHO Technical Report Series, No. 957, 2010. (Available at

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 A company that sells potentially harmful products to a vulnerable population (e.g., the elderly or those
 with lower socio-economic status due to poverty, lower educational attainment, etc.) has an even
 higher duty in marketing these products.37 West Virginia was unquestionably one of those vulnerable
 populations, given its issues with poverty, work place injuries and, as the opioid industry began
 supplying the state with a wave of opioids, severe issues with opioid diversion, addiction, abuse,
 overdose and death.38

 Based on data showing that people identify marketing strategies targeting harmful products to
 vulnerable populations as unethical, marketers should anticipate adverse market consequences
 (boycotts, negative word of mouth, etc.) that will negatively impact their firms’ reputations. 39 Marketers
 in these situations must tread cautiously, attending thoughtfully and carefully to an elevated duty of
 care. Defendant Distributors appeared willing to ignore these societal expectations, given that they
 endured significant negative press as they continued to pursue opioid sales.

 Considering these industry standards, continuing to widely market a product when said product is
 causing a public health epidemic is extremely problematic and fails to comply with the basic standards
 of care that should apply to all marketers. Ignoring these standards undercuts the responsibility to “do
 no harm,” and undermines customer confidence in the integrity of marketing system.

         IV. Marketing and the Practice of Distribution Channels40
 As noted above, “place” is a critical component of marketing strategy. It refers to decisions a company
 makes regarding how to distribute its products to various customer market segments. In other words,
 place decisions reflect the various channels of distribution a company uses to perform key functions,
 including managing key customer relationships; performing warehousing and logistics services;
 managing customer fulfillment, ordering, and returns; providing information and services to customers;
 and cultivating demand. As Coughlan and Jap state:41

         “Ultimately, the goal of any channel strategist is to achieve coordination; this occurs when all
         members act in harmony so that their joint productivity is maximized. Put differently, the team
         must win, not just the individual players. Channel coordination can be achieved only through the
         coherent and collaborative actions of all channel members.”




 https://www.who.int/medicines/areas/quality_safety/quality_assurance/GoodDistributionPracticesTRS
 957Annex5.pdf?ua=1).
 37
    Smith, N. Craig & Elizabeth Cooper-Martin, Ethics and Target Marketing: The Role of Product Harm
 and Consumer Vulnerability, Journal of Marketing (July 1997) at 1-20.
 38
    United States House of Representatives Energy and Commerce Committee, Red Flags and Warning
 Signs Ignored: Opioid Distribution and Enforcement Concerns in West Virginia (December 19, 2018) at
 25-26; Ruhm CJ., Deaths of Despair or Drug Problems? NBER Working Paper No. 24188 (2017).
 39
    Smith, N. Craig & Elizabeth Cooper-Martin (1997), “Ethics and Target Marketing: The Role of Product
 Harm and Consumer Vulnerability,” Journal of Marketing (July), pp. 1-20.
 40
    Kotler, Philip and Gary Armstrong, Principles of Marketing, Chapters 12 and 13; Coughlan, Anne T. and
 Sandy D. Jap, A Field Guide to Channel Strategy: Building Routes to Market.
 41
    Coughlan, Anne T. and Sandy D. Jap, A Field Guide to Channel Strategy: Building Routes to Market at
 91.

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 Channels play a key role in providing the “utilities” previously mentioned in the form of place utility
 (available WHERE a product is needed by customers); time utility (available WHEN a product is needed);
 possession utility (helping customers take ownership of a product, say, by offering credit and financing
 arrangements); and form utility (offering the appropriate bundle or assortment/mix of products
 customers want).

 In a high-functioning distribution channel, the parties “function as if they were one.”42 Indeed, the
 independent channel members “may cooperate even better than do the divisions of a single firm.”43
 These tight alliances allow channel members to make their own marketing efforts more successful,
 which translates into higher volume and higher margin.44 This is how the distribution channel for
 prescription opioids worked. Each Distributor closely collaborated with its pharmacy customers (some of
 whom were part of the company’s pharmacy network). The Distributors also performed strategic
 marketing activities for the pharmaceutical manufacturers. Their value-added services to both upstream
 suppliers and downstream customers made them an integral part of the opioid industry’s marketing
 efforts, and they benefited from their tightly knit relationships.

 As shown in the Figure below, in the Distributors’ role linking the opioid manufacturers to their
 downstream customers, distributors offer “contact efficiencies;” they reduce the number of contacts, or
 customer interactions that manufacturers would otherwise need to engage in. Without channel
 intermediaries, each manufacturer would need to set up relationships (e.g., contacts) with each
 customer in order to conduct business. This “unintermediated” system quickly becomes unwieldy. For
 example, in a market with three manufacturers and only three customers, the number of transactions
 needed for each customer to evaluate each manufacturer’s offering would be 3 x 3, or 9 transactions. In
 contrast, by relying on channel intermediaries, the number of contacts (relationships) each
 manufacturer must establish, and coordinate is sharply reduced. With the distributor acting as the
 representative of the manufacturer’s product, each manufacturer need engage with only one, or in this
 case three, distributors, and each customer need engage with only that distributor, leading to an
 additive model, or 3 + 3 transactions = 6. This streamlining of touchpoints is the primary reason
 manufacturers use distributors to most efficiently market their products.




 42
    Coughlan, Anne, Erin Anderson, Louis Stern, and Adel El-Ansary (2001), Marketing Channels, Prentice
 Hall, 6th edition at 316.
 43
    Id.
 44
      Id. at 320.

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 Manufacturers also rely on channel intermediaries to “break bulk,” meaning that distributors buy
 products in large quantities from the manufacturer, and then perform the service of dividing these large
 orders into smaller orders to service customers (here pharmacies) on behalf of the manufacturer. This
 breaking bulk function includes stocking inventory until customers need it.

 Channel intermediaries also “create assortments,” meaning that they can assemble a broad product mix
 from a variety of different manufacturers who offer different products, and then customers gain access
 to this broad product assortment with a single point of purchase. Therefore, these intermediaries (e.g.,
 the distributors) have the best visibility as to the whole range of manufacturers supplying the market.

 Distribution channels serving the pharmaceutical industry exhibit these functions. Rees describes the
 role wholesale distributors in the pharmaceutical industry play in breaking bulk (take large shipments
 from manufacturers and break them into the smaller orders that various pharmacists and other retail
 outlets require) and managing complicated payment issues.45 In addition, distributors “reduce the
 number of transactions that would occur if each retail pharmacy or health care practitioner/center had
 to order products directly from manufacturers.”46

 The Figure below shows several options companies may consider in designing channel strategy. First, a
 direct channel (direct distribution) refers to a company’s reliance on its own resources to market, sell,
 and distribute to its customers. This can include a company’s own internal sales force, sales through its
 own .com website, or orders taken via an 800 number or catalog sales Direct channels are often used by
 companies that sell primarily to large business customers or companies that market and sell their
 products direct-to-consumers (DTC).


 45
    Rees, Hedley, Supply Chain Management in the Drug Industry (2011) at 87; See also Whewell, Rob,
 Supply Chain in the Pharmaceutical Industry: Strategic Influences and Supply Chain Responses (2010) at
 173-174. Routledge.
 46
    See Dabora, Matan, Namrata Turaga, and Kevin Schulman, Financing and Distribution of
 Pharmaceuticals in the United States, JAMA (July 4, 2017) at 21.

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 Second, indirect channels refer to channels where companies rely on intermediaries in their channel
 strategies. Indirect channels include situations where companies rely on retailers such as channel
 partners. These companies not only market their products directly to the end customer through their
 own advertising, but also rely on their retailers to market. The Figure also shows that indirect channels
 also include situations where companies rely on wholesalers to serve retail customers that in turn sell to
 actual end users.

 Most manufacturers use multiple channel strategies, referred to as “multi-channel marketing” to reach
 various customer segments. However, in the prescription drug market, Distributors handle 92% of
 pharmaceutical sales.47

 Specifically, the way opioid pharmaceuticals flowed from opioid manufacturer to distributors to
 dispensers into Cabell County and the City of Huntington is generally illustrated in the Vertical
 Integration of Oxycodone Shipments to Cabell County and the City of Huntington, WV in Total Dosage
 Units from Labelers to Distributors, Vertical Integration of Oxycodone Shipments to Cabell County and
 the City of Huntington, WV in Total Dosage Units from Distributors to Dispensers, Vertical Integration of
 Hydrocodone Shipments to Cabell County and the City of Huntington, WV in Total Dosage Units from
 Labelers to Distributors, Vertical Integration of Hydrocodone Shipments to Cabell County and the City of
 Huntington, WV in Total Dosage Units from Distributors to Dispensers tables appended to the Expert
 Report of Craig McCann at Appendix 10(e).48 According to Dr. McCann’s report, oxycodone and
 hydrocodone accounted for 85.9% of all dosage units in the transactions in Cabell County and
 Huntington City, West Virginia from 2006 to 2014 (McCann Report at Appendix 6a).49 Primarily,
 prescription opioids flowed through the opioid supply chain as illustrated in Option 3 below, with the
 Distributors performing the vast majority of the wholesaler distribution services in Cabell County and
 the City of Huntington.50




 47
    HDA 2019 report, The Role of Distributors in the US Health Care Industry, at p.3.
 48
    See Expert Report of Craig McCann, Ph.D., CFA at Appendix 10(e).
 49
    Id at Appendix 6(a).
 50
    Id. at 10(e).

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 Because the vast majority of opioid sales flow through the Distributors, it is key (from the
 manufacturer’s perspective) that the distributor is an extension of the manufacturer’s own business.
 This includes not only the manufacturer’s mission, values, and culture, but also its ability to seamlessly
 integrate the product’s marketing strategy to maximize product sales. Close collaboration between the
 manufacturer and distributor on marketing strategy and implementation is critical so that the product’s
 positioning/messaging is conveyed and transmitted to downstream customers with consistency and
 integrity. Channel members who are not “on message” (or on brand) can damage the manufacturer’s
 marketing investments in brand building and brand equity. As Coughlan and Jap note, channel members
 perform communication activities designed to increase awareness, educate, and build brand equity,
 such as advertising, sales promotion, PR, trade shows, etc.51

 Moreover, channel members are key to optimizing a manufacturer’s presence with the customers each
 channel member serves (here, the pharmacies that the Defendant Distributors already serve with
 respect to numerous other drugs), which by necessity entails coordinating marketing activities. For
 example, it is vital that the manufacturer’s national marketing efforts are reinforced and visible in
 local/regional markets where customers engage with the various channel members that carry the
 manufacturer’s product. Branding expert Kevin Keller states that intermediary support is critical to
 maximizing the value of a manufacturer’s marketing strategy.52



 51
    Coughlan, Anne T. and Sandy D. Jap, A Field Guide to Channel Strategy: Building Routes to Market at
 59.
 52
    Keller, Kevin Lane (2008), Strategic Brand Management: Building, Measuring, and Managing Brand
 Equity, Prentice Hall, 3rd edition.

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 Channel partners, like the Distributors, often hold key relationships with the retail partners who sell
 directly to the consumer (such as it is here with the pharmacies who made the sale to the end user).
 Manufacturers that enter a new market or market a new product often capitalize on these established
 trade partnerships to maximize their product sales as part of their overall marketing strategy.

 To assure maximum market penetration, manufacturers, such as the opioid manufacturers here, rely on
 their distributors to be part of their marketing efforts. To incentivize these marketing efforts,
 manufacturers offer their channel partners merchandising allowances and other price deals.
 Manufacturers also offer wholesalers and retailers incentives to stock products and to provide favorable
 treatment, particularly for new products. The opioid manufacturers gave the Distributors all these
 incentives.

 Moreover, as here, compensation is used to align the channel members’ interests with the
 manufacturers. For example, by compensating intermediaries for increases in sales performance of the
 manufacturer’s brand over time, the manufacturer ensures the intermediary’s objectives are compatible
 with its own.

 A well-oiled channel runs like a well-oiled machine, running on all cylinders in synchronicity for optimum
 performance—for both effectiveness and efficiency—to optimize the manufacturer’s presence in the
 downstream markets channel members serve.

 Key to effective channels is the coordination between manufacturers and distributors, which is heavily
 dependent upon the flow of information. Distributors must know when new products are being
 introduced, their personnel must be trained on how best to market the new products to their
 customers, and they must be viewed as key partners in a firm’s marketing strategy. This was evident in
 the opioid industry, given that the Defendant Distributors were viewed as critical to the success of the
 launch of opioids, and the role the Defendant Distributors played in helping the manufacturers hone
 their marketing messages.

 Similarly, in their role as intermediaries between manufacturers and customers, distributors have access
 to critical market information including knowledge of market trends, and knowledge of customer
 behaviors (purchasing patterns, utilization, and customization needs) that is quite valuable. Hence,
 manufacturers cultivate cooperative relationships to help facilitate the willingness of channel members
 to share information.

 Channel performance can be evaluated on several different metrics. Sales through a channel member
 (compared to historical sales; sales of other intermediaries; quota; etc.) is a common metric. In addition,
 satisfaction of customers with the intermediary’s service might be used, as might the manufacturer’s
 satisfaction with the intermediary’s efforts on its behalf.53

 Even as they serve various manufacturers, distributors also have their own business and marketing
 issues to consider. Each distributor must differentiate its services both to the manufacturers whose
 products it carries as well as to the customers who choose to buy products from a one distributor vs.
 another. Coughlan noted the role of value-added services, such as product training. These services allow
 the distributors to work closely with the manufacturers and helps to build the market for their

 53
   Kumar, N., Stern, L. W., & Achrol, R. S., Assessing reseller performance from the perspective of the
 supplier. Journal of Marketing Research, 29(2), 238-253 (1992).

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 products.54 Consequently, the Distributors offered these value-added services to the opioid
 manufacturers that engaged the Distributors to provide them.

         V. Distribution Channels in the Opioid Industry55
 The distribution channels in the pharmaceutical industry, including the distribution channels for
 prescription opioids, are highly integrated.56 Indeed, all aspects of the channel worked in an integrated
 system to increase the demand for prescription opioids, maintain that demand, and then ensure the
 demand is supplied. The most basic way to depict the integrated distribution channels in the
 pharmaceutical industry is shown in the Figure below. (Unlike the prior figures, this figure places the
 consumer/patient at the top and the manufacturer at the bottom.) Note that the flow of product is
 separate from the flow of money/payments/rebates. This basic structure has remained consistent over
 the years. Indeed, the interconnected nature of the system makes it virtually impossible to place a
 specific value on each individual actor’s contributions to the overall growth of the opioid market in the
 United States; rather, all played an important role in the coordinated marketing effort in a substantial
 and meaningful way.57




 54
    Coughlan, Anne, Erin Anderson, Louis Stern, and Adel El-Ansary, Marketing Channels at 320.
 55
    Rees, Hedley, Supply Chain Management in the Drug Industry. 2001. Wiley.
 56
    See evidence presented in Section VI.
 57
    See evidence presented in Section VI.

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 Figure. Major Players in the Pharmaceutical Distribution Channel58



 The major players and their role in the channel are described as follows: 59

 Manufacturers establish the wholesale acquisition cost (WAC), which is the baseline price for
 wholesalers to purchase the products; discounts, rebates, and in some cases, fees for marketing
 services, are deducted from this amount, as explained subsequently.60 note the typical financial
 incentives manufacturers offer pharmaceutical distributors include volume discounts, market share-
 based bonuses/rebates, and other allowances (e.g., trade promotions to distributors); manufacturers
 also offered consumer sales promotions (e.g., a coupon for three free pills, or reduced co-pays) to be
 redeemed at the pharmacist. Drug manufacturers provide incentives to insurance health plans,

 58
    “Follow the Pill: Understanding the U.S. Commercial Supply Chain,” (2005), prepared for the Kaiser
 Family Foundation by the Health Strategies Consultancy LLC; available at https://www.kff.org/wp-
 content/uploads/2013/01/follow-the-pill-understanding-the-u-s-commercial-pharmaceutical-supply-
 chain-report.pdf; downloaded June 29, 2020. See also Rees (2011), p. 87.
 59
    Id.
 60
    Rollins, Brent and Matthew Perri (2013), Pharmaceutical Marketing (2013) at 117. Jones & Bartlett
 Learning.

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 Pharmacy Benefit Managers, and distributors. I elaborate on the services distributors provide to
 manufacturers below.

 Wholesale distributors sell to pharmacies at the WAC plus a desired margin; these distributors also
 facilitate negotiation of discounts between manufacturers and other players in the industry. For
 example, for some customers (say, retail pharmacies), wholesalers negotiate volume discounts with the
 manufacturers that they can pass on to those customers. The distributors also offered promotions to
 their immediate customers, the pharmacies.61

 As noted previously, three companies account for more than 92% of the market of distribution of
 pharmaceuticals in the U.S.: Amerisource Bergen, Cardinal Health, and McKesson.62 These distributors
 manage the flows of money that rely on a complicated system of reimbursements and chargebacks. In
 fact, 27% of total pharmaceutical sales were paid by manufacturers to various entities in the drug
 distribution channel in the form of cash payments, rebates, and chargebacks (due to complex pricing
 arrangements across the industry).63 Moreover, wholesalers must provide enough value to compete
 with large, nationwide chains that serve their own distribution function for their many outlets (CVS,
 Walgreens, etc.).

 Pharmacies negotiate discounts and rebates with both the manufacturers and the wholesalers based on
 sales volume/market share; they also negotiate with pharmacy benefit managers to be included in their
 networks. Retail pharmacies include chain pharmacies and mass merchants with pharmacies;
 independent pharmacies, and mail-order pharmacies. The largest retail pharmacies (e.g., CVS,
 Walgreens, Walmart) also offer wholesale services to their own retail stores. These accounted for 74%
 of retail prescriptions.64 They may also coordinate their efforts with the three distributors above. I
 elaborate on the services the distributors offered to pharmacists in detail below.

 Pharmacy benefit managers (PBMs) are used to help employers and other payers save on costs. PBMs
 account for about 2/3 of prescriptions in the U.S. Three Pharmacy Benefit Managers (PBMs) – CVS
 Caremark, Express Scripts, and UnitedHealth’s Optum – have 73% of the PBM market.65 Pharmaceutical
 distributors recognized the need to create value for group purchasing organizations; they have line-of-
 sight into the way PBMs operate, how they establish product lists for their formularies, what products
 insurance has denied, what switches pharmacists made from branded products to generics, etc.66 By




 61
    Kaiser Family Foundation, Follow the Pill: Understanding the U.S. Commercial Supply Chain (2005).
 (Available at https://www.kff.org/wp-content/uploads/2013/01/follow-the-pill-understanding-the-u-s-
 commercial-pharmaceutical-supply-chain-report.pdf)
 62
    HDA, The Role of Distributors in the US Health Care Industry at 3.
 63
    Dabora, Matan, Namrata Turaga, and Kevin Schulman, “Financing and Distribution of Pharmaceuticals
 in the United States,” JAMA, July 4, 2017 at 21-22.
 64
    Drug Channels Institute, The Top 15 Pharmacies of 2015, (2016). (Available at
 https://www.drugchannels.net/2016/01/the-top-15-pharmacies-of-2015.html).
 65
    Dabora, Matan, Namrata Turaga, and Kevin Schulman, Financing and Distribution of Pharmaceuticals
 in the United States, JAMA (July 4, 2017).
 66
    Rollins, Brent and Matthew Perri, Pharmaceutical Marketing (2013) at Ch. 5.


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 cultivating relationships with these other powerful industry players, distributors further cement their
 role in providing value to the pharmaceutical companies.

 Another depiction of how the physical/product flows are separated from the financial/monetary flows is
 illustrated in this report.67


 Figure. Flow of Pharmaceutical Funds, Products, and Services.*




 * Adapted from a figure by the Congressional Budget Office, in Dabora, Turaga, and Schulman (2017)
 Services represent contractual relationships between entities; rebates are payments from
 manufacturers to pharmaceutical benefit managers; chargebacks are payments from manufacturers to
 distributors. Retailers include pharmacies, hospitals, group purchasing organizations, and mail-order
 programs. AMP indicates average manufacturer price; WAC, wholesale acquisition cost.




 67
   Figure pulled from Congressional Budget Office (CBO), Prescription drug pricing in the private sector
 (January 2007). (Available at: https://www.cbo.gov/sites/default/files/110th-congress-2007-
 2008/reports/01-03-prescriptiondrug.pdf)

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 Unique considerations and challenges of pharmaceutical channels include the fact that end users
 (patients) don’t make their own purchase decisions.68 Instead, they get a prescription from physicians,
 who themselves typically don’t stock/sell the product (except for some specialty pharmaceuticals that
 they administer via infusion/injection). The prescription is filled by a pharmacy, of which there is a wide
 variety, including mail order, large chains, small independents, etc. Insurance issues also complicate the
 payment system, and the various group purchasing organizations negotiate insurance rates and
 establish what pharmaceutical products can be reimbursed/at which rates.

 The regulatory/legal environment is also a unique consideration in pharmaceutical marketing.69 The
 Code of Ethics (previously noted) instills a higher burden of duty, given the nature of the product—
 particularly for drugs monitored by the Controlled Substances Act.70 Under these conditions, marketers
 have a special responsibility to ensure strict controls in their distribution channel. In the opioid supply
 chain, the Distributors’ privileged position requires responsibilities for monitoring and ensuring the
 security of the opioid supply chain (“maintaining effective controls against diversion”).71 Indeed, as the
 opioid distributor’s industry group describes, “distributors play a critical role in maintaining the integrity
 of today’s closed-loop supply chain by consolidating manufacturer orders, delivering products to
 pharmacies, and processing returns.”72 “Because distributors sit at the nexus between manufacturers
 and pharmacies, they support ecosystem efficiency and supply chain security by providing valuable
 transactional data.”73

 As in any channel system, efficient flows of data and information are key to seamless coordination, but
 also for compliance with regulatory obligations. As summarized by the Healthcare Distributors Alliance,
 Distributors are uniquely situated in that they have visibility both up and down the supply chain, as
 shown in the Figure below.74 Further, the HDA states, “[p]ositioned at the center of the supply chain,
 distributors have access to data from both upstream and downstream partners.”75




 68
    Rollins, Brent and Matthew Perri (2013), Pharmaceutical Marketing (2013) at 111.
 69
    Id.
 70
    See Schedule 6.
 71
    Id.
 72
    HDA, The Role of Distributors in the US Health Care Industry at 9.
 73
    Id. at 10.
 74
    Id.
 75
    Id. at 20.

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 For pharmaceuticals, the data regarding product flows are essential to calculating the amount of money
 manufacturers give back to distributors in the form of “chargebacks.” These monies are calculated as a
 function of the difference between the price customers negotiated with the manufacturers, and the
 price that the wholesaler charges. Since customers’ negotiated prices may be lower than wholesale
 prices, manufacturers make up the difference to make the distributor “whole” again.

 Industry experts noted a change in the distribution part of the wholesalers’ business model (e.g., how
 they earned revenue) in the early 2000s. Traditionally, Distributors would hold inventory and, as prices
 increased, would make additional margin from having purchased mass volume at lower prices—
 essentially relying on price arbitrage to generate a portion of their profits. With the rise of generics and
 better information technology, the “industry abandoned the “buy-and-hold” model in favor of a fee-for-
 service model, in which wholesalers charge manufacturers for services rendered.”76 This model “has led
 to increased market intelligence in the form of timely and accurate data from distributors. The
 pharmaceutical marketer (manufacturer) can then use this information to help in forecasting and
 customer service if any issues arise.”77 The HDA notes, “Distributors could leverage this position and,
 similar to retail pioneers, build or acquire enhanced data capabilities that can help them develop a
 deeper customer understanding and meaningful insights.”78

 The visibility up and down the supply chain is a valuable asset to the Distributors. In fact, the
 Distributors have made significant investments in technology and platforms for pharmacists to
 effectively run their businesses—data and technology which could be used not only to increase sales but
 also to monitor such sales for problematic ordering trends.




 76
    Rollins, Brent and Matthew Perri (2013), Pharmaceutical Marketing (2013) at 110.
 77
    Id. at 111.
 78
    HDA, The Role of Distributors in the US Health Care Industry at 20.

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 Given their skills, data and capabilities, the Distributors served as a key business partner for pharmacies.
 The programs the Distributors offer the pharmacies include: 79

          -   Automated pharmacy dispensing;
          -   Data management services;
          -   Direct-to-customer order fulfillment;
          -   Pharmacy management systems and services;
          -   Generic sourcing;
          -   prescription data capture.

 As the Distributors provide increased value to the pharmacies, they can leverage the knowledge,
 competencies, and relationships to provide increased value to the manufacturers as well. These
 competencies allow the Distributors to offer an array of consulting services, known as “value added
 services.”80 The evidence presented in Section VI shows these value-added services include:

      •   leveraging the Distributors’ established communication channels with pharmacists to advertise
          the pharmaceutical products on the distributors’ platforms;
      •   leveraging the Distributors’ sophisticated understanding of the various players/actors in the
          marketplace to undertake research on the manufacturer’s behalf, and to make strategic
          recommendations based on the research implications;
      •   leveraging the Distributors’ knowledge of the insurance industry to create programs to
          switch/enhance “compliance” at the pharmacies via pharmacist intervention programs in which
          Distributors trained pharmacists to engage in behavioral methods to coach patients for
          “medication compliance;”
      •   leveraging the Distributors’ knowledge of sales and marketing to hire and train field sales teams
          to call on pharmacists on the manufacturers’ behalf;
      •   providing detailed assessments of the sales growth and return-on-investment of these various
          marketing initiatives.

 In addition, the Distributors’ sophisticated understanding of the health care providers enabled them to
 design and publish peer-reviewed clinical studies in medical journals, and to design and execute speaker
 series and continuing education for health care providers in pain management (off the manufacturer’s
 books).

 Despite their importance and market power, the trade press states that these Distributors “don't
 capture the same attention that producers or retailers get; they often are considered the unsexy conduit
 between the two.”81 It is unsurprising then that they have flown under the radar until the recent opioid
 crisis.




 79
    Id. at 13.
 80
    Rollins, Brent and Matthew Perri (2013), Pharmaceutical Marketing (2013) at 109,
 81
    Britt, Russ, Growing share of 'Big Three' gets federal attention: Giant wholesalers dominate market, to
 hit quarter-trillion mark in sales, Marketwatch (May 30, 2007). (Available at
 https://www.marketwatch.com/story/growing-share-of-big-three-drug-wholesalers-gets-attention)

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       VI. The Distributors’ Played a Significant and Integrated Role in
       Pharmaceutical Marketing
 Each of the Distributors has tried to characterize its role in the opioid supply chain as limited to shipping,
 logistics and order fulfillment. Indeed, each Distributor’s executive publicly made emphatic statements
 about their company’s purportedly limited role.

 AmerisourceBergen has repeatedly stated in the press that Amerisource “does not . . . market these
 [opioids] or take any action to create demand for their use.”82 ABDC CEO Steve Collis published an op-ed
 in 2017 stating “We [ABDC] don’t manufacture [opioids], provide them directly to patients or take any
 action to drive their demand.”83

 McKesson’s CEO John Hammergren stated in his Congressional testimony in 2018 that, “[a]s a
 distributor, McKesson does not manufacture prescription drugs, and we do not market them to doctors
 or patients. Nor do we market any particular category of drugs, such as opioids, to pharmacies.”84

 Likewise, in his May 8, 2018 Congressional testimony, Cardinal Health’s former Chairman of the Board
 and Chief Executive Officer George Barrett stated, “Cardinal Health, in its role as a pharmaceutical
 wholesale distributor, does not manufacture medications or market them to patients…. As an
 intermediary in the pharmaceutical supply chain, Cardinal Health does not ultimately control either the
 supply of or the demand for opioids.”85 In addition, in an internal letter to all Cardinal Health employees
 regarding the 60 Minutes and Washington Post coverage of the opioid epidemic, CEO George Barrett
 wrote,86 “As a wholesale distributor, we do not manufacture, promote or prescribe medications to the
 public.”

 It appears this statement was coordinated, as the Distributor’s industry association, the HDA’s
 statement also says: "...distributors do not manufacturer, prescribe, or promote medicines."87

 The evidence presented below and cited in Schedule 5 to this Report, however, shows that the
 Distributors were integrally involved in marketing opioid products.88 The evidence shows that opioid
 manufacturers relied on the Distributors as key marketing partners in growing demand for opioids
 (Sections A and B below), including ensuring patients “complied” with their prescribed opioid
 prescriptions.



 82
    See HDA_MDL_000013887 (8/24/17 Cincinnati Enquirer op-ed by Gabe Weissman).
 83
    ABDCMDL00359830 (9/21/17 Linked In op-ed by CEO Steve Collis).
 84
    See MCKMDL01387750 (May 8, 2018 written testimony of John Hammergren, McKesson CEO);
 MCKMDL01287757
 85
   Hearing Before the United States House of Representatives Committee on Energy and Commerce, Testimony of
 George S. Barrett (May 8. 2018). (Available at https://docs.house.gov/meetings/IF/IF02/20180508/108260/HHRG-
 115-IF02-Wstate-BarrettG-20180508.pdf).
 86
      CAH_MDL2804_00112004
 87
   https://www.hda.org/news/hda-blog/2018/09/27/15/32/2018-09-27-understanding-our-role-in-the-supply-
 chain
 88
   Documents supporting my opinions in this Section are listed in Schedule 5 to this Report and cited
 herein.

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 The evidence shows that from the mid-1990s to present, the Distributors were involved in a vertically
 integrated supply chain with the opioid manufacturers to grow the demand for prescription opioids,
 maintain that demand, and ensure that supply met that demand. Their efforts were part of an
 integrated supply chain where all parties collaborated to drive the demand for prescription opioids, to
 the benefit of all opioid supply chain participants.

 To the extent any of these companies claim they did not participate in marketing opioids, the evidence
 below shows those statements are false.

 The Distributors’ association, the Healthcare Distributors Alliance, makes clear that the Distributors “do
 much more than serve as the intermediary that ships products from manufacturers to pharmacies and
 providers,” including offering a broad range of services the distributors offered to increase demand,
 including through marketing,89 as shown in the Figures below.




 89
      HDA, The Role of Distributors in the US Health Care Industry at p.3, 13, 20.

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 The Distributors effectively leveraged their deep knowledge of pharmacists’ businesses to provide a
 variety of marketing and value-added services for the pharmaceutical manufacturers (including the main
 opioid manufacturers), which moved well beyond mere order taker and fulfillment houses.

 In particular, the evidence cited herein and in Schedule 5 to this Report shows that Distributors worked
 to stimulate demand through engaging in a variety of sophisticated marketing strategies and offering
 value-added services to opioid manufacturers designed to grow the prescription opioid market,
 including the following (Section C below):

     1. Establishing retail relationships and leveraging those relationships to market and promote
        prescription opioids.
     2. Providing market research and analysis services to opioid manufacturers.
     3. Developing strategic marketing plans for opioid manufacturers, including segmentation analysis
        and value proposition design.
     4. Performing direct marketing for opioid manufacturers:
            a. Advertising manufacturer partners’ opioid products to the retail pharmacies.
            b. Implementing sales-promotions (offering coupons and rebates) to customers for opioid
                products.
            c. Managing field sales personnel, and other personal selling strategies
     5. Performing indirect marketing by leveraging sophisticated strategies to facilitate the opioid
        manufacturers’ influence with pharmacists, patients, and doctors, including:
            a. Training in behavioral coaching techniques to ensure patient compliance with
                prescribed medications.
            b. Offering continuing education programs for physicians, pharmacists, and healthcare
                providers promoting the widespread use of opioids.
            c. Hiring and training key opinion leaders (speaker series) to promote the widespread use
                of opioids.
            d. Creating/funding clinical trials and publications with the purpose of influencing
                physician attitudes towards broader opioid prescribing.
            e. Working through the industry trade associations to ensure favorable operating
                conditions and promoting the widespread use of opioids.

 The Distributors were compensated for performing these marketing services with fee-for-service
 arrangements as well as a percentage of the sales lift their marketing programs generated for the
 manufacturers’ products (see Section D below). Hence, the Distributors were not “neutral” actors and
 had a strong financial incentive to grow demand, and thus sales, of opioids.

 Moreover, the Distributors provided solid evidence that their marketing efforts resulted in a significant
 return-on-investment and sales growth for the opioid manufacturers (see Section D below).

     A. Manufacturers and Distributors Team Up in an Integrated Marketing System

 Recall from Section IV, effective marketing is based on an integrated approach to distribution channel
 strategy in which all entities function as if they were one. The goal of achieving coordination, of all
 members acting in concert, translates into higher volume and higher margin.




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 Numerous internal documents from the opioid manufacturers and Defendants’ own documents provide
 evidence of the critical role of the Distributors in the growth of the prescription opioid market starting in
 the mid-1990s and continuing today.90 From the beginning of the dramatic expansion of the prescription
 opioid market, the opioid manufacturers recognized the important role Distributors played in their
 market success, relying on these Distributor partners to facilitate their downstream marketing efforts.
 Some notable examples follow.

 Purdue

 In his “OxyContin Pre-Launch Meeting” notes from May 26, 1995, Purdue’s National Accounts (national
 accounts = distributor accounts) manager summarized the purpose of the sub-committee is to “ensure
 retail distribution of OxyContin within the first 30 days of release.”91 The memo details 12 key points of
 pre-launch demonstrating the integral role of the Distributors in the launch and strategy to grow
 demand for Oxycontin:

       1.      Selling efforts focused on a list of 10 distributors and retailers;
       2.      Explore whether the “marketing and sales” [team] could visit these 10 accounts;
       3.      Create a sell sheet to “sell in” the product to wholesalers, in accordance with guidelines
               issued in G. R. Green’s 5/22/95 memo.
       4.      Offer a percent bill back to wholesalers based on stocking at a certain level;
       5.      Increase the number of speaker programs to 30-40 for the National Account Group; pursue
               this speaker program through sponsorship at McKesson or Bergen;
       6.      Evaluate wholesaler programs to “enhance the launch and distribution” including
               AccuSource from Bergen and MTS Telemarketing from McKesson;
       7.      “Dating and off-invoice allowances would have to be segregated under separate purchase
               order which would be “difficult to do with one DEA form coming in for multiple narcotics.”
               M. Innaurato would reemphasize the need to segregate orders for dating terms granted
               during this promo.
       8.      National accounts sell-in effort will begin in Sept; need to train National Account Managers
               with “feeder mailing” as soon as possible;
       9.      Review pre-launch sell-sheet with Legal;
       10.     Wholesaler sell-in appointments begin in September;
       11.     Change of products over to Purdue as a vendor with trading partners must be established to
               get an item number for OxyContin; and
       12.     Chain drug warehousing allowance for distribution is possible allowing them to buy Class II
               directly to distribute to store level.
 A December 1995 Bergen email (now ABDC) discussed the use of a “glimmer” button on Bergen’s
 Accusource System for Purdue during the month of January; whenever a pharmacist typed in one of 25
 targeted competitors’ brands, pushing the button would reveal information on Oxycontin to the
 pharmacist.92 (This sophisticated use of technology to target ads based on a competitor’s brand name
 occurred even before targeted, pay-per-click advertising had been invented.)




 90
      See Schedule 5, Table A.
 91
    PKY180255278
 92
    PDD8801142910

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 As early as 1997, Purdue circulated a memo documenting the integral role the Distributors were playing
 in its opioid marketing and the value-added services they provide that go far beyond logistics:

        “Wholesale partners are moving away from simply performing distribution; they are becoming
        Information vendors; they have information on compliance, substitution, patient demos they want to
        sell us.”93

 Purdue summarized how McKesson, ABDC, and Cardinal each worked with Purdue to market its opioid
 drugs, including through advertising, trade show marketing to its retail customers, rebates, coupon
 programs, direct mail programs, literature fulfillment programs, customer programs, and product
 placement.94 Other documents similarly illustrate the partnership between Purdue and the distributors
 to drive demand through marketing throughout the early years of selling Oxycontin.95 Internal
 documents illustrate how the retailer and wholesaler margins were being squeezed and that
 Distributors were turning to offering value services such as marketing to increase their revenue.96

 The Distributors were integrally involved in the launch and increase in demand for Oxycontin. For
 example, in August 2000, Purdue worked with Bergen (ABDC) through Bergen’s managed care division
 to “help educate retail pharmacists throughout their network (1800 stores),” including distributing
 literature designed to promote the use of opioids.97 According to Purdue, this partnership with ABDC
 “provides us a good opportunity to educate patients on why this medicine is appropriate vs. questioning
 why the patient was prescribed. To attain this will be by effective pull through, and this is critical to the
 success of the program. George Sanders would like feedback on how program was received at the field
 level.”98

 Similarly, in 2001, Purdue’s head of National Accounts and Trade Relations gave an internal presentation
 explaining how National Accounts & Trade Relations is “a selling partner responsible for largest
 customers committed to working with you to drive the selling process;” the presentation provided data
 on the top wholesalers, the services wholesalers offer, and the number of retail accounts they serve. In
 his presentation, Purdue executive Stephen Seid noted that the 2001 goals include educational
 opportunities/continuing education for pain management; a major chance to educate pharmacists; and
 Purdue’s commitment to participate in Bergen’s Cancer Pain Management program/trade show with the
 goal of “spreading the good word of Purdue to our trade customers.”99

 In January 2008, Purdue let Amerisource Bergen know that it had fallen behind the other distributors in
 its marketing of Oxycontin, stating that “Quite frankly we need something from ABC to assist us with our
 launch of our new sizes of OXYCONTIN. Nearly all other wholesalers are bombarding us with ideas and
 programs to drive their (and our) sales forward. It is embarrassing to me personally that we have
 nothing from ABC when we begin shipping one week from today.”100 Amerisource Bergen then

 93
    PKY180256902
 94
    PKY180256902; PPLPC030000271126; PPLPC009000007590; PKY180256902; PPLPC029000022136; see also
 PDD8801281191; PPLPC008000013580; PPLPC004000145999; PPLPC004000146529
 95
     PKY181284712
 96
      Id.
 97
    PPLPC029000022136; see also PDD8801281191
 98
    PPLPC029000022136; see also PDD8801281191
 99
    PPLPC008000013580
 100
     PPLPC004000145999; PPLPC004000146529

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 apologizes for tardiness and proposes a three-point program for Purdue, including mailing to 5000 ABC
 customers; an online post to promote the new items and rebate offer on The Link for all ABC customers;
 and an “Alert Notice” on Feb. 1 to ABC sales team regarding the new items and rebate.101

 Purdue also relied on the Distributors to field its continuing education seminars, both through locating
 seemingly impartial speakers and through funding.102

 In 2015, Purdue circulated an internal memo documenting an “upcoming customer meeting with the
 McKesson Executive Team,” on October 19-20, 2015. The importance of their collaboration with
 McKesson was conveyed in the meeting objectives: demonstrate Purdue’s intent to work with major
 organizations like McKesson and surface opportunities for collaboration.103

 TEVA

 TEVA similarly relied on the Distributors for its opioid marketing. In April 2016, TEVA’s slide deck
 regarding its distribution model for IR hydrocodone listed the channel objectives to align distribution
 with the overall brand strategy; to place the product deep into the channel at launch; to create
 trade/channel solutions for the duration of the product life cycle; and to offer seamless coordination
 with TEVA Pain service providers to ensure alignment with strategy.104

 ENDO

 Endo similarly viewed the Distributors as strategic partners in the growth of the opioid market. For
 example, in February 2012, Endo had a business plan to “identify opportunities for a long-term
 relationship with McKesson to bring in continuous sales and strategic partnership opportunities.”105
 Developed by Kayla Kinhofer (Trade National Accounts at Endo), the document (p. 4) states objectives
 as:

       1.   Increase/expand product and unit distribution of all brands and specialty products
       2.   Increase overall revenue through McKesson business solutions offerings
       3.   Establish/achieve vertical integration of Endo products across 3-4 major McKesson Divisions
       4.   Increase access of specialty products to hospitals; remove access barriers; increase
            awareness
       5.   Use RelayHealth to support sluggish brands.
 The report also provides an overview of McKesson’s revenue, customer base, product/service offering,
 and it details key issues and opportunities for a partnership. Through “increased direct-to-pharmacy
 communication about Endo to build product awareness and develop deeper relationships,” a
 partnership would build market confidence, awareness, and reputation of Endo products; increase
 sales/ grow business by utilizing all McKesson divisions; negotiate better contract terms; leverage
 relationships; highlight total Endo financial contributions to McKesson; renegotiate service fees…. Other




 101
     Id.
 102
     PPLPC004000183541
 103
     PPLPC034001107535
 104
     TEVA_MDL_A_13495736
 105
     ENDO-CHI_LIT-00088728

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 strategies (p. 6) include a cross-functional relationship between the companies, a cross-selling model,
 and the report identifies critical success factors (p. 7).106

 Johnson & Johnson

 Nucynta ER’s Director of Trade Operations (Frank Mashett) shared information on Wholesaler and Retail
 Pharmacy Programs (June 2011), 107 including data on 2009 Top 11 retail pharmacies; these included
 AmerisourceBergen’s Good Neighbor program, Cardinal’s Leader program, and McKesson’s Health Mart
 pharmacies. His slide deck further detailed the number of stores in the retail pharmacy market and the
 amount of revenue flowing through each type of store (traditional chains, independents, etc.). This J&J
 report also details each Distributor’s “communications programs” available to pharma manufacturers
 seeking to market to these pharmacy chains.

       B. Distributors Bring a Wide Variety of Marketing Services to their Partnership with Opioid
          Manufacturers
 As noted in Section IV, to assure maximum market penetration, manufacturers rely on Distributors to be
 part of their marketing efforts. In order to facilitate these marketing efforts, opioid manufacturers
 offered the Distributors a variety of incentives including merchandising allowances and other price deals
 to bring their services to the partnership to sell opioids. These financial incentives aligned the
 manufacturers’ and Distributors’ interests so that both parties benefited as opioid sales increased.

 In their partnership with the opioid manufacturers, the Distributors offered and performed a wide
 variety of marketing services in support of the growth and maintenance of demand for prescription
 opioids and to increase opioid sales. The Distributors highlighted these services in their own marketing
 materials. The Evidence forming the basis of the opinions in this Section appears in Schedule 5, Table B.

 Cardinal Health provides a full array of marketing services summarized in its July 2013, “Overview of
 Manufacturer Marketing Services,”108 outlining awareness programs targeting pharmacists (via Service
 Flash, RxDeals, Order Express, and DirectMail); awareness programs targeting Pharmacists, Physicians
 and Nurses (eConnection), and awareness programs targeting consumers (Pharmacy Health Network).
 As detailed in Section II previously, “awareness programs” refer to advertising to generate familiarity
 with the manufacturers’ products through these various channels to increase demand for those
 products.

 Cardinal Health also offered and provided telemarketing services for opioid products. Cardinal
 summarized these services in its own advertising, sending a “Service Flash” (presumably to their
 vendor/manufacturer partners) in 2011, letting them know that “Telemarketing is back!” offering
 vendors the opportunity to “reach over 2,900 of our Retail independent and Medicine Shoppe
 Customers.”109 “All calls are placed by Cardinal Health employees, so the customers have an established
 relationship with the callers; Telemarketing is a great way to enhance your existing marketing programs




 106
     Id.
 107
     JAN-MS-00465772
 108
     ENDO-CHI_LIT_004770118
 109
     CAH_MDL2904_00134451

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 and to increase company and product awareness within our Retail Independent and Medicine Shoppe
 customer base.”110

 Similarly, McKesson’s brochures and promotional slide decks detailed its BrandRx Marketing Services
 for “Manufacturer Marketing.” For example, in a 2015 overview of marketing tools and channels,111
 McKesson highlighted the various messaging and awareness programs manufacturers could use to reach
 all the pharmacies in its own pharmacy network (Health Mart), including online advertising, articles,
 direct email, and consumer online ads (via McKesson Connect) and its DirectRX program (banner ads
 targeted to pharmacists) and connected to its online ordering portal; its RXDetail program
 (telemarketing and on- hold messaging); and its MarketingHUB (a tool for Health Mart pharmacies to
 order marketing and share promotional tools for the manufacturer’s brand).

 In a 2010 brochure, McKesson Customer Solutions for Driving Brand Performance,112 McKesson
 advertises that “McKesson Manufacturer Marketing partners with pharmaceutical manufacturers to
 define and execute customized strategic solutions targeting key awareness, distribution, sales and
 adherence goals at all stages of the product life cycle.” It features “strategic solutions [to] deliver the
 resources and expertise to help your brand:

       •   Educate pharmacists (whether independent, hospital-based, or in long-term care facilities) on
           brand attributes and clinical information;
       •   Enhance pharmacists’ brand awareness through multiple communication platforms, most linked
           to the McKesson Connect online ordering portal;
       •   Increase product distribution to retail pharmacies through targeted product launch, distribution,
           and packaging solutions;
       •   Build patient awareness through retail merchandising, promotion, and advertising; Improve
           patient adoption by fostering new trial usage;
       •   Measure ROI that surface and support continuing refinements.113

 In a proposal for TEVA, McKesson highlighted the following skills/capabilities it offers manufacturers:114

       •   existing customer relationships with pharmacists;
       •   “turnkey implementation process” for program execution;
       •   “leverage McKesson’s unprecedented connectivity in the marketplace,”
       •   “proven and innovative solutions from multiple McKesson business units that offer strategic
           solutions to deliver resources and expertise to help your brand educate pharmacists on brand
           attributes;
       •   brand awareness through multiple communications platforms, online ordering, in-store
           promotions,
       •   measure ROI (return on investment) of the marketing activities to provide metrics to support
           strategy refinements.


 110
     Id.
 111
     MCKMDL00724395
 112
     CAH_MDL2804_02100389
 113
     Id.
 114
     TEVA_MDL_A_12746422; MCKMDL00353374

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 McKesson offers an “unmatched combination of communication, promotion, distribution and targeted
 analytics of exclusive data to help TEVA … maximize profitability; target awareness, sales and
 distribution goals at all stages of the product life cycle; build confidence in pharmacists in
 recommending TEVA products.” Other services include RX Rapid Research (conduct focus groups via fax
 to provide feedback on your brand and market issues);115 OrderDirect Messaging to help your brand
 capture more sales and support patient safety. “McKesson Manufacturer Marketing backs your brand
 with expertise to increase brand performance from more than 25 programs. Create the communication
 & distribution strategy to deliver measurable results.”116

 McKesson’s blog also states that "data management services are essential business intelligence offerings
 to manufacturers" and in fact, data management services are the only services (out of all the different
 programs and services distributors offer) that distributors provide to both manufacturers and other
 customers.117

 McKesson’s analysis of risks highlighted the importance of data to its integral role in connecting
 manufacturers to downstream healthcare entities (pharmacies, hospital and clinic administrators,
 payors, healthcare providers, etc.). McKesson's 10Ks for 2001-2017 consistently identify data and IT
 systems as key concerns, including "the failure of our healthcare technology business to keep up with
 technological advances," and "dependence upon sophisticated IT systems," risks from "interruptions to
 customers' access to data," risks from "data security incidents." In addition, it cites "regulation of our
 distribution business" could negatively impact our business.118

 As part of its efforts to be an essential element of the healthcare landscape, McKesson also had a
 subsidiary business unit, InterQual. InterQual is generally described as an evidence-based clinical
 decision support solution to help payers, providers, and government agencies make clinically
 appropriate medical utilization decisions (sometimes referred to as CPG or clinical practice guidelines).
 From 1998 to 2016, InterQual was owned by McKesson Corporation. In March 2017, McKesson engaged
 in a transaction with Change Healthcare that combined Change Healthcare Holdings, Inc. and most of
 McKesson Technology Solutions.119 McKesson owned approximately 70% of this new company.120

 InterQual was important because: “With businesses and customers that span all settings of healthcare,
 McKesson has a unique 360-degree view of the healthcare system ready to go to work for you. Our
 clinically integrated solutions help simplify, automate, and transform healthcare across the care,



 115
     TEVA_MDL_A_12765924
 116
     TEVA_MDL_A_12765926
 117
     https://www.mckesson.com/Blog/10-Pharmaceutical-Distribution-Trends-to-Know/
 118
     Form 10-K McKesson Corporation, years 2001-2017.
 119
     McKesson and Change Healthcare Complete the Creation of New Healthcare Information Technology
 Company; Mar. 2, 2017; https://www.mckesson.com/about-mckesson/newsroom/press-
 releases/2017/mckesson-and-change-healthcare-complete-the-creation-of-new-healthcare-
 information-technology-company/; see also https://www.mckesson.com/about-
 mckesson/newsroom/press-releases/2017/mckesson-and-change-healthcare-announce-new-company-
 named-change-healthcare/; http://tmsearch.uspto.gov/bin/showfield?f=doc&state=4808:jj28ao.2.1
 120
     https://www.nashvillepost.com/business/health-care/information-
 technology/article/20826776/change-mckesson-division-joining-forces

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 revenue and payment cycles, from the front-end to the back-end, for better health.”121 InterQual’s
 support system, InterQual Connect (developed in 2015) allowed so payers to automate authorization
 requests, even those requiring medical review, allowing providers to receive quicker authorization
 approvals for most requests.122 Payers only need to “touch” exceptions that cannot be approved
 automatically.123

 As the later evidence shows, the ability to influence/control the clinical practice guidelines for pain
 management, to manage insurance exceptions for prescriptions, and to switch prescriptions based on
 cost of copays (“denial conversions”) all were part of McKesson’s role in the opioid epidemic.

 Amerisource Bergen (ABDC) prepared “The Playbook” (October 2017) for its health systems, with a goal
 to “work collaboratively across legacy business units to support the strategy and its sales team.”124 This
 Playbook is quite sophisticated, and uses the slogan “Where knowledge, reach, and partnership shape
 healthcare delivery.”125 In March 2018, ABDC hired McKinsey (a widely-known strategy consultancy) to
 support the firm’s “enterprise transformation,” including understanding “all the marketing services we
 offer to our manufacturers.”126 The file prepared for McKinsey includes:127

       •   a Marketing Services price list for “CustomerConnect” including calls and research, email
           marketing, display ads and sponsored content on ABC various online sites (see list);
       •   printed communication and direct mail as well as invoice inserts (e.g., ads that are included in
           invoices); and
       •   print advertising/editorial marketing in their three magazines (InsideOut reaches 17,000
           healthcare systems and providers; Retail Remedy reaches 4000 pharmacists; Health
           Connections, reaches 135,000 GoodNeighbor pharmacy patients.

 ABDC also offers ION Pricing (ION is a specialty Group Purchasing Organization focused on oncology (see
 Excel file regarding meetings/conferences to physicians)) and dispensing data.128

 The documentation provided to McKinsey also includes a Besse medical marketing services guide and a
 CustomConnect powerpoint deck to “improve product and brand performance through multi-channel
 promotion and education” (2018).129

 In “Inside our Business” (a manual, of sorts), ABDC highlights all of its various business units (see its
 Table of Contents).130

 Amerisource Bergen’s Marketing Code of Conduct notes that “in connection with its distribution
 activities,” certain ABDC subsidiaries “may perform Brand Rx Promotion-related activities” that implicate

 121
     InterQual 2016 Brochure
 122
     Fact Sheet IQ Connect; McKesson.com; see also InterQual 2016 Brochure
 123
     Fact Sheet IQ Connect; McKesson.com
 124
     ABDCMDL00323116
 125
     Id.
 126
     ABDCMDL00320055
 127
     Id.
 128
     Id.
 129
     Id.
 130
     ABDC-WVFED00018369.

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 the PhRMA Code, OIG Guidance, and state laws related to Brand Rx Promotion” (p. 1).131 Its Code also
 states that an increase in the number of prescriptions (“over prescribing”) or drug switching could
 inappropriately increase healthcare costs. Its Code prohibits financial support to third-party organizers
 of educational/professional meetings related to Brand Rx Promotion; prohibits control lover selection of
 content, faculty, and materials. Similarly, if consultants are retained for Brand Rx Promotion, retaining
 such professionals who are involved in setting formularies or developing clinical practice guidelines must
 declare their engagement for two years afterward.

 ABC’s Lash Group “is one of the largest patient services organizations;” its approach is “focused on the
 delivery of accurate and timely information to patients, pharmacists, and physicians.”132 Its philosophy is
 that “the most successful support programs are those that fit seamlessly within the needs of the
 manufacturer,” “we see each partnership as a journey;” “we collaborate with our partners to meld a
 long-term strategic partnership over the entire product life cycle.”

 In 2004, ABC acquired Imedex, an accredited provider of physician continuing medical education. In the
 press release, R. David Yost, AmerisourceBergen Chief Executive Officer stated, “Imedex’s outstanding
 array of physician education services continues our commitment to add incremental services that
 support manufacturers and healthcare providers along the pharmaceutical supply channel.” “Imedex …
 brings an attractive combination of highly regarded proprietary programs and client services for
 physicians, international scope and solid growth.”133

 During the time that Imedex was owned by ABC, opioid manufacturers provided grants to and sent
 employees to Imedex CMEs.134 It was clear that opioids and an opioid-friendly message was being
 promoted at these CMEs. For example, despite the fact that the grant agreements above explicitly
 stated that Teva’s products were not to be promoted at the conferences, each agreement contained
 descriptions of Fentora and/or Actiq as well as their uses. Teva included its grants to Imedex under its
 marketing budget and gives the reason for such payments as “pain management.”135

 Endo also worked with Imedex to advance the pro-opioid message. In one example, an Endo marketing
 plan included discussion of an Imedex symposium on the use of opioids, at which Endo presented on its
 new opioid product.136 At another point, an Endo representative sought to provide information on
 Endo’s products and notes on a doctor’s presentation to a presenter at an Imedex CME; however, she
 noted that CME regulations prevented Endo from sending that information directly to the presenter.
 Instead Endo sent that information to Imedex to forward to the presenter.137 Endo also relied on two

 131
     ABDC-WVFED00018369. (May 2009 Code; see also 2015 Code).
 132
     TEVA_MDL_A_11786072
 133
     Business Wire, AmerisourceBergen Acquires Imedex, Inc.; AmerisourceBergen Adds Accredited
 Physician Education Services (May 10, 2004).
 https://www.businesswire.com/news/home/20040510006056/en/AmerisourceBergen-Acquires-
 Imedex-AmerisourceBergen-Adds-Accredited-Physician accessed July 19, 2020.
 134
     See e.g. See TEVA_MDL_A_06758021; TEVA_MDL_A_06764971; TEVA_MDL_A_06769509;
 TEVA_MDL_A_06771229; TEVA_MDL_A_06772174; TEVA_MDL_A_06794030; PKY180796664;
 PKY180947495; PPLPC05600009410.
 135
     See TEVA_MDL_A_01180335; TEVA_MDL_A_00825736.
 136
     EN3202. ENDO-OPIOID_MDL-04097240.
 137
     ENDO-OPIOID_MDL-02261219; ENDO-OPIOID_MDL-02261221; ENDO-OPIOID_MDL-02261223.

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 Imedex publications to support the “need for new pain medications to treat patients with malignant
 pain” in 2002 when looking for marketing materials for its EN3202 product.138

 Purdue often supported Imedex’s “Pain Management and Chemical Dependency Conference.”139 Purdue
 worked with Imedex as late as 2011 to promote its opioid agenda.140

 Additionally, on April 3, 2007, ABC acquired Xcenda, “a strategic consulting firm” whose purpose was to
 “enhance the company’s existing manufacturer services businesses and providing additional capabilities
 in the key areas of pharmaceutical brand services.”141 Its website states, “whether it’s working on a
 product launch strategy or developing a disease-awareness campaign, our team of scientists and
 clinicians, health policy analysts, reimbursement experts, and communications specialists apply health
 economics and outcomes research to help you [pharmaceutical brands] develop a compelling total value
 proposition and successfully commercialize your product.”142 They offer services in:143

       •   Health Economics and Outcomes Research;
       •   Real-World Evidence Generation;
       •   Market Access Consulting and Communications;
       •   Reimbursement & Policy Insights (strategy, payer segmentation);
       •   Global Market Intelligence;
       •   Field Services and Provider Education (field associates help physicians understand/overcome
           patient access barriers);
       •   Quality Strategy and Tactics;
       •   Advisor Networks; and
       •   Training.

 Xcenda hosts seminars and conferences for the manufacturers on “successful commercialization using
 real-world evidence in product planning.”144

 Additionally, in 2016, a press release noted that Xcenda was unveiling new service offerings to enhance
 manufacturers’ market access strategies for specialty products.145 A May 21, 2019 press release said that
 Xcenda had acquired Dymaxium, a company that specializes in the exchange of evidence and
 information between payers and manufacturers through its FormularyDecisions.com platform. Xcenda’s
 President stated, “We are constantly searching for innovative offerings that make this exchange of
 information between pharma and payers simpler and more efficient. We are thrilled to make this a

 138
     ENDO-OPIOID_MDL-04093787.
 139
     See PKY180796664; PKY180947495; PPLPC05600009410.
 140
     PPLPC019000518994.
 141
     Biospace, AmerisourceBergen to Acquire Xcenda LLC for $25M (April 3, 2007).
 https://www.biospace.com/article/releases/amerisourcebergen-to-acquire-b-xcenda-llc-b-for-25m-/,
 accessed July 16, 2020.
 142
     Xcenda, Who We Are. https://www.xcenda.com/about-us-who-we-are; accessed July 16, 2020.
 143
     https://www.xcenda.com/solutions
 144
     Id.
 145
     AmerisourceBergen, Xcenda Unveils New Service Offerings to Enhance Manufacturers' Market Access
 Strategies for Specialty Products (July 12, 2016).
 https://www.amerisourcebergen.com/newsroom/press-releases/xcenda-unveils-new-service-offerings.

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 reality through this acquisition with Dymaxium’s FormularyDecisions.com and the AMCP [Academy of
 Manage Care Pharmacy] eDossier System.”146

 To differentiate the services offered to the manufacturers, the Distributors compiled detailed
 competitive intelligence on each other’s operations. For example, Cardinal Health gathered “Strategic
 Intelligence” containing “gold standard information about the competitive environment.”147 Cardinal
 tracked competitor profiles of both McKesson and AmerisourceBergen (among others) with an
 assessment of each competitors’ strengths and weaknesses and insights about their strategies.148
 Cardinal Health also developed a competitive intelligence briefing149 on a conference that ABC held;
 ABC’s conference was on “TransPHARMation,” partnerships and adherence. Cardinal Health noted ABC’s
 partnership with The Creative Pharmacist as providing access to tools and education opportunities to
 help increase engagement with patients who have chronic illnesses. At this conference, ABC also
 announced GNP U (Good Neighbor Pharmacy University), ABC’s online learning portal offering education
 sessions for pharmacists and staff members.150 These insights about the Distributors’ downstream
 relationships were also a key part of their strategy.

       C. Specific Ways in which the Distributors Worked to Create Demand151

 In their role as channel intermediaries, Distributors connect upstream suppliers (pharma manufacturers)
 to downstream customers (pharmacies). Pharmacies are a key customer group the distributors serve.
 They were also a key group that the opioid manufacturers needed to access as part of the industry’s
 effort to drive and then maintain overall demand for prescription opioids. The Distributors did more
 than merely fulfill pharmacists’ orders; they also provided a variety of value-added services to all
 members of the supply chain. The relationships and knowledge Distributors have of these downstream
 customers are a key asset that Distributors leverage in providing value for the opioid manufacturers.

 1. First, the Distributors’ value-added services to pharmacists are highlighted because they were
 designed to grow demand for and facilitate dispensing of the drugs that the Distributors and their
 manufacturer partners were selling, including prescription opioids. These relationships and the
 Distributors’ specialized knowledge, as well as the technology that connected the Distributors to the
 pharmacies and the data those connections provided, became key sources of value to the opioid
 manufacturers; more specifically, these connections allowed the Distributors to provide fee-for-service
 advertising to the opioid manufacturers to advertise and deliver sales promotion offers to the
 pharmacists and their patients.

 2. Second, as part of their value-added services provided to the opioid manufacturers, the Distributors
 performed sophisticated market research on physicians, payers, pain specialists, patients, health care


 146
     AmerisourceBergen, Xcenda Enhances Value Exchange between Payers and Manufacturers with
 Acquisition of Dymaxium (May 21, 2019) https://www.amerisourcebergen.com/newsroom/press-
 releases/xcenda-dymaxium-acquisition, accessed July 19, 2020.
 147
     CAH_MDL2804_01384291
 148
     Id.
 149
     CAH_MDL2804_00104656
 150
     Id.
 151
     Documents providing the basis for the opinions contained in this Section are contained in Schedule 5
 /Section C to this Report and its Subsections.

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 organizations, and others. Research like this helps inform marketing strategy as to how to overcome
 obstacles to growing demand for a product.

 3. The Distributors conducted strategic marketing planning for opioid manufacturers, helping them
 grow demand, and therefore, product sales over time.

 4. The Distributors conducted direct marketing activities for the manufacturers, including advertising to
 their pharmacy customers; sending sales promotion offers (such as coupons and rebates) to pharmacies
 and patients; and assisting the manufacturers’ personal selling efforts by training their sales people for
 them, hiring field sales reps, and staffing call centers. These direct marketing activities are key to
 increasing sales.

 5. The Distributors also engaged in indirect marketing activities for the opioid manufacturers such as
 running behavioral compliance and medication adherence programs to ensure patients continued taking
 their prescribed opioids; offering continuing medical education programs to physicians and other
 healthcare professionals; hiring and training key opinion leaders and other spokespeople; and
 conducting clinical studies and authoring publications in medical journals. Each of these played an
 important role in elevating the market for prescription opioids. Moreover, the Distributors’ own industry
 association, the Healthcare Distributors Alliance (HDA), played an important role in insuring unfettered
 access to opioid supply would continue, including government lobbying to ensure a favorable regulatory
 and legislative environment, as well as engaging media outreach to mitigate unfavorable press about
 the opioid crisis and to “turn the tide” of negative publicity into media coverage that was “more
 balanced.”152

          1. Leveraging Retail Relationships to Market for Opioid Manufacturers.153

 The Distributors industry association, the HDA, stated that Distributors performed a much broader role
 for pharmacies than simply getting product from the manufacturer to the pharmacies for dispensing
 (see Figure below).154 Distributors offer franchising programs, consulting and technology services, and
 over-the-counter drugs and general merchandise products upon which many independent pharmacies
 depend to compete and effectively serve the communities in which they operate.155




 152
     ABDCMDL00269293; ABDCMDL00269301
 153
     Documents providing the basis for the opinions contained in this Section are contained in Schedule
 5C-1.
 154
     HDA, The Role of Distributors in the US Health Care Industry at 13.
 155
     Id.

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 Cardinal Health’s “Solutions Guide” is a 54-page document that summarize these kinds of services the
 company provides to pharmacies that dispensed its opioid drugs, including advertising programs, trade
 magazines, competitive point of sale analysis, facilitation of discounts and rebates from manufacturers,
 and programs designed to strengthen the pharmacies’ relationships with their customers and increase
 customer “adherence” to taking their medication.156 In 2010, Chain Drug Review (October 25, 2010), an
 industry trade magazine, featured Cardinal Health for its “menu of online services” offered through its
 Medicine Shoppe International (MSI) unit, including a digital advertising program to stream ads and
 educational content to LCD screens placed in retail pharmacies to target consumers while they wait for
 prescriptions to be filled.157

 Recall that ABC provides pharmacy management, staffing and additional consulting services, and supply
 management software to a variety of retail providers.”158 They offer trade magazines to pharmacists
 (Retail Remedy reaches 4000 pharmacists) and their patients (Health Connections reaches 135,000
 GoodNeighbor pharmacy patients).159

 McKesson offered RelayHealth, billed as “the nation’s largest pharmacy network, improving delivery of
 and adherence to prescription medications.”160 In addition, its “PriorAuthPlus” for retail pharmacies
 nationally automates prior authorization (PA) resubmissions to overturn denied claims; its denial
 conversion service monitors prescription claims denied as “product not covered;” its service enables
 patient to “leave the pharmacy with your brand without delay.”161

 By offering value-added services to their pharmacy retail partners, the Distributors cemented their
 business relationships with these retail customers. Their deep competencies in understanding the
 pharmacists’ business needs; understanding the nuances of patients themselves (e.g., compliance with
 treatment); integration with respect to insurance and reimbursement; and supplying technology for
 better pharmacy management allowed the Distributors to become strategic business partners for the

 156
     Document produced without a bates number.
 157
     CAH_MDL2804_03225740
 158
     AmerisourceBergen Form 10-K (2016).
 159
     ABDCMDL00320055
 160
     MCKMDL00724422
 161
     Id.

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 pharmacies, serving as “trusted advisors” in their businesses. The more knowledgeable the distributor
 became about the pharmacists’ business, the greater the value they could provide in offering additional
 services. The greater the value, the stronger the relationship ties. The stronger the relationship ties, the
 less likely any particular pharmacist switches his or her business to a competing distributor.

 One of the strongest ways to generate such “lock in” (in addition to providing excellent customer
 service) is through investments in technology. As noted previously, each Distributor each offered its own
 technology platform that tied the pharmacists to them.

 In turn, the investments in technological platforms serving pharmacists generated additional value to
 the Distributors, allowing them to collect and harvest important information about the pharmacist’s
 behavior at the individual pharmacy level (orders volume, mix of orders, etc.).

 The power of this data and the technology operated like a flywheel, generating continuous knowledge
 and insights around pharmacists’ needs and concerns, allowing Distributors to provide improved value-
 added services, further cementing the relationship. This technology and data-driven approach to
 channel relationships is imperative in today’s business environment.

 Not only did all this data allow the Distributors to compete with each other; this specialized knowledge,
 customer data, understanding of and integration with customers’ business models, and established
 customer relationships made the Distributors valuable to the opioid manufacturers. The opioid
 manufacturers partnered with and relied on the Distributors for their insights and knowledge about the
 marketplace, and they used that knowledge to better target customers and grow the market.

           2. Distributors provided market research services to pharmaceutical manufacturers162

 As outlined in Section II above, entitled “Marketing Basics,” market research is a critical component of
 designing a marketing strategy. Market research includes gathering both qualitative data (e.g., via focus
 groups or in-person meetings) and quantitative data (e.g., through surveys or third-party data sources),
 and analyzing the data to understand buying motivations and barriers, and to develop strategies to
 target the motivations and overcome the barriers to grow sales.
 As part of their value-added services for the opioid manufacturers, the Distributors performed
 sophisticated market research on physicians, payers, pain specialists, patients, health care organizations,
 and pharmacists. The Evidence of these market research services appears in Schedule 5C-2.
 For example, in 2000, McKesson’s Pharmaceutical Partners Group (MPPG) was contracted by Purdue to
 conduct focus groups at the upcoming American Academy of Family Physicians (AAFP) conference
 regarding physician attitudes about opioids. McKesson provided Purdue with the key conclusions and
 recommendations from its research, including:163
         #5: Family doctors are worried about long-term narcotics use and addiction; they are not
         comfortable prescribing high doses for patients who become tolerant: “Educating physicians
         about treatment strategies that reduce the risk of narcotic addition may help address



 162
     Documents providing the basis for the opinions contained in this Section are contained in Schedule
 5C-2.
 163
     PDD1701098050, PDD1701098054, PDD1701107091

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         physicians’ concerns; Purdue may want to consider sponsoring pain management conferences
         or lectures by opinion leaders to focus physician attention on addiction and tolerance issues.”
         #9: Long-acting agents OxyContin and Duragesic are reserved for patients with acute pain
         prolonged over several days or weeks and for chronic pain. OxyContin does not suffer from the
         stigma of other narcotics such as morphine because it is long acting and doesn’t produce
         euphoria. “Focusing on these issues in OxyContin marketing material may help increase its use
         and position it as a ‘safer’ narcotic alternative.”
         #12: Few family doctors recall seeing clinical studies for opioid agents, including OxyContin;
         “several evince skepticism about such studies pointing out that, too often, these studies are
         sponsored by manufacturers of the drugs concerned.”164
 Research like this was done to help inform opioid marketing strategy as to how to overcome obstacles
 to growing demand for a product.
 Similarly, in 2001, McKesson HBOC Pharmaceutical Partners Group (MPPG)/Market Research Division
 shared a quantitative pain study (dated November 2000) based on research it conducted at the
 American Academy of Family Physician’s meeting Sept. 20-24, 2000 in Dallas TX, to identify features that
 are most appealing to doctors who regularly prescribe Duragesic and OxyContin.165 After summarizing
 the findings, McKesson offers the following recommendations (p. 7): “The most obvious path to increase
 market share for Duragesic and OxyContin is to reduce cost, which is the primary barrier to prescribing
 either drug first-line.”166 McKesson also suggested that Purdue consider a low-dose alternative to these
 two drugs to capture a larger market share among patients with mild-moderate pain; conduct additional
 research on non or low prescribers of Duragesic and OxyContin to understand what features are
 important when selecting pain meds.167
 In Fall 2001, McKesson Health Solutions held focus groups with a mix of pain specialists for Purdue; the
 focus groups were conducted during Purdue’s Risk Management Advisory Boards meetings for the
 purpose of “OXU,” a new formulation later identified as Naloxone.168 The key findings from this interim
 report, based on three of the four focus groups, suggested that anesthesiologists and primary care
 physicians would prescribe OXU (in lieu of OxyContin) to varying degrees. “The majority of primary care
 physicians envisaged prescribing OXU for most, if not all the patients for whom they currently prescribe
 OxyContin.”169
 McKesson also shared market research/ data with Purdue for its Butrans launch, showing
 “abandonment data” by price of co-pay for various meds; how to overcome denials through denial
 conversion and the increase in sales based on denial conversion.170
 Like McKesson, AmerisourceBergen’s Xcenda unit was tasked with conducting market research and
 devising strategies based on that research. Xcenda performed such research and strategy for various
 opioid manufacturers. For example, in 2012, Xcenda performed research and provided an Executive


 164
     Id.
 165
     PDD1502117658
 166
     Id.
 167
     Id.
 168
     PDD1502100590
 169
     Id.
 170
     PPLPC030000564197

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 Summary for Covidien on the key barriers for one of its new opioid drugs.171 Xcenda is hired to offer key
 insights and tactical recommendations, including signal testing to support recommendations, and to
 help Covidien decide which clinical studies will be most effective in creating a strong payer-focused
 value story supporting the launch of its new opioid drug. Xcenda worked closely with Covidien (by then
 Mallinckrodt), meeting to discuss research, strategy, and methodology.172 Xcenda then generated
 recommendations for positioning Mallinckrodt’s new opioid product for favorable launch, including the
 following recommendations:173
 •       undertaking 15 studies and publishing them;
 •       undertaking market research to test message language to communicate product value;
 •       involving medical affairs to publish key results;
 •       developing an AMCP (Academy of Managed Care Pharmacy) dossier;
 •       working to develop clinical pathways with Mayo Clinic; and
 •       developing a lecture series for physicians on pain management.

 Similarly, Xcenda prepared an AMCP (Academy of Managed Care Pharmacy) dossier for Cephalon’s
 (TEVA) Fentora opioid product in 2012.174 Their later work (January 7, 2013) includes a Statement of
 Work for Fentora for a four-phase project (project team will include employees of both Xcenda and
 TEVA):175
 •       Phase 1: kick off meeting with TEVA to initiate project, finalize target payer list
 •       Phase 2: develop list of target payers, timeline acquire and organize data
 •       Phase 3: run analysis to develop action plan for target plans
 •       Phase 4: validate the results via NAM WebEx

 Xcenda went on to conduct segmentation analysis and analyze IMS data market share to guide the
 target health care plan list for Fentora.176
 Opioid manufacturers hired Xcenda repeatedly over time to provide this kind of market analysis to assist
 in guiding marketing strategy to grow demand. Xcenda worked with TEVA to prepare a value proposition
 for Vantrela;177 to conduct primary research on payers, patients, and providers to “inform a meaningful
 and persuasive value proposition” (a “Triangulated Value Proposition”) for Nucynta (a J&J product);178
 Xcenda also provided Market Access recommendations and a market comparator analysis for the
 Mallinckrodt team,179 as well as a Budget Impact Model for Xartemis XR for Mallinckrodt, showing how
 market share would change over time based on particular market conditions.180




 171
     MNK-T1_0001532952
 172
     MNK-T1_0001052415
 173
     MNK-T1_0001052416
 174
     TEVA_MDL_A_01236538
 175
     TEVA_MDL_A_02553105
 176
     TEVA_MDL_A_02819135; TEVA_MDL_A_02819133; TEVA_MDL_A_02953959
 177
     TEVA_MDL_A_09165501; TEVA_MDL_A_03547843
 178
     JAN-MS-00817084
 179
     MNK-T1_0000641574
 180
     MNK-T1_0002191219

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 Its July 2014 work for Mallinckrodt on Xartemis XR noted the importance of physician acceptance and
 “published literature in peer-reviewed journals as the most credible source of data.”181 As my report
 later shows, Xcenda performed and published these studies. Xcenda’s report for Mallinckrodt also noted
 that deterrent characteristics in opioid therapies do not have an impact on clinical/coverage decision
 making and hence, human abuse liabilities studies were considered “nice to have” rather than “must
 have” data.182

          3. Distributors developed marketing strategy (segmentation, value
          proposition/differentiation, product positioning, etc.) for opioid manufacturers.183
 In addition to the market research the Distributors conducted on behalf of the opioid manufacturers to
 guide the development of the manufacturers’ marketing strategy, the Distributors often did the actual
 strategic marketing planning for opioid manufacturers. Recall from Section B, Marketing Basics, that
 companies develop marketing strategy to guide strategic priorities and resource allocations to grow
 product sales. Marketing strategy is based on a systematic process of identifying strengths, weaknesses,
 opportunities and threats in a marketplace (sometimes referred to as a SWOT analysis); segmenting
 markets; honing their focus on key target markets; crafting value propositions that resonate with
 targeted customers; implementing the marketing strategy; and then evaluating the results/return-on-
 investment of that strategy on an ongoing basis.
 McKesson prepared a marketing plan for Actavis stating the “primary goal is to move market share of
 Actavis’ oxymorphone ER tablets within McKesson Pharmaceutical’s OneStop customer base;”184
 awareness would be achieved through direct promotion to McKesson’s customers. McKesson developed
 a marketing plan for TEVA to educate pharmacists regarding new REMS [Risk Evaluation & Mitigation
 Strategies) requirements for ACTIQ and Fentora.185 McKesson Manufacturer Marketing prepared a plan
 for Purdue to “create pharmacist awareness & education of RxPatrol (pharmacy security).”186
 ABC’s Xcenda performed all these aspects of marketing strategy for the opioid manufacturers. Purdue
 relied on AmerisourceBergen’s (ABC’s) Xcenda unit for strategic assistance. A series of emails from
 October 2-8, 2014 discussed the upcoming Purdue October 2014 HYD Advisory Board, including an
 attendee list, a draft agenda, and target advisory board dates as well as action items for Xcenda and for
 Purdue.187 These Advisory Boards played a critical role in giving legitimacy to the pharma companies’
 strategies. The fact that the Distributors helped to plan and manage these Advisory Board meetings
 speaks to their critical role as a partner in the manufacturer’s efforts.
 Xcenda similarly provided strategic analysis for TEVA on opioid product Fentora (October 2012),
 including its savings program, sales force metrics, competitive intelligence, patients, market access
 (percent of sales by channel, e.g., Medicaid, Medicare, third-party payer, cash), and marketing channels
 (call centers, mails, web banners, etc.).188


 181
     MNK-T1_0005053502
 182
     Id.
 183
     Documents providing the basis for the opinions contained in this Section are contained in Schedule
 5C-3.
 184
     ACTAVIS0622787
 185
     TEVA_MDL_A_12746422; MCKMDL00353374
 186
     MCKMDL00353316
 187
     PPLPC046000062722; PPLPC046000062729; PPLPC046000062731; PPLPC047000031685
 188
     TEVA_MDL_A_02964576

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 In 2013, ABC’s Xcenda unit conducted a pain management landscape assessment for TEVA,189 including
 preparation of an agenda and materials for TEVA’s upcoming Chronic Pain Management Payer Advisory
 Board meeting.190 The objectives include: understand current management of pain, identify payers’
 unmet needs in pain treatment, ascertain perceptions on the level of concern of opioid abuse,
 understand payers’ perspectives on the importance of meds, discuss resources for decision making,
 discuss clinical, health, economic outcome research.191 Relatedly, there was a similar project for the
 Hydrocodone Payer Board Meeting.192
 J&J also engaged Xcenda to provide marketing strategy for its opioid products, including strategic
 planning for 2008 Tapentadol Outcomes;193 research on how to navigate Part D Exceptions and prior
 authorizations (PA) needed for Nucynta (2012);194 a Long-Term Care Reimbursement Training Deck;195
 the creation of an “FST tool” (Field Sales Tool—a type of app) for all 25 health care plans to provide
 information to providers on how to navigate Medicare Part D Exceptions and Prior Authorizations.196
 The exception to the Medicare plan “is critical to ensure patient access.”197

              4. Distributors conduct direct marketing of opioid products.198
 As outlined above in Section IV, in an integrated supply chain, all parties act in harmony to maximize
 profitability for all entities. To achieve this level of coordination, Distributors provide value-added
 services to both upstream suppliers and downstream customers, integrating the industry’s marketing
 efforts so all parties collectively benefit.

 Among the direct marketing services the Distributors provided to opioid manufacturers (on both a fee-
 for-service basis as well as based on the sales lift generated by the marketing activities the Distributors
 performed) were:
        i.   Advertising to pharmacists to create awareness of the opioid products;
       ii.   Sales promotion strategies including offering vouchers to actual patients (through pharmacists)
             for free pills; rebates to pharmacists for each bottle of opioids orders; and
   iii.      Personal selling and sales support/training.
 These marketing services were directed not only to pharmacies, but also to physicians, patients, payers,
 pain management providers, and other health professionals (nursing staff, administrators, medical
 directors).
             i. Advertising services on behalf of the pharmaceutical manufacturers: Leveraging distributors’
             technology platforms to advertise to pharmacists


 189
     TEVA_MDL_A_00858252
 190
     TEVA_MDL_A_00858261
 191
     TEVA_MDL_A_00858300; TEVA_MDL_A_00858301
 192
     TEVA_MDL_A_00858307; TEVA_MDL_A_00858312; TEVA_MDL_A_02955356
 193
     JAN-MS-00447221
 194
     JAN-MS-00364683; JAN-MS-00364686; JAN-MS-00364689
 195
     JAN-MS-00362395
 196
     JAN-MS-00362392; JAN-MS-00866310; JAN-MS-04227457; JAN-MS-04216373
 197
     JAN-MS-04218103
 198
     Documents providing the basis for the opinions contained in this Section are contained in Schedule
 5C-4(a).

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 Creating awareness of and educating customers about products is a critical function of marketing, and it
 is designed to create demand for those products. Each of the Distributors was integrally involved in the
 advertisement and promotion of opioid products to their retail chain pharmacy customers through
 various channels including email blasts, banner advertising, direct mail, digital signage, weekly
 newsletter content and telemarketing. The Distributors were key partners in opioid advertising designed
 to grow demand from pharmacies. By leveraging the Distributors’ technology platforms, manufacturers
 could reach thousands of the Distributors’ existing pharmacy customers in a single email blast. Further,
 running banner ads for opioid drugs on the Distributors’ websites, where pharmacies go to place orders,
 ensures advertising placement in front of the targeted customers.

 Cardinal Health’s advertising programs included running awareness and education campaigns for the
 pharma manufacturers through its eConnection email marketing; ads in its weekly publications to chain
 pharmacies (CVS, Walgreens); direct mail specifically targeted to pharmacists who had ordered
 competitors’ product in the past three months, and digital signage on its Pharmacy Health Network that
 reached actual consumers at retail pharmacies.199

 McKesson’s advertising programs (often referred to as Manufacturer Marketing Product Promotional
 Agreements) included telemarketing (calls made directly to pharmacists on the manufacturer’s
 behalf);200 DirectRX advertising on its online platform McKesson Connect;201 fax blasts; RX Mail (direct
 mail to both McKesson’s Health Mart pharmacists as well as independent pharmacies); RX Bulletin
 (HTML email message); RX Focus.202 These ads could be targeted to specific pharmacists based on their
 past orders of competitive products, size of orders, or state/territory.203 The ads also included
 “discounts to pharmacists to incentivize them.”204

 McKesson also offered its pharmacists an “auto ship” program.205 For example, in one case, 3,001
 pharmacists who were categorized as “high dispensers of similar medications” received auto shipments
 of one four-count carton of Butrans the week that it launched.206

 The Distributors also provided data to the manufacturers regarding how many impressions the
 campaigns delivered (e.g., the number of times the ad appeared in front of customers), the number of
 inquiries the ads generated, and the product lift due to the ads.207

 AmerisourceBergens’ advertising programs provided to the manufacturers included online education,
 customer acquisition and promotion through myGNP pharmacy sites, including ads on myGNP.com,


 199
     ACTAVIS0600353; PPLPC004000298375; MNK-T1_0000823151; ACTAVIS0220239; ENDO-CHI_LIT-
 00294169; ENDO-CHI_LIT-00431191; CAH_MDL2804_00133350; TEVA_MDL_A_13494044;
 CAH_MDL2804_00132726
 200
     PKY180416642
 201
     MCKMDL00353305; MCKMDL00706767; PPLPC004000245474; ACTAVIS0622787
 202
     TEVA_MDL_A_12746422; MCKMDL00353374; MCKMDL00353316; MCKMDL00353261; MNK-
 T1_0006909534; MCKMDL00353277
 203
     MCKMDL00353282
 204
     ALLERGAN_MDL_00684866
 205
     MCKMDL00353279
 206
     MCKMDL00490713
 207
     MNK-T1_0000990815; MCKMDL00353307

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 direct mail, fax blasts, Web banners on ABC’s PassPort (also known as ABC Order-- the ABC ordering
 platform), Affiliate Links (e.g., placing a link to the manufacturer’s content on manufacturer-sponsored
 “channels”), ad inserts in its monthly magazine for pharmacists, Retail Remedy, email through its
 CustomConnect campaign service, and ads on “The Link.” “The Link” is its customer communication
 portal used to “reach and message pharmacy customers” and “educate pharmacies about
 [manufacturers’] suite of products.” These ads included “supplier spotlight” banners that ABC sold to
 manufacturers as a monthly ad service.208 As an example, ABC sent a fax blast to 1700 pharmacists for
                                209
 Purdue’s Butrans for               ABDC also used its online platforms to offer various “channels” (e.g., a
 Pain Management Channel) where the manufacturers were featured as “sponsors” (for a fee:
      /month). In addition to the sponsorship fee (         ), ABDC was also compensated for each visitor it
 funneled to the channel who registered with the site to continue to receive information.210

 Evidence indicates that the manufacturers relied on the Distributors to perform marketing on their
 behalf to avoid legal scrutiny. For example, in the communication about the “most effective ways (for
 ABDC) to get information to ABDC’s customers about new sizes of OxyContin and rebate information,”
 the emails between ABDC and Purdue note that Purdue cannot do a cover letter for the mailing
 “without going through legal which will take weeks, so it would be better if ABDC did that.”211

         ii. Sales promotion programs (offering coupons and rebates to customers) for opioid drugs
 In addition to leveraging the technology platforms and communication channels in their established
 relationships with pharmacies to send advertising on the opioid manufacturers’ behalf, the Distributors
 also used them to implement the opioid manufacturers’ sales promotion offers to downstream
 customers.

 As outlined above in Section II, Marketing Basics, sales promotions are incentives to customers to
 encourage them to “buy now,” such as coupons and rebates. Given that these promotional tactics are
 both time-limited in nature and offer a financial deal, they are highly effective in generating sales lift on
 the promoted products.

 Given their effectiveness, the use of sales promotions often puts the financial gain of the business at
 odds with what is right for the consumer. Instead of focusing on what is right for the patient, sales
 promotion puts the focus on the financial gain pharmacies will receive from these products.

 As part of their fee-for-service marketing programs, McKesson offered “voucher” programs on behalf of
 the opioid manufacturers to actual patients. In one case, the voucher was for three free pills. Given the
 expected 5% redemption rate of the vouchers,212 the email from McKesson states, “This will be a great




 208
     PPLPC051000001178; ABDCMDL00002141; ABDCMDL00002632; PPLPC022000986875;
 ABDCMDL00002126; ABDC_INCID0000189, ABDMDL00002828; ABDCMDL00002128
 209
     PPLPC004000256865
 210
     PPLPC051000001178
 211
     PPLPC004000142842
 212
     A typical redemption rate for coupons at retail is 1-2%

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 way to add some PUNCH to your launch and offer true differentiation.”213 In another case, the offer was
 for 10 free pills for Nucynta.214

 McKesson also offered coupons for copay assistance to make brands more affordable for more patients.
 Its program for Nucynta ER included a $25 co-pay savings program that yielded an increase of 180% in
 average monthly claims over prior years’ claims; a 95% overall retention rate (compared to higher co-
 pays). In February 2011, McKesson prepared an RFP for to administer savings card programs for J&J’s
 opioid drug, Nucynta ER.215 Among the compelling reasons McKesson communicates in the proposal for
 why J&J should partner with them are that “over the years, we’ve become a fluid extension of the J&J
 team rather than just a vendor” (p. 10) and McKesson’s expertise in health behavior change and
 consumer marketing (based on patient enrollment, profiling, and other data) provides its brand partners
 with communication, promotion and distribution options (p. 12).

 McKesson offered similar voucher promotions for Actavis (Kadian)216 and Janssen.217

 McKesson also offered a RelayHealth LoyaltyScript Platform,218 described as intelligent prescription
 couponing, to address prescription nonfulfillment due to medication costs, with the value proposition to
 the manufacturer, “More Rx’s processed!219

 The promotions included “financial incentives” to pharmacies as well, such as rebates of $25 for each
 bottle of Oxymorphone sold. In this case, the opioid manufacturer also incentivized the Distributor,
 with an additional $10/bottle paid to McKesson. McKesson could also earn 5x or 6x more than that for
 “proof of retailer stocking” the brand.220

 Like McKesson, Cardinal Health offered a savings cards for opioid drugs.221

 The role of the Distributors in running sales promotion strategies for the opioid manufacturers is
 problematic and troubling. In using incentives to get pharmacies to stock more and get patients to buy
 more, they were promoting opioids as if they were not highly addictive products.

 Internally, the Distributors recognized they were engaged in improper marketing activities but that sales
 must go on no matter what the risk. For example, an email thread regarding special dating and a buy-in
 on OxyCodone expressed concern about using these marketing techniques with a controlled
 substance.222 The response from other colleagues within McKesson was that “this is standard
 promotion for stocking the product, rebates based on purchases. If there is something we are not
 supposed to do, this is the first I’m hearing about it” (Greg Yonko). Don Walker (who had expressed



 213
       JAN-MS-01136836
 214
     JAN-MS-01071368
 215
     JAN-MS-00864519; JAN-MS-00865180
 216
     ALLERGAN_MDL_02495818
 217
     JAN-MS-00785242
 218
     PPLP003361649; PPLP003361918
 219
     PPLPC022000184774
 220
     ACTAVIS0623776
 221
     PPLPC004000298375
 222
     MCKMDL00543462

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 concern) replied: “Easy big fella. … we do need to think through how we handle promos on controls,
 especially Lifestyle drugs like Oxycodone.”223

 Another internal McKesson email thread regarding its OneStop Generics Campaign on lower-priced
 Oxycodone targeted to customers with purchase history of Mallinckrodt Oxycodone states, “Are you
 kidding me!! We are auto shipping oxy!!!”224 This concern escalated, with the next person asking
 “What’s going on? Surely we are not promoting Oxy on special.”225 The thread concludes with Don
 Walker justifying the problematic strategy by responding, “We agreed to offer the lower price but are
 not changing any thresholds.”226

             iii. Field Sales Support Systems227
 As Section II. Basic Marketing explains, another critical marketing function is sales/personal selling.
 Personal selling is conducted both in-person (e.g., when one of the Distributors’ sales people visits
 pharmacists) as well as through remote sales (e.g., through call centers that both staff 800# for inbound
 calls as well as engage in outbound telemarketing). As part of their fee-for-service marketing for the
 manufacturers, the Distributors also provided field support via staffing call centers to work with not only
 pharmacists, but patients, health professionals, and payers as well. Evidence for this appears in Schedule
 5.4 (c).

 The Distributors cannot say they were not engaged in marketing when they provided the training for
 opioid manufacturers’ sales forces on how to talk to physicians and other health care professionals.
 Indeed, evidence shows that the Distributors provided direct training to the opioid manufacturers’ sales
 forces (detailers) who called on physicians. For example, ABDC’s Xcenda’s slogan for this services states,
 “We become extensions of the sales force” (emphasis added).228

 As part of their role in training the manufacturers’ sales representatives, the Distributors provided
 messaging and talking points for the opioid manufacturers’ detail teams. One slide deck used for the
 training offered detailed role plays to help sales reps handle challenging questions.229 A different
 training deck included specific talking points for J&J’s sales representatives when talking to key target
 markets including the Director of Nursing, Consultant Pharmacist, Administrator, and Medical Director.
 It also includes details on how to manage the Exceptions/Appeal/PA process.230

 ABDC’s Xcenda unit also hired field-based payer coverage specialists (FCS) to support ENDO’s pain
 products; to support regional needs of ENDO’s sales force and their customers in payer policies for prior
 authorization; and to provide education to support patient access.231 The field specialists that Xcenda




 223
       Id.
 224
       MCKMDL00539021
 225
       Id.
 226
     Id.
 227
     Evidence for this section can be found in Schedule 5.4 (c).
 228
     JAN-MS-00814133
 229
     JAN-MS-00814133
 230
     JAN-MS-04227313
 231
     ENDO_OPIOID_MDL-04815436

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 hired would not only make in-person customer visits, but would also make phone calls and host
 teleconferences.

 ABDC’s Lash Group (offering consulting services to the pharma manufacturers) proposed to hire 2600
 associates at five call centers to support Teva’s core areas, including pain management, serving 8 million
 patients.232 The Lash Group also staffed a call center with “health professionals who will offer product-
 related information to physicians and patients” for Purdue.233

                5. Distributors Conducted Indirect Marketing of Opioid Products.
 As detailed in Section II above, in addition to direct (e.g., branded) marketing, marketing also includes
 sophisticated indirect strategies that are designed to influence customers’ and other stakeholders’
 perceptions of the industry and product category. The goal of these strategies is to enhance customer
 attitudes about products to elevate the market and grow sales. This was especially true with
 prescription opioids, where attitudes of the medical and pharmacy communities towards opioids had
 been negative and emphasized conservative use. Therefore, opioid manufacturers engaged the
 Distributors to assist in a number of indirect marketing activities designed to allay the concerns about
 the widespread use of opioids in the medical and pharmacy communities, including:

           i.      Training in behavioral coaching techniques to ensure patient compliance with prescribed
                   medications.
          ii.      Offering continuing education programs for physicians, pharmacists and healthcare
                   providers promoting the widespread use of opioids.
          iii.     Hiring and training key opinion leaders (speaker series) to promote the widespread use of
                   opioids.
          iv.      Creating/funding clinical trials and publications with the purpose of influencing physician
                   attitudes towards broader opioid prescribing.
          v.       Working through the industry trade associations to ensure favorable operating conditions
                   and promoting the widespread use of opioids.

 Recall from Section III that there is a heightened duty of care when using these indirect marketing
 strategies. These activities are both more subtle and more insidious, in the sense that customers and
 other stakeholders do not realize these tactics are paid marketing activities, and so their “filters” to
 skeptically view such messages are absent. Therefore, the FTC requires that these paid influencers
 clearly disclose their relationship with the company. Further, when these indirect tools are used for
 potentially dangerous products, they run greater risks of causing problems. The Distributors have not
 exhibited this heightened duty of care when they partnered with the opioid manufacturers to drive
 demand through indirect marketing.

       i. Distributors ran patient “adherence” programs234
 Each of the Distributors drove demand through influencing patient behavior, including the use of
 programs to ensure opioid users “adhered” to taking their opioid medication and that patients had


 232
     TEVA_MDL_A_11786072
 233
     PPLPCO31001481881
 234
     See Schedule 5.5 (a).

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 “access” to opioids. These efforts ensure patients keep using opioids so the sales stream would
 continue. The Evidence for the patient adherence programs appears in Schedule 5.5 (a).

 AmerisourceBergen drove patient demand in this way through its subsidiary, Lash Group. Through this
 subsidiary, they contracted with opioid manufacturers to provide programs for patient medication
 “adherence” and “patient access.”235 Its proposal to Teva promises to “enhance the success of
 pharmaceutical brands by … driving adherence.”236 In 2016, for example, Lash contracted with Purdue
 Pharma to promote and “facilitate access” to the opioid Hysingla by establishing a call center that
 served as the “main point of contact for all inquiries, service requests and outbound calls related to the
 Product.”237 In this way, Lash’s programs contributed to the increased use of opioids.

 Cardinal Health likewise offered comprehensive patient adherence services through an “Access &
 Patient Support” program, promising “compliance and persistency” when “patients don’t take their
 medications as directed.”238 This includes placing outbound calls to patients, as well as answering
 questions and providing other support. Cardinal’s patient adherence programs drive the demand for
 opioids and other drugs.

 McKesson offered a manufacturer-sponsored Pharmacy Intervention Program (“PIP”), which trains
 pharmacists on how to provide “coaching sessions” to patients. Identified as “a patient adherence
 program from the McKesson Sponsored Clinical Services Network,” McKesson marketed PIP to drive
 sales for all players in the integrated supply chain: the manufacturer, the pharmacy, and of course
 McKesson itself. Marketed to the manufacturers as a program to “reduce discontinuations and improve
 patient adherence,”239 PIP offers an opportunity to address patient needs by uncovering motivations
 and coaching them to adhere to the prescribed regime.240 McKesson incentivized the pharmacies to
 participate, paying pharmacists for every completed intervention and then invoicing the manufacturer
 for the costs. McKesson not only trained pharmacists to increase opioid sales; it also conducted
 “behavioral call campaigns” directly to patients. McKesson’s call center staff, trained in behavioral
 coaching techniques, would contact patients directly by telephone to ensure that patients took their
 medications, including opioid products.241 McKesson claimed its program “takes adherence to a new
 level through combined behavioral expertise, call center resources, and measurement.”242 McKesson
 states that its “Patient Reinforcement Program” results in a 440% increase in conversion rates for
 patients, conveying the extremely high impact of this program on sales.243 (This same presentation notes
 that health care professionals re-initiating opioid experienced patients “inappropriately dosed them on



 235
     See e.g. ABDCMDL00323380 (p. 31) (Amerisource business summary of Lash Group’s patient
 adherence services).
 236
     TEVA_MDL_A_11786072
 237
     PPLPC031001481881
 238
     https://www.cardinalhealth.com/en/services/manufacturer/biopharmaceutical/patient-access-and-
 adherence/patient-adherence-solutions.html
 239
     PPLPC002000140782; PPLP003299959; PPLP0033337352; PPLPC028000587023
 240
     PPLPC004000248015
 241
     MCKMDL00493101; MCKMDL00496195; MCK-AGMS-069-0002523; MCKMDL00726854
 242
     MCKMDL00726854
 243
     JAN-MS-01130535

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 the 5 mcg/hour when they should be initiated on the 10 mcg/hour,” also a way to increase opioid
 use.244)

 The importance of this Pharmacy Intervention Program was highlighted in an internal Purdue memo
 informing the field sales people about the launch of McKesson’s Pharmacy Intervention Program for a
 Butrans Adherence Program that includes face-to-face coaching sessions to overcome adherence
 barriers to “prescribed medication therapy.”245

 McKesson also provided a “Denial Conversion Program”246 designed to increase patient adherence to
 prescribed medications via an automated process on rejected prescriptions. For instance, if a
 prescription is rejected by insurance as non-reimbursable, RelayHealth’s Denial Conversion solution
 converts the rejected claim to a paid response and returns the specified patient co-pay and patient
 savings notification. The prescription drug gets dispensed as prescribed, aiding in patient medication
 adherence. McKesson’s marketing material refers to this as an “integrated engagement” system to
 create “behavior changing brand experiences.”247

        ii. Distributors offered continuing education to healthcare providers and pharmacists designed to
        increase opioid demand.248

 As noted in Section II, continuing education (CE) initiatives are often part of a company’s content
 marketing (thought leadership). In content marketing, the company offers continuing education
 programming that is aligned with its broader marketing thrust, and thereby, creates demand for its
 products and services. The Distributors’ value-added “continuing education” services also extended to
 patient relationship solutions, and outreach to physicians and nurses. The documentation for the
 evidence in this section appears in Schedule 5.4 (b).

 ABC Specialty Group, Xcenda, offered several such educational initiatives designed to promote the
 widespread use of opioids. Titled “Knowledgedriven,”249 its provider reimbursement services (PRS)/ Pain
 Policy Educational Initiative provides over 1,300 educational programs each year (teleconference or
 live), partnering with manufacturers to navigate barriers for patient access to important therapies,
 proclaiming “We become change agents for improved access to healthcare.”250 Xcenda details the
 various audiences who would use these education services, including sales force, physicians, nurses,
 residents, pharmacists, patient advocates, practice managers, and more. The tools they offer include tip
 sheets; brochures; helpful hints; dinner, lunch, breakfast programs; and newsletters for providers,
 patients, and sales reps. At these events, Xcenda would allow the pharmaceutical manufacturer’s detail
 team recruit providers to attend as their guests. Xcenda states that the return on investment (ROI) for
 these educational services includes: ensuring that the “client” (e.g., the pharma manufacturer) is
 perceived by the various audiences as bringing value added products to market; increasing patient
 access and appropriate prescribing behaviors; increasing awareness, exposure, and utilization of “Drug

 244
       Id.
 245
     PPLP003451464;
 246
     PPLPC030000564197
 247
     JAN-MS-00814133
 248
     See Schedule 5.5 (b)
 249
     JAN-MS-00814133
 250
     Id.

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 X” following the program due to better understanding (say, of reimbursement); and penetrating
 markets that were off limits previously. These educational programs include “facts” to address fears of
 causing addictive behaviors (e.g., “Debunking the Myth” on controlled substances).251 Xcenda also
 offered a healthcare provider “opiophobia” speaker/education initiative.252

 Other continuing medical education was provided by ABC’s Imedex unit. As noted previously, Imedex is
 an accredited provider of physician continuing medical education that support manufacturers and
 healthcare providers along the pharmaceutical supply channel.253 Schedule 5.5 (b)/Imedex includes
 evidence of the many ways this group provided Continuing Education for the pharma manufacturers,
 much of it focused on expanding the use of opioids in pain management. By normalizing the use of
 opioids in pain management, this type of indirect marketing played an important role in elevating the
 market, allaying physician concerns about the risks of opioids and increasing demand.

 Similarly, McKesson also offered CE courses. For example, it offered a Pain Management CE course for
 pharmacists at its McKesson Trade show that was paid for by a “grant” from Purdue.254 Other CE
 programs included: “The Role of the Pharmacist in Medication Management of Chronic Pain” and
 “Controlled Substance Prescriptions and Pain Management.”255

 Purdue also relied on distributors to field its continuing education seminars, both through locating
 seemingly impartial speakers and through funding.256

 Similarly, Cardinal Health offered “Controlled Substance Prescriptions and Pain Management”
 Continuing Education program at its Cardinal Health Show, its trade show for industry professionals. It
 also offered Continuing Education courses at its annual Retail Business Conference.257

         iii. Hiring and training key opinion leaders to promote the widespread use of opioids258

 Section II above describes that marketing often relies on using expert spokespeople to harness the
 credibility and expertise these spokespeople to indirectly “burnish” their products’ image through a halo
 (carryover) effect. This marketing tactic can be quite powerful in that it bypasses the usual skepticism
 customers have with traditional marketing tactics. In the case of opioid marketing, these spokespeople
 were referred to as Key Opinion Leaders (KOLs).




 251
     Id.
 252
     JAN-MS-00326339; JAN-MS-00326341
 253
     Even before Imedex was owned by ABDC, it played an important role for the pharmaceutical
 manufacturers. For example, in 1997, Purdue sponsored a Pain Management and Chemical Dependency
 Conference (a session on opioid therapy for chronic non-malignant pain) that was run by Imedex. See
 PKY180947495, PKY180796666.
 254
     PPLPC008000022314
 255
     PPLPC004000122279
 256
     PPLPC004000183541
 257
     PPLPC008000036382
 258
     See Schedule 5.5 (c)

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 Recall that the FTC requires that paid sponsors identify themselves.259 Moreover, industry codes of
 conduct require paid sponsors be open about their relationship with the company.260 In the case of
 potentially dangerous products, these standards are imperative to mitigate potential harms.

 At least one Distributor, ABDC, not only recruited key opinion leaders (KOLs) on behalf of opioid
 manufacturers, but hired them to keep the names off the manufacturer’s books to obfuscate the KOL’s
 role.261

 The Distributors also trained these KOL’s for their engagements. These techniques were used to bolster
 the perception of safety and credibility of opioids in the marketplace, contributing to demands and sales
 for all industry players.

 In its BUTRANS Managed Care Advisory Board Weekly Status for Purdue, Xcenda describes its KOL
 (presumably Key Opinion Leader) training program that includes messaging for new pain products and
 training speakers for MCO plans (presumably Managed Care Organizations).262

         iv. Distributors Role in Conducting Clinical Trials and Writing Journal Publications 263

 Another aspect of indirect marketing/thought leadership includes developing white papers and other
 publications that establish the credibility and authenticity of the company and its products. In their role
 in both developing marketing strategy and implementing those strategies in support of the
 manufacturer’s marketing efforts, the Distributors’ market research (previously summarized in Section
 VI C (2) identified the importance of clinical trials and publications in medical journals. The Distributors
 then (jointly with the pharmaceutical manufacturers) performed these studies with the purpose of
 influencing physician attitudes and prescribing behavior. Again, the integrated supply chain was working
 to elevate sales and grow demand for the industry, to the benefit of all players.

 ABDC’s Xcenda provides the best illustration of the Distributors’ role in identifying, conducting, and
 writing studies that were later published in the journals, with Xcenda’s personnel listed as co-authors, as
 illustrated in the Table below. Listed in the Table are a sample of studies that Xcenda helped to conduct,
 write, and publish. For example, for a study on how opioid users were affected by alcohol abuse, Xcenda
 developed the study’s design, statistics, timeline, and objectives.264 TEVA sponsored the study, which
 was then presented at medical conferences265 and later published (see the 2015 and 2017 TEVA alcohol
 studies in the Table below with Xcenda personnel as co-authors below).


  Year     Journal/Title/Author Affiliations
  2010     The American Journal of Pharmacy Benefits
           “Review of outcomes Associated with Formulary Restrictions: Focus on Step Therapy”

 259
     FTC, Disclosures 101 for Social Media Influencers, (November 2019). (Available at
 https://www.ftc.gov/tips-advice/business-center/guidance/disclosures-101-social-media-influencers).
 260
     See The Code of Ethics for the Public Relations Society of America (Schedule 4)
 261
     PPLPC004000183541
 262
     PPLPC024000532502; PLPC024000532503; PPLPC039000672710
 263
     See Schedule 5.5 (d).
 264
     TEVA_MDL_A_02366621
 265
     TEVA_MDL_A_03217417

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          Authors from Xcenda & Novartis; Funded by Novartis
  2010    Current Medical Research and Opinion
          “Adverse event profile of tramadol in recent clinical studies of chronic osteoarthritis pain”
          Funded by Ortho-McNeil Janssen Scientific Affairs;
          Author a consultant to J&J; employees of J&J; Xcenda employee and J&J consultant
  2014    Journal of Managed Care Spec. Pharm.
          “Development and Validation of a Risk Score to Identify Patients at High Risk for Opioid-
          Related Adverse Drug Events.”
          Authors from Xcenda and funded by Pacira Pharmaceuticals
  2014    American Journal of Health-System Pharmacy
          “Adverse drug events among patients receiving post-surgical opioids in a large health
          system: Risk factors and outcomes”
          co-author from Xcenda
  2015    Journal of Pain
          “Long-term opioid users with chronic non-cancer pain: differences between patients with
          and without diagnosed alcohol abuse or dependence”
          Authors same as above (Xcenda & TEVA)
          Funded by TEVA
  2017    Adv. Ther.
          “Hospitalization Costs Acetaminophen Plus Other IV Analgesics or IV Opioid Monotherapy”
          Funded by Mallinckrodt; Authors from Xcenda and Mallinckrodts’ HEOR Dept. (Health
          Economics & Outcomes Research)
  2017    Article published by Dovepress
          “Health care resource use and cost differences by opioid therapy type among chronic
          noncancer pain patients”
          Authors at Xcenda and Teva
  2017    Journal of Managed Care & Specialty Pharmacy (JMCP)
          “Burden of Alcohol Abuse or Dependence Among Long-Term Opioid Users with Chronic
          Noncancer Pain.”
          Authors at Xcenda and TEVA
          Funded by Teva
  2018    Journal of Opioid Management
          “Long-term opioid users with chronic noncancer pain: Assessment of opioid abuse risk and
          relationship with healthcare resource use”
          Authors at Xcenda and TEVA
          Funded by Teva (see TEVA_MDL_A_08855370)
  2019    Journal of Pain & Palliative Care Pharmacotherapy.
          “Opioid-related respiratory and gastrointestinal adverse events in patients with acute
          postoperative pain: prevalence, predictors, and burden”
          Sponsored/funded by Trevena.
  2020    Cephalalgio Reports
          “Treatment Patterns of Patients Diagnosed with Major Headache Disorders: a retrospective
          claims analysis.”
          Funded by Promius Pharma; Authors from Xcenda and “Real-World Evidence” Xcenda;




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 McKesson also identified the important role of clinical trials. Its “Butrans Commercial Strategy/
 Brainstorm session 2” for Purdue acknowledged that failed clinical trials were a problem, with a need to
 publish review articles to address this. 266

 The conflict of interest inherent in the cozy relationships among members of the pharmaceutical
 industry/supply chain and the journals is concerning. After an article in JAMA Oncology highlighted the
 potential conflicts of interest, AmerisourceBergen felt the article was potentially damaging enough that
 it commented on the article in its Sept. 9, 2016 issue of its publication Health Policy Weekly.267 After
 rebutting the calculations in the JAMA article, they offered a different conclusion: “Transparency of
 financial conflicts of interest is important, but the issue is complex, and a balanced perspective is
 needed.”268 Additionally, the United States Senate Financial Committee investigated the opioid
 industry’s financial ties to front groups and indirect marketing and found the opioid industry behind a lot
 of seemingly impartial groups.269

 These conflicts also existed with medical journals themselves. For example, Melissa McCart, Xcenda’s
 Director of Global Health Economics & Outcomes Research (HEOR) was named editor at The Journal of
 Managed Care & Specialty Pharmacy, on December 18, 2018.

           v. Working through the industry trade associations to ensure favorable operating conditions
           and combatting media and government pushback against opioids.270

 Recall from Section II that industry trade associations play an important role in marketing to elevate the
 industry. These trade associations serve the interests of its members and perform key functions that
 would be costly or less impactful were each individual member to perform that function on its own.
 Among these common functions that trade associations perform are government lobbying, media
 relations, and other communications and advocacy services. By working behind-the-scenes to influence
 favorable media coverage and government relations, the industry trade association bolsters the ability
 of the integrated supply chain to market and sell its products successfully.

 The opioid Distributors’ indirect marketing efforts also included working through its trade association,
 the Healthcare Distributor Alliance (previously the Healthcare Distribution Management Association) to
 ensure favorable operating conditions for the industry.

 The HDA (originally the National Wholesale Druggists’ Association, and later the Healthcare Distribution
 Management Association) “represents primary pharmaceutical distributors. One of its fact sheets
 highlights the Distributors’ role in “delivering solutions nationwide” and its strategic role as a supply

 266
       PPLPC030000564197
 267
    Aaron P. Mitchell, Ethan M. Basch, Stacie B. Dusetzina, Financial Relationships With Industry Among National
 Comprehensive Cancer Network Guideline Authors, JAMA Oncology, December 2016.
 https://jamanetwork.com/journals/jamaoncology/fullarticle/2546172
 268
     XCENDA BEHIND THE SCENES: JAMA: Diving Into the Deep End of Financial Conflicts of Interest,
 Health Policy Weekly, Sept. 9, 2016, at
 https://marketing.xcenda.com/acton/fs/blocks/showLandingPage/a/4930/p/p-0136/t/page/fm/0
 269
     https://www.hsgac.senate.gov/imo/media/doc/REPORT-Fueling%20an%20Epidemic-
 Exposing%20the%20Financial%20Ties%20Between%20Opioid%20Manufacturers%20and%20Third%20P
 arty%20Advocacy%20Groups.pdf
 270
     See Schedule 5.5 (e).

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 chain leader and convener in advocacy and education.”271 Its website further states that “distributors do
 far more than manage warehouses and ship pharmaceutical goods. They provide a wide array of
 supporting services that enable the pharmaceutical supply chain to function efficiently and safely,
 delivering significant value to manufacturers and healthcare providers — and ultimately for patients and
 consumers as well.”272

 The HDA Research Foundation (previously the Center for Healthcare Supply Chain Research - CHCSCR) is
 a non-profit charitable foundation that serves the healthcare industry by providing research and
 education focused on priority healthcare supply chain issues, including the development of the HDMA
 Factbook; The Role of the Distributors in the U.S. Healthcare Industry, among other reports and
 documents.

 Specific responsibilities the HDA performed included:

       •   coordinating an industry’s response to government concerns and possible legislation
       •   coordinating and managing strategic communication and advocacy professionals to work on
           behalf of the industry to ensure favorable publicity
       •   managing crisis communication
       •   establishing strategic priorities and launching pro-industry initiatives

 In addition, the HDA funded other pro-industry front groups such as the American Pain Foundation.

 The Evidence that documents the role of the HDA in these indirect forms of marketing are summarized
 in Schedule 5.5 (e).

 From 2012 through 2017, the HDA was regularly involved with drug abuse discussions and related public
 relations initiatives, detailed in a 17-page timeline.273

 Role with Government Relations. In 2012, the HDA’s largest budget expenses included staff ($6.47
 million) and outside lobbyists and political consultants ($1.35 million).274

 The minutes from its various Executive Committee meetings over the years communicate its role in the
 massaging and mitigating governmental concerns regarding the opioid crisis, including ensuring that all
 Members of Congress (House and Senate) were familiar with the HDMA and its “priority issues,”
 including opposition of proposed legislation regarding Medicare Part D/Non-Interference Clause275 and
 regulation regarding brand/generic legislation. They also offered educational programs to Senate
 Finance committee and industry attorneys, and conducted advocacy work with federal representatives
 and Hill briefings.276

 The HDMA also coordinated the Distributors’ participation in developing the “Industry Compliance
 Guidelines (ICG): Reporting Suspicious Orders and Preventing Diversion of Controlled Substances”

 271
     https://www.hda.org/news/2016-06-13-hdma-launches-new-identity-as-hda#:, accessed July 18,
 2020.
 272
     https://www.hda.org/about/hda-history
 273
     ABDCMDL00374353
 274
     ML00055624
 275
     HDA_MDL_000159563
 276
     HDA_MDL_000159198

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 including developing thresholds for identifying orders of interest,277 the need for a press release, what
 should be said/done and to whom,” outreach with members of Congress, and other steps to create the
 impression that Distributors were onboard with the ICG,278 as well as the Distributors’ preferred wording
 of a letter to the “ONDCP” (Office of National Drug Control Policy).279

 The HDMA circulated questions for the DEA to its members for a discussion on July 31, 2013. The edits
 provided by Cardinal Health indicate not wanting to antagonize DEA or leave themselves open to
 unwanted interrogation.280

 The HDMA (in conjunction with the National Association of Chain Drug Stores) filed an Amici Curiae to
 the US Court of Appeals for the District of Columbia Circuit in the Masters Pharmaceuticals v. US DEA
 case regarding whether the reporting obligations the DEA required was impractical for distributors.281
 The brief states that distributors do not have the data that would allow them to determine how much of
 a given drug or product each distributor is selling to a given pharmacy and identifies other problematic
 issues from their perspective.

 Given that the Distributors had a specific agenda to cultivate legislation that worked in their favor, they
 relied on the HDMA to be present at meetings where it would have been unseemly or problematic for
 individual company personnel themselves to be present. Internal emails request an HDA executive
 attend a meeting/brainstorming session to determine if there is anything to do from a public policy
 perspective to “better educate, or impact Washington policy makers’ thinking with respect to litigation
 brought by plaintiff’s lawyers and states, cities, counties and municipalities against the opioid supply
 chain.”282 The email states it would be better to have HDA at meeting rather than individual companies;
 the HDA executive replies that he would be happy to participate on behalf of the Distributors.

 Strategic Communications and Industry Advocacy Work with Government & Media. The HDMA engaged
 of communications and advocacy professionals. For example, Eric Dezenhall (labeled the “pitbull of
 public relations”)283 and David Winston (Winston Group) presented research results and a situational
 assessment regarding public perceptions of the role of distributors, manufacturers, and pharmacies.284
 Recall from Section II that a situational assessment is the systematic process used to provide the
 foundation for a marketing strategy.

 The HDA realized the importance of public relations to its members in allowing them to continue to
 generate and benefit from the ever-increasing opioid demand. The budget for the HDA public relations
 campaign for the years 2018 – 2020, totaled $9.5 million dollars, with the “assessment charge per
 company” divided equally between ABC, CAH, and MCK in 2020.285



 277
     ABDCMDL00000397; HDA_MDL_000081671
 278
     HDA_MDL_000081669
 279
     PPLP004210521
 280
     CAH_MDL2804_03250329
 281
     HDA_MDL_000162207
 282
     PPLPC020001151103
 283
    https://www.propublica.org/article/inside-purdue-pharma-media-playbook-how-it-planted-the-
 opioid-anti-story
 284
       HDA_MDL_000159563
 285
       MCKMDL00719205

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 Mr. Dezenhall concluded that the HDMA and the primary distributors’ brand needed strengthening to
 establish credibility, without which it is a target for attack.286 His company was retained by the HDMA to
 do this work. The work included:287

       •   Enhancing Day-to-Day Communications Operations and Engagement: how to manage media
           inquiries, updating the government affairs/industry relations sections of the website; developing
           key communications materials for priority issues; updating media distribution lists and updating
           the list of external experts for the media; spokesperson training, and updating the HDMA
           boilerplate presentation;
       •   Systematic Upgrades to Communications Tools and Resources: building a better website;
           upgrading the Weekly Digest for HDMA members;
       •   Ongoing Stakeholder Engagement: building relationships and communication channels before
           you need them with the Public Affairs Council, the trade media - listed by name here- and other
           association engagement;
       •   Strategic Communications: advocacy for reimbursement, pedigree, drug diversion, REMS, and
           generics; this would include government affairs planning and brainstorming for publications
           from the Center for Healthcare Supply Chain Research (the HDMA’s non-profit research arm);
           and
       •   Advanced Engagement, including a full-time VP of communications for more proactive media
           outreach; lengthier feature article pitches, speaking opportunities, white papers/research
           reports, etc.
 This comprehensive strategy that Dezenhall’s firm provided for the HDMA speaks to the sophistication
 approach the Distributors collectively benefited from with respect to strategic communications.

 In addition, the HDMA hired the prestigious consultancy Booz Allen Hamilton to “refresh” the Industry
 Value Proposition Study.288

 Managing Crisis Communications. Recall from Section II that public relations includes not just attempting
 to influence media coverage so it portrays a company and its products in the most favorable light
 possible; it also includes crisis communications—e.g., proactively preparing for how to respond to
 situations when a company and/or its products have caused harm in some way.

 The HDMA had a “Crisis Playbook,” developed in conjunction with yet another advisory and advocacy
 communications consultancy, APCO.289 This detailed Crisis Playbook offers guiding principles for crisis
 communication/reporting, including a crisis classification system and scenario planning based on level of
 risk and likelihood of occurrence; a communications approach (proactive media outreach, responsive
 media outreach, or none); stakeholder considerations; and other details. The specific application of how
 to effectively use the Playbook appears with about 10 specific scenarios/case studies, including DEA
 Registration Suspension of an HDMA Member/distribution center; a Diversion Lawsuit; Congressional
 Inquiry, among others.

 In addition, the HDMA engaged gmmb, a DC-based communications firm to develop a “Strategy to Turn
 the Tide in West Virginia” (referencing “the tide of imbalanced media coverage and public perception

 286
     HDA_MDL_000159563
 287
     HDA_MDL_000202605
 288
     HDA_MDL_000159557
 289
     ABDCMDL00288484

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 about the healthcare distributors’ role in painkiller abuse”).290 The memo states that if steps are not
 taken, the HDMA and its members risk negative impacts, including “possible disruption to passage of
 Senate Bill 483.”291 Among the recommendations are hosting a summit to preempt S. 483 to position
 HDMA as a leader and frame companies as part of the solution. Other steps to “turn the tide” include
 specific identification of target audiences (including West Virginia media, national media, law
 enforcement, politicians, third parties); key messages to use and a specific timetable for six months of
 outreach to implement the plan.

 AmerisourceBergen was pleased with a change in tone in press coverage. The HDA had been contacted
 by a reporter and was able to influence the final story. The ABC’s email states, “Charlie (Charles Ornstein
 the ProPublica writer) is the first reporter to actually use the information we provided.”292

 An email thread between AmerisourceBergen, Cardinal Health, and McKesson discussed a proposed “to
 let HDA take the lead” regarding proactive preparation in response to fallout from the upcoming 60
 Minutes and WAPO (presumably Washington Post) stories.293 Because companies can express their own
 point of view in their own social media, the email states the goal to use social media to “broadcast our
 point of view” by using LinkedIn (to reach professionals that may have a stake in pending litigation) and
 behavioral targeting on Facebook to reach those who may have actually seen the 60 Minutes episode.294
 The media impressions achieved could be precisely measured. Cardinal Health also had an internal
 memo with talking points for employees about how to respond to the fall-out from this negative
 press.295

 Similarly, AmerisourceBergen expressed concern regarding a letter “the Post” published and how the
 HDA could best respond to this. The memo references a DC crisis firm the HDA engaged, Reservoir. ABC
 wanted the HDA to “say the things we can’t/won’t.”296

 Industry Front Groups’ Role in Media and Government Relations.

 Both the Pain Care Forum and the American Pain Foundation are examples of industry front groups, and
 the HDMA was a participating organization in the Pain Care Forum.297

 As might be expected, these industry front groups used the same marketing tactics as the HDA—
 media/public relations strategies and government relations—to curry favor with politicians and
 reporters to ensure favorable treatment so they could continue to grow and benefit from opioid sales.

 The American Pain Foundation used sophisticated efforts in securing media coverage and engaging in
 government lobbying.298 Its 2010 annual report included an overview of its “educational activities” and
 political lobbying, and its engagement in media interviews, as well as efforts to secure favorable media


 290
     ABDCMDL00269293; ABDCMDL00269301
 291
     Id.
 292
     ABDCMDL03829334
 293
     ABDCMDL03830243
 294
     Id.
 295
     CAH_MDL2804_00112004
 296
     ABDCMDL00375084
 297
     ABDCMDL00264245
 298
     ENDO-OPIOID_MDL-00394248

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 coverage.299 The APF’s communication to its members300 details the unbalanced and unfair media
 coverage perpetuating misinformation about prescription pain meds and encourages members to take
 action by insisting these news outlets act responsibly and demand balanced reporting (specific ideas are
 listed in the email).301

 Moreover, the American Pain Foundation used the same communications and advocacy firm as the
 HDA, Dezenhall, to secure favorable media coverage by training spokespeople to speak to the media and
 preparing advocates for testimony before Congress.302 Dezenhall highlights its success in cultivating
 favorable media influence for its prior work, including:303

        •   its preparation of a “virtual textbook” made free to medical schools across the U.S. for the
            American Academy of Pain Medicine.
        •   a booth on behalf of the National Pain Foundation at a national conference for pain physicians
            where each could record a 30-second public service announcement (PSA) about the plight of
            pain patients and the need for appropriate pain therapy; Dezenhall then taught physicians how
            to approach local radio stations to get these PSAs aired.
        •   its work with Purdue Pharma’s Law Enforcement Liaison and Education (LELE division) to secure
            media coverage in critical markets with over 5.6 million readers/viewers reached.

 As with its work for the HDA, Dezenhall performed tasks for the APF including media list development,
 advocate identification, development of pitches to media, follow-up calls, and media monitoring for 25
 markets.304

 Its work accomplished the objective of influencing media coverage to be favorable to the use of opioids.
 Dezenhall documents “success in fighting negative coverage” from July 2001 through 2006, with a list of
 about 15 articles that they influenced.305 In addition, an article in the Dallas Morning News featured pain
 advocate Fran Di Giacomo, part of Dezenhall’s media campaign to support APF’s HR 1020 legislation.306
 In addition to the article mentioned, 12 companion articles ran in the feature on pain management, and
 the reporter included a link to the APF website in the stories as well as information on HR 1020.307

 Dezenhall also coordinated events such as a Washington state event for the Washington Pain Forum.
 The press release for the event noted that “Physicians are experiencing pressures that drive them to
 under-treat pain and are driving them away from people with pain.”308

 In its attempts to cultivate favorable media coverage, the American Pain Foundation also prepared a
 thorough Reporter’s Guide: “Covering Pain and its Management,” to provide a “useful resource for busy
 reporters, provide information to editors and producers covering pain stories.”309 The Guide includes

 299
     ENDO-OPIOID_MDL-01623042
 300
     ENDO-OPIOID_MDL-02217039
 301
     Id.
 302
     CHI_000272862
 303
     Id.
 304
     Id.
 305
     PPLPC029000177585
 306
     PPLPC031000385886
 307
     Id.
 308
     PKY183402315
 309
       JAN-MS-04241287

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 using the APF to connect reporters to experts for interviews; provides pain statistics and facts; includes
 “Special Topic Briefs” on pain in specific populations, chronic pain and opioid therapy; and provides a
 glossary of common pain terms and syndromes. The basic goal is to convey the message that pain is
 undertreated due to misconceptions about opioid addictions and physician fears of scrutiny.

 Each of these efforts by the APF shows a sophisticated approach to elevating the opioid market to the
 benefit of all supply chain participants. Given the HDA’s support of the APF, the Distributors are
 implicated in these activities.

 Recall from Section III, Basic Duties of Marketers, industry trade associations “that appear independent
 but are actually funded and influenced by companies with a vested interest”310 are violations of the
 Code of Ethics for Public Relations professionals. Moreover, recruiting individuals to participate in media
 campaigns that are conveyed as grass roots (authentic) is also improper.311

 D.       Financial Rewards from the Integrated Efforts of Distributors’ Marketing for Opioids312

 Both the opioid manufacturers and the Distributors benefited financially from the coordinated approach
 to marketing opioids. Recall from Section IV that a key benefit of an integrated supply chain is increased
 demand and thus increased sales and profitability.

       1. Distributors’ Marketing Activities Generated ROI for Opioid Manufacturers313

 The marketing activities that the Distributors performed for the opioid manufacturers were highly
 effective. The Distributors provided solid evidence of the return-on-investment (ROI) of their marketing
 services provided to the manufacturers, showing that their efforts increased demand for opioids.

 McKesson’s RelayHealth Program showed results that included: 173% NRx (new prescription) lift for
 newly launched products; a 27% improvement in patient adherence; 90% sustained lift after 12 months;
 for an ROI of 4:1. These results lead McKesson to claim this program offers manufacturers a “flexible,
 efficient engine to maximize investment in core marketing tactics.”314

 A similar program using McKesson’s evouchers (electronic savings cards) and paying pharmacists for
 participation documented that a majority of patients who received the evoucher switched from a
 competitor’s product. Those patients who received the evoucher were “top performers” over a control
 group of patients (who didn’t receive the offer). The program also increased the number of New to
 Oxycontin patients who filled a second script sooner (39% for program vs. 26% for a control group of
 customers who didn’t receive the offer), leading to an estimated ROI = 15%. Finally, the data provided
 also show a change in physician prescribing behavior leading to a halo effect of .8% in sales lift.315




 310
     https://www.prsa.org/about/ethics/prsa-code-of-ethics
 311
     Id.
 312
     See Schedule 5.D
 313
     Evidence for this section can be found in Schedule 5 D (1).
 314
     PPLPC030000564197
 315
     PPLPC025000149099

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 McKesson’s documented evidence for its RelayHealth Pharmacy Solutions for Actavis/Allergan showed a
 demonstrated 2.4x enhancement in patient affordability on prescriptions and a 137% ROI on its
 “eVoucherRx” coupons for co-pay assistance.316

 The Distributors had the data to prove that their marketing services increased demand and benefited all
 parties in the integrated supply chain.

 2. Distributors Benefited from Sales Lift from their Marketing Services.317

 The compensation the manufacturers paid to the Distributors for these marketing services (e.g., beyond
 the mark-up Distributors made for distributing products to pharmacists) included both fee-for-service
 arrangements as well as bonuses based on sales lift attributed to the marketing the Distributors
 performed on behalf of the manufacturers. For the Distributors to claim that they were not
 compensated for sales lift is false.

 Recall from Section IV that channel alignment is optimized when manufacturer’s use compensation to
 align the Distributors’ interests with its own. In this case, the pharmaceutical manufacturers ensured the
 Distributors were incentivized financially to grow sales over time.

 Mallinckrodt paid McKesson a             marketing allowance for its Onestop Generics Program “if
 McKesson awards a primary position to its morphine products,” and it also specified an additional
 volume rebate: from April 1, 2007 through March 31, 2008 “McKesson will be eligible for various volume
 rebate percentages” ranging from a low of 11% if McKesson’s yearly dollar volume is           to a high
 of 20% if McKesson’s yearly volume is greater than $80MM.318

 Similarly, Mallinckrodt offered McKesson a one-time Marketing Allowance of              if McKesson
 awards Fentanyl Lozenge products a primary position and submits an order totaling              , and
 McKesson will also be eligible for the 20% volume rebate dated June 2, 2008.319

 In its request to McKesson to promote Actavis as the alternate vendor for the fentanyl patch to
 participating members of McKesson OneStop Generic Source Program (from April 1, 2009 through
 March 31, 2010) with discount pricing, Actavis’ contract stated the profits from the promotion would be
 “split between the two parties 50/50 through Nov. 1, then McKesson gets 30% thereafter.”320

 Mallinckrodt’s Covidien Specialty Generics group offered ABC “payout” (rebate) tiers on Fentanyl and
 encouraged them to bump Fentanyl to a primary position in order to lock in a higher rebate value to 18-
 20%! Movements that “could pay off in a big way for ABC.”321




 316
     MCKMDL00724422
 317
     See Schedule 5 D.2.
 318
     MNK-T1_0006684264
 319
     MNK-T1_0000416504
 320
     Acquired_Actavis_00669723
 321
     MAL-MI 000240890 / MNK-T1_0000499742

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 Mallinckrodt’s contract with Amerisource Bergen for its PrxO Generics agreement was amended to
 change the rebate percentage; the new percentages would range from a low of a 13% rebate for $80-
 90M in volume, and a high of 18% for $150M or more.322

 Mallinckrodt compensated ABC’s Global Services (GmbH) marketing group both with a fee for service,
 plus an “enhanced marketing fee” where the manufacturer shall pay ABC .25% of the contract price
 based on incremental sales for each Fentanyl product using a three-month average of sales from March,
 April, May 2016 as the base compared to the promotional period of August 1-30, 2016.323 This enhanced
 marketing fee was also offered on its December 16, 2016 contract, for incremental sales for each
 Fentanyl product using the three-month average sales from Sept, Oct, Nov 2016 as the base compared
 to the promotional period of January 1-March 31, 2017.324



 VII.    CONCLUSION
 In conclusion, the Distributors worked in an integrated, closely aligned supply chain to sell prescription
 opioids. Based on their central role in connecting the opioid manufacturers to pharmacists, healthcare
 providers, and other downstream entities, the Distributors took an active part in growing the demand
 for prescription opioids through the various marketing techniques they provided to the opioid
 manufacturers. Distributors were financially incentivized and worked with opioid manufacturers to
 expand the market for opioids and sell more opioid drugs. The techniques the Distributors used are
 highly sophisticated in their reliance on data and technology to grow demand and to track the
 effectiveness of their marketing efforts.




 322
     MAL-MI 000241028 / MNK-T1_0000499880
 323
     ABC-MSAGC00002141; ABDCMDL00002141
 324
     ABDC-JNAG00000372; ABDCMDL00002632

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 Pursuant to 28 U.S.C. S 1746, I declare under penalty of perjury that the foregoing is true and correct.

 Executed on August 1, 2020.




 ___________________________________
 Jakki J. Mohr, Ph.D




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                                           SCHEDULES

 Schedule 1. Jakki Mohr CV (Including publications)

 Schedule 2. Materials Considered

 Schedule 3. American Marketing Association Statement of Ethics

 Schedule 4. Public Relations Society of America Code of Ethics

 Schedule 5. Specific Evidence Forming the Basis for Opinions

 Schedule 6. Excerpts from the Controlled Substance Abuse Act




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 Schedule 1. CV Jakki J. Mohr, Ph.D.
 Regents Professor of Marketing and Poe Distinguished Faculty Fellow
 University of Montana | College of Business | 32 Campus Drive| Missoula, MT, 59812
 406-243-2920 (o) | 406-544-5837 (c) | jakki.mohr@business.umt.edu


 EDUCATION
 Ph.D.     University of Wisconsin-Madison
           Marketing (Emphasis in Organizational Sociology)

 M.S.           Colorado State University, Fort Collins, Colorado
                Marketing

 B.B.A.         Boise State University, Boise, Idaho


 ACADEMIC EMPLOYMENT

 2008-present            Regents Professor of Marketing
                         Fellow, Institute on Ecosystems (2011 – present)

 2002 to present         Professor of Marketing, University of Montana-Missoula

 1997- 2002              Associate Professor of Marketing
                         University of Montana-Missoula

 Spring 2001             Visiting Associate Professor of Marketing
                         J.D. Edwards Honors Program in Computer Science and
 Management
                         University of Nebraska-Lincoln

 1989 - 1997             Assistant Professor of Marketing
                         University of Colorado-Boulder


 TEACHING
 Big Data & Innovation (graduate); Class blog at www.umontanaMSBA.com
 Capstone graduate projects for the Master’s of Science in Business Analytics program
 Marketing of High-Technology Products and Innovations (both graduate and
 undergraduate)
 Principles of Marketing (undergraduate)
 Branding Strategies for a Digital Age (Fall 2018; graduate)
 “Pursue your Passions” (1 credit/women’s entrepreneurship; Fall 2015)
 Overview of Marketing (1 credit, sophomore level course)
 Channels of Distribution (2001).




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 AWARDS

 November 2018 Received an Erskine Fellowship at University of Canterbury,
      Christchurch, New Zealand (Nov 1-30, 2018), to conduct an executive education
      seminar on data analytics & innovation, and workshops on commercializing
      innovation. https://www.canterbury.ac.nz/media/documents/erskine/Jakki-
      Mohr.pdf

 August 2018 Montana Educator of the Year award, presented by Montana
      Ambassadors

 2017-present Poe Family Distinguished Faculty Fellow, College of Business, Univ. of
       Montana

 2012-2016 Gallagher Distinguished Faculty Fellow, School of Business, Univ. of
       Montana

 April 2011 John Ruffatto Memorial Award given to “UM faculty who impart practical,
        applicable principles into their classroom presentation to solidify the
        interdependent relationship between local businesses and The University of
        Montana.”

 November 2010 Fulbright Specialists Award to ORT University, Montevideo,
      Uruguay.
      In addition to teaching an MBA course (see other teaching below) at ORT, my
      two-week visit included consultations with the regional technology incubator,
      “Ingenio,” as well as consultations with business leaders and the Uruguayan
      Chamber of Commerce for Information Technology businesses. I have returned
      annually since then (except Fall 2013)

 December 2008 Named “Regents Professor” University of Montana, one of seven UM
      faculty to receive this “rare honor among higher-education teachers in the
      state,” awarded for true excellence in all three areas of instruction, scholarship,
      and service.”

 2008--2012 Jeff and Martha Hamilton Distinguished Faculty Fellow, School of
       Business

 2005-2007 Ron & Judy Paige Faculty Fellow, School of Business, University of
       Montana

 Teaching Awards

 2019/2020 Outstanding Faculty Teaching Award in the Master’s of Science in
      Business Analytics program (voted by graduating students)

 2019/2020, 2016/2017, 2013/2014, 2011/2012 and 2009/2010 Outstanding
      Faculty Teaching Award in Marketing (voted by the graduating seniors)

 2008 Academy of Marketing Science Outstanding Marketing Teacher Award

 2007 Award for Innovative Excellence in Teaching, Learning, and Technology, given by
       the Center for the Advancement of Teaching and Learning at the International
       Conference on College Teaching and Learning, Jacksonville, Florida.
 J. Mohr Expert Report                                                            70 | P a g e
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 2005 Montana Professor of the Year; given in Washington DC by the Council for the
      Advancement and Support of Teaching (CASE) and the Carnegie Foundation,
      for outstanding undergraduate teaching.

 Recognized by MBA students for outstanding teaching, May 2004

 Most Inspirational Teacher of the University of Montana, voted by the Class of 2001,
       $1000 Award given by the Silent Sentinel, a senior honorary society.

 Professor of the Month, Mortar Board National Honor Society, January 2001

 Outstanding MBA Professor of the Year, 1999-2000.

 Frascona Teaching Excellence Award, School of Business, University of Colorado-
 Boulder 1992

 Faculty Associate: President's Teaching Scholars Program 1991-1992

 Research Awards

 College of Business Outstanding Researcher of the Year Award (May 2018; for the
        three-year period 2015-2017)

 University of Montana’s Distinguished Scholar of the Year Award, April 2004.

 Recipient (2003) of the Louis W. Stern Award, given for the outstanding article
        published in any AMA journal in the area of marketing channels and
        distribution between three and eight calendar years (1995-2000) after
        publication (Mohr, Fisher, and Nevin 1996, see list of publications below)

 Recipient, Susan Wright Award (given by the College of Business, University of
        Colorado) for disseminating research results to the wider business community,
        1995

 Recipient, Marketing Science Institute, Alden G. Clayton Doctoral Dissertation
        Proposal Competition Winner, 1989

 All-University Fellowship, University of Wisconsin-Madison, 1988-1989

 National Appointments

 2012-2015 Served on National Academies of Science Committee on Overcoming
       Social and Infrastructure Barriers to Deployment of Electric Vehicles,
       Washington DC.

 International Invitations

 2020 Invited plenary speaker at the International Union for the Conservation of
      Nature (IUCN) World Congress, to be held in Marseilles, France, June 11-18
      (postponed to 2021 due to COVID-19)




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 2018 Invited keynote/plenary speaker at the Society of Ecological
      Restoration/Australia/Asia (Striving for Restoration Excellence), September
      25-28, 2018, Brisbane, Australia
      Title: Innovation in Ecological Restoration: Individual, Company, and Project
      Factors

 2017 Invited as keynote/plenary speaker at the VII World Conference on
      Ecological Restoration (Linking Science & Practice for a Better World) by the
      Society of Ecological Restoration (Foz D’Iguassu, Brazil) August 27-September
      1,
      Title: “Innovation in Restoration: Barriers and Opportunities”

 2015 One of 30 people from around the globe invited to participate in a one-day
      Energy Transportation Roundtable at KAPSARC (King Abdullah’s
      Petroleum Studies and Research Center—a think tank), November 9, 2015,
      Riyadh, Saudi Arabia.
      See conference working paper at: KAPSARC 2016, Drivers of Transportation
      Fuel Demand: Is Policy Expanding the Reach of Alternative and Fuel Efficient
      Vehicles? Paper #KS-1628-WB027A: https://www.kapsarc.org/wp-
      content/uploads/2016/05/KS-1628-WB027A-Drivers-of-Transportation-Fuel-
      Demand-Is-Policy-Expanding-the-Reach-of-Alternative-and-Fuel-Efficient-
      Vehicles.pdf

 Other Awards and Recognitions

 2020 – Davidson Honor’s College Awards for mentorship to scholars.

 2009 Charter Day - George M. Dennison Presidential Faculty Award for Distinguished
       Accomplishment

 Recipient, outstanding faculty support to Division of Student Affairs, University of
        Montana, 2008.

 2003 Faculty Fellow, Pacific Coast Banking School, Graduate School of Business,
      University of Washington

 Named “Outstanding Review of the Year, Journal of the Academy of Marketing Science,
      2006
      Editor: Dave Stewart

 Named “Outstanding Reviewer” by the Journal of the Academy of Marketing Science, for
      the period 2003-2005. Editor: George Zinkhan


 EXECUTIVE EDUCATION

 IEDC/Bled School of Management, Slovenia (May 2019). Delivered a two-day module
      on Strategic Marketing of Disruptive Innovation in the “Digital Transformation”
      Executive Program; also delivered a one-day module on Data Analytics &
      Innovation.

 University of Canterbury, Christchurch, New Zealand (November 2018): Provided a
       six-hour training to 25 executives on Data Analytics & Innovation.

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 University of Montana/iLEAD Center: Provided a six-hour training to 25 executives in
       the Breakthrough Leadership Program through on Customer-Focused
       Innovation (including a focus on data-driven innovation); September 22, 2017.

 Montana Photonics Industry Alliance (Bozeman, Montana): Provided a one-day
      training workshop on strategic marketing to approximately 15 companies/30
      managers, June 5, 2015.

 Innovation Initiative by Software Industry Association (GECHS) in Santiago, Chile
          (“Chilicon Valley”). Worked with 5 companies selected by the government
          (each with 5 key managers) to develop a marketing blueprint for their
          companies (October 2011).

 Universidad Alberto Hurtado, Santiago, Chile. Presented a 2 ½ -day executive
          education program on Marketing of High-Technology Products to 20 mid-
          senior level executives of B2B industrial technology firms (May 2010).

 Scuole Superiore Sant’ Anna (Pisa, Italy) and SIAF (International School for
       Advanced Education, Volterra, Italy); Presented a 4-day seminar on the
       Marketing of High-Technology Products and Innovations; companies
       represented in the audience ranged in size from single-person start-ups, to
       mid-size (n-80-120 employees) companies in business for 5-20 years; to
       large, established corporations (e.g., Fiat Car Company). May 2009, May
       2006 and May 2004

 Communitech (Technology Industry Trade Association in Waterloo, Ontario- outside of
     Toronto); presented a 4-hour workshop to roughly 85 technology industry
     professionals on Marketing of High-Technology Products and Innovations 2009

 A.P. Moller/APM Terminals; Conducted a 3-day training (at UM) on strategic
       marketing for roughly 11 top executives (translated into Chinese and 25 mid-
       level managers (in English) from Shanghai, China 2007

 Fujitsu, LTD. (Global Business Group, Tokyo); Conducted a 3-day training on strategic
        marketing for high-technology companies for 15 sales and marketing managers
        at the Fujitsu-owned Japan-American Institute for Management Science
        (JAIMS) in Honolulu, Hawaii. Results of this program presented to top
        management in Tokyo to generate ideas to grow global business revenues. 2006

 University of Colorado-Boulder; Taught a 2-day course in the Technology
          Leadership Program, Executive Education Programs, Leeds School of
          Business, University of Colorado-Boulder. Participants consisted of mid-
          senior-level executives from local high-tech companies. January 2006
          and January 2005

 Level 3 Corporation (Broomfield, Colorado); Conducted a series of 3-day training
        session for 30 product management/marketing teams on segmentation,
        targeting, and positioning. Also, conducted company-wide training on the
        initiative, and conducted an executive briefing. 2004

 Otaniemi Science Park, Espoo, Finland

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        Gave a series of lectures to 100 start-up companies participating in Finland’s
        Techno-incubator project. 2000


 OTHER (Adjunct) TEACHING OPPORTUNITIES

 University of Otago/Dunedin, New Zealand: Graduate Seminar on Strategic
       Brand Management for a Digital Age (September 2018)

 Claremont Graduate University, Drucker School of Management, 2005-2017,
       Teach one-week intensive MBA/Executive MBA course on High-Technology
       Marketing; 15-35 students/year

 ORT University, Montevideo, Uruguay, 2010-2018.
      Teach one-week intensive graduate level seminar on Marketing of High-
      Technology Products, 20 engineers in the Master’s of Management of
      Technology Program/year

 University of Bern, Switzerland (Institute of Innovation Management):
       - one-week MBA course on Marketing of High-Technology Products 2015,
          2011
       - two-week undergraduate course on high-technology marketing to 200
          students 2004/2005.

 Stockholm University, 2012 (January)
       one-week MBA course on Marketing of High-Technology Products

 Ecole d’Management, Grenoble, France 2007 One-week graduate course (High-
          Technology Marketing) in the Master’s of Technology Management
          Program

 Indian School of Business, Hyderabad, India – 2006 - Team-taught 2 weeks (of a
          5-week course) on High-Technology Marketing (with S. Sengupta) to 100
          students in the Post-Graduate Program


 BOOKS PUBLISHED
 Mohr, Jakki, Sanjit Sengupta, Stanley Slater (2010), Marketing of High-Technology
       Products and Innovations, 3rd edition, Upper Saddle River, NH: Prentice-Hall
       Business Publishing (released February 2009); includes a US edition, an
       international edition, and Korean and Chinese language translations. Includes
       an Instructor’s Manual and companion Website www.markethightech.net that
       we also developed.

 Mohr, Jakki, Sanjit Sengupta, Stanley Slater (2005), Marketing of High-Technology
       Products and Innovations, 2nd edition, Upper Saddle River, NH: Prentice-Hall
       Business Publishing.
       Appears under four different ISBNs: a U.S. edition, a European edition, an
       edition for India, and a Chinese translation; and a Portuguese adaptation for
       Brazil.


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        Included an author-written Instructor’s Manual and companion Website
        (www.markethightech.net).

 Mohr, Jakki (2001), Marketing of High-Technology Products and Innovations, Upper
       Saddle River, NH: Prentice-Hall Business Publishing.
       Translated into Chinese.
       Also wrote the accompanying Instructor’s Manual, and developed the
       companion Website, www.markethightech.net


 JOURNAL ARTICLES

 Castka, Pavel, Cory Searcy, and Jakki Mohr (forthcoming), “Technology-Enhanced
       Auditing: Improving Veracity and Timeliness for Social and Environmental
       Supply Chain Performance,” Journal of Cleaner Production (June 2020),
        10.1016/j.jclepro.2020.120773.

 Martin F. Breed, Peter A. Harrison, Colette Blyth, Margaret Byrne, Virginie Gaget,
       Nicholas J. C. Gellie, Scott V. C. Groom, Riley Hodgson, Jacob G. Mills, Thomas
       A. A. Prowse, Dorothy A. Steane and Jakki J. Mohr (2019), “The potential of
       genomics for restoring ecosystems and biodiversity,” Nature Reviews Genetics,
       20(10), pp.615-628.

 Mohr, Jakki and Elizabeth Covelli Metcalf (2018), “The Business Perspective in
       Ecological Restoration: Issues and Challenges”, Restoration Ecology, 26 (2), 381-
       390.

 Lauer, Frederick, Alex Metcalf, Elizabeth Covelli Metcalf, and Jakki Mohr (2018),
       “Public engagement in social-ecological systems management: An application of
       social justice theory,” Society & Natural Resources, Vol. 31 (1): pp. 4-20.
       * Awarded Rabel J. Burdge and Donald R. Field Outstanding Article Award for
       2018.

 Nordin, Fredrik, Annika Ravald, Kristian Moller, and Jakki Mohr (2018), “Network
       management in emergent high-tech business contexts: Critical capabilities and
       activities,” Industrial Marketing Management, 74 (2018): 89-101.
       https://doi.org/10.1016/j.indmarman.2017.09.024

 Trent, Lindsey and Jakki Mohr (2017), “Marketers’ Valuation Approaches to Brand
        Equity: Insights for Accountants,” The CPA Journal, (July), pp. 58-61.

 Elizabeth Metcalf, Jakki Mohr, Laurie Yung, Peter Metcalf, and Dave Craig (2015),
        “The Role of Trust in Restoration Success: Public Engagement and Temporal
        and Spatial Scale in a Complex Social-Ecological System,” Restoration Ecology,
        23 (3), 315-324.

 Slater, Stanley, Jakki Mohr, and Sanjit Sengupta (2014), “Radical Product Innovation
        Capability: Literature Review, Synthesis, and Illustrative Research
        Propositions,” Journal of Product Innovation Management, 31 (3): 552-566.

 Mohr, Jakki, Sanjit Sengupta, and Stanley Slater (2012), “Serving Base-of-the-Pyramid
       Markets: Matching Organizational Approaches to Underlying Conditions,”
       Journal of Business Strategy, 33 (6), pp. 4-14.

 J. Mohr Expert Report                                                           75 | P a g e
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 Mohr, Jakki, Sanjit Sengupta, and Stanley Slater (2011), “Mapping the Outsourcing
       Landscape;” Journal of Business Strategy, 32 (1), pp. 42-50.

 Slater, Stanley, Jakki Mohr, and Sanjit Sengupta (2009), “Know Your Customers,”
        Marketing Management, 18 (January/February), pp. 36-44.

 Mohr, Jakki and Shikhar Sarin (2009), “Drucker’s Insights on Market Orientation and
       Innovation: Implications for Emerging Areas in High-Technology Marketing,”
       Journal of the Academy of Marketing Science, 37 (Spring), pp. 85-96.

 Arnould, Eric, and Jakki Mohr (2005), “Dynamic Transformation of An Indigenous
       Market Cluster,” Journal of the Academy of Marketing Science, 33 (Summer), pp.
       254-274.
       * Selected as one of the top 50 articles by a panel of independent reviewers, out
       of 15,000 papers published in journals by Emerald Publishing.

 Jap, Sandy and Jakki Mohr (2002), “Leveraging Internet Technologies in B2B
       Relationships” California Management Review, 44 (Summer), pp. 24-38.

 Mohr, Jakki and Sanjit Sengupta (2002), "Managing the Paradox of Inter-firm
       Learning: The Role of Governance Mechanisms," Journal of Business and
       Industrial Marketing, 17 (special issue), pp. 282-301.
       * Awarded Best Paper of the Year.

 Low, George and Jakki Mohr (2001), "Factors Affecting the Use of Information in the
       Evaluation of Marketing Communications Productivity," Journal of the Academy
       of Marketing Science, 29 (Winter), pp. 70-88.

 Mohr, Jakki (2000), “The Marketing of Technology and Innovation: Definition,
       Curriculum Implications, and Coverage," Journal of Marketing Education, 22
       (December), pp. 246-271.

 Low, George and Jakki Mohr (2000), “The Advertising vs. Sales Promotion Budget
       Allocation Decision: A Bounded Rationality Perspective," Journal of Product and
       Brand Management Vol. 9, (#6 and #7), pp. 389-414.
       * Awarded Best Paper of the Year.
       * Identified as one of the top 50 most downloaded articles in 2005.

 Mohr, Jakki, Robert Fisher, and John R. Nevin (1999), "Using Collaborative
       Communication to Manage Dealer Relationships," Marketing Management, 8
       (Summer), pp. 39-45.

 Low, George, and Jakki Mohr (1999), "Setting Advertising and Sales Promotion
       Budgets in Multi-Brand Companies," Journal of Advertising Research, 39
       (January/February), 67-78.

 Mohr, Jakki (1996), "The Management and Control of Information in High-Technology
       Firms," Journal of High-Technology Management Research, 7 (Fall), 245-268.



 J. Mohr Expert Report                                                           76 | P a g e
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 Mohr, Jakki, Robert Fisher, and John Nevin (1996), “Integration and Control in
       Interfirm Relationships: The Moderating Role of Collaborative Communication,"
       Journal of Marketing, 60 (July), 103-115.

        * Recipient (2003) of the Louis W. Stern Award, given for the outstanding article
        published in any AMA journal in the area of marketing channels and
        distribution between three and eight calendar years (1995-2000) after
        publication

 Mohr, Jakki and Robert Spekman (1996), "Perfecting Partnerships," Marketing
       Management, 4 (Winter/Spring), pp. 34-43.

 Mohr, Jakki and Ravipreet Sohi (1995), "Communication Flows in Distribution
       Channels: Impact on Assessments of Communication Quality and Satisfaction,"
       Journal of Retailing, 71 (Winter), 393-417.

 Mohr, Jakki, Gregory T. Gundlach, and Robert Spekman (1994), “Legal Ramifications
       of Strategic Alliances,” Marketing Management, Vol. 3 (2), 38-46.

 Mohr, Jakki and Robert Spekman (1994), "Characteristics of Partnership Success:
       Partnership Attributes, Communication Behavior, and Conflict Resolution
       Techniques," Strategic Management Journal, 15 (February), 135-152.

 Mohr, Jakki and George Low (1993), "Breaking the Catch-22 of Trade Promotions,"
       Marketing Management, 2 (2), 30-39.

 Gundlach, Greg and Jakki Mohr (1992), "Collaborative Relationships: Legal Limits and
      Antitrust Considerations," Journal of Public Policy and Marketing, 11
      (November), 101-14.
      (Also presented at the 1992 Public Policy and Marketing conference in
      Washington D.C.)

 Mohr, Jakki and John R. Nevin (1990), "Communication Strategies in Marketing
       Channels: A Theoretical Perspective," Journal of Marketing, 54 (October), 36-51.

 Invited Articles:
 Jakki J. Mohr, Linda L. Price, and Aric Rindfleisch (2016), “Marketing’s Quest for
       Environmental Sustainability: Persistent Challenges and New Perspectives,”
       Review of Marketing Research: Marketing in and for a Sustainable Society, N.
       Malhotra, Ed; Volume 13 (pp. 29-59), Bingley, United Kingdom: Emerald Group
       Publishing Limited.

 Mohr, Jakki (2007), “Educators Who Have Made a Difference for Their Students:
       Observations and Reflections of Three Nationally Recognized Marketing
       Professors,” Journal of Marketing Education, 29 (April), pp. 85-90.

 Slater, Stanley and Jakki Mohr (2006), “Successful Development and
        Commercialization of Technological Innovation: Insights Based on Strategy
        Type,” Journal of Product and Innovation Management, 23 (January), invited
        dialogue on the effects of disruptive technology on firms and industries, pp. 26-
        33.

 Guest Editing:

 J. Mohr Expert Report                                                            77 | P a g e
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 Sarin, Shikhar and Jakki Mohr (2008), “An Introduction To the Special Issue on
        Marketing of High-Technology Products, Services, and Innovations,” special
        issue of the Industrial Marketing Management, 37 (August), pp. 626-628.
        Special issue included three competitive papers and two invited commentaries,
        with guidance given to authors from initial submission and multiple rounds of
        review, through final publication.

 Mohr, Jakki and Nader Shooshtari (2003), “Introduction to the Special Issue:
       Marketing of High-Technology Products and Innovations,” special issue of the
       Journal of Marketing Theory and Practice, 11 (Summer), pp. 1-11.
       Special Issue included six papers, with guidance given to authors from initial
       submission and multiple rounds of the review process, through final
       publication.

 Refereed Book Chapters:

 Mohr, Jakki J. (2019), "A Marketing Perspective on Innovation: For Disciplinary
       Perspectives on Innovation", Foundations and Trends® in Entrepreneurship: Vol.
       15: No. 3-4, pp 431-479. http://dx.doi.org/10.1561/0300000085-4

 Metcalf, Elizabeth Covelli, Alexander L. Metcalf and Jakki J. Mohr (2017), “Building
       Social Capacity for Restoration Success,” Routledge Handbook of Ecological and
       Environmental Restoration, Stuart K. Allison and Stephen D. Murphy (eds), pp.
       428-441.

 Mohr, Jakki Sanjit Sengupta, and Stanley Slater (2012), “Toward a Theory of
       Technology Marketing: Review and Suggestions for Future Research,” invited
       chapter for ISBM’s Handbook of B2B Marketing, G. Lilien and R. Grewal (eds.),
       Northampton, MA: Edward Elgar Publishing, pp. 563-581.

 Slater, Stanley, Jakki Mohr and Sanjit Sengupta (2010), “Market Orientation,” Wiley
        International Encyclopedia of Marketing, J. Sheth and N. Malhotra (eds.). DOI:
        10.1002/9781444316568.wiem01031

 Mohr, Jakki, Stanley Slater, and Sanjit Sengupta (2009), “Technology Marketing,” The
       Handbook of Technology Management (Volume II, Supply Chain Management,
       Marketing and Advertising, and Global Management), pp. 421-434, John Wiley
       and Sons.

 Ferrini, Anthony, and Jakki Mohr (2009), “Uses, limitations, and trends in Web
        analytics, “ in B. J. Jansen, A. Spink & I. Taksa (Eds.), Handbook of Research
        on Web Log Analysis (pp. 124-142). Hershey, PA: IGI.

 Sengupta, Sanjit, Jakki Mohr, and Stanley Slater (2006), “Strategic Opportunities at
      the Intersection of Globalization, Technology and Lifestyles,” Handbook of
      Business Strategy, P. Coate (editor), pp. 43-50, Bradford, United Kingdom,
      Emerald Group Publishing.

 Mohr, Jakki, Stanley Slater, and Sanjit Sengupta (2006), “Foundations for Successful
       High-Technology Marketing,” in Managing Technology and Innovation: An
       Introduction, R. Verburg, R. J. Ortt, and W. M. Dicke (editors), pp. 84-105,
       London: Routledge Publishing.

 Edited Proceedings:
 J. Mohr Expert Report                                                            78 | P a g e
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 Mohr, Jakki and Robert Fisher (2007), “Enhancing Knowledge Development in
       Marketing,” American Marketing Association Summer Educators’ Proceedings,
       Volume 18, Chicago, IL: American Marketing Association.

 Other:

 Overcoming Barriers to Deployment of Plug-in Electric Vehicles (2015), National
       Academies Press, ISBN 978-0-309-37217-6, Committee on Overcoming Barriers
       to Electric-Vehicle Deployment; Board on Energy and Environmental Systems;
       Division on Engineering and Physical Sciences; Transportation Research Board;
       National Research Council http://www.nap.edu/catalog.php?record_id=21725
       (I was major author of Chapter 3)

 Committee on Overcoming Barriers to Electric-Vehicle Deployment/National Research
     Council (2013), "Overcoming Barriers to Electric-Vehicle Deployment (Interim
     Report)", Washington, DC: National Academies Press, Washington, DC, 2013).
     ISBN: 978-0-309-28448-6


 REFEREED CONFERENCE PAPERS:

 Nordin, Fredrik, Annika Ravald, and Jakki Mohr (2015), “Capabilities for Managing
       Business Networks in High-Technology Contexts,” IMP conference (Industrial
       Marketing and Purchasing B-to-B conference), Denmark, August 25-27, 2015.

 Sengupta, Sanjit, Stanley Slater, and Jakki Mohr (2015), “An Exploratory Study of
      Antecedents and Consequences of Radical Product Innovation Capability," 2015
      Winter American Marketing Association Conference, February, 2015.

 Mohr, Jakki, Ruth Pogacar, and Emily Plant (2013), “Establishing Knowledge of
       Careers in Marketing at the Lower Division: A Strategy to Set Expectations and
       Influence Motivations for Choosing Marketing as a Major,” in Proceedings of the
       Marketing Educators’ Association, eds. Deborah Brown McCabe and Gregory S.
       Black, Marketing Educators’ Association, 173-180.

 Slater, Stanley, Jakki Mohr, and Sanjit Sengupta (2010), “Radical Product Innovation
        Capability,” Global Marketing Conference in Tokyo.

 Sengupta, Sanjit, Jakki Mohr, and Stanley Slater (2005), "Some Technology Marketing
      Challenges for the 21st Century," International Conference On Innovation:
      Engineering Meets Marketing, Indian Institute of Technology, Madras (Chennai),
      December 21-23, 2005.

 Terri Albert, Charles L Colby, Jakki J Mohr, Margery Steinberg (2002), “Emerging
        technologies for urban consumers: Critical issues and research direction,”
        Proceedings, American Marketing Association, 13, 80.

 Mohr, Jakki (2000), “Courses on the Marketing of Technology and Innovation,” J.
       Workman and William Perreault, (eds.), Winter American Marketing Association
       Educators' Conference Proceedings, pp. 166-172, Chicago: American Marketing
       Association.



 J. Mohr Expert Report                                                           79 | P a g e
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 Shooshtari, Nader and Jakki Mohr (1999), "Trade Associations as a Source of Power:
      Effects of Supplier Size," J. Chapman (ed.), Proceedings, Association of
      Marketing Theory and Practice Conference, Ball State University, pp. 412-418.
              * Won "Best Paper of Track" Award

 Low, George and Jakki Mohr (1998), "Brand Manager's Perceptions of Marketing
       Communications Budget Allocations: Synergistic and Differential Effects on
       Outcomes," D. Grewal and C. Pechmann (eds.), Winter American Marketing
       Association Educators' Conference Proceedings, pp. 38-39, Chicago: American
       Marketing Association.

 Story, John and Jakki Mohr (1997), “Learning from Partners in Inter-Firm
        Relationships,” in D. LeClair and M. Hartline (eds.), Winter American Marketing
        Association Educators’ Conference Proceedings, pp. 317-323, Chicago: American
        Marketing Association.

 Low, George, and Jakki Mohr (1996), "The Effects of Organizational and Managerial
       Characteristics on Marketing Communications Budget Allocations," in E. Blair
       and W. Kamakura (eds.), Winter American Marketing Association Educators'
       Conference Proceedings, pp. 65-66, Chicago: American Marketing Association.
       (abstract only).
       * Won "Best Paper of the Marketing Communications Track" Award.

 Page, Christine and Jakki Mohr (1995), “Individual and Institutional Productivity in
        Marketing: Publishing in the Top Three Marketing Journals 1989-1993,” in D.
        Stewart and N. Vilcassim (eds.), Winter AMA Educators’ Proceedings, pp. 417-
        424, Chicago, IL: American Marketing Association.

 Weiss, John and Jakki Mohr (1992), "Communication Style: A Psychometric
       Assessment," in R. Leone and V. Kumar (eds.), AMA Educators' Proceedings, pp.
       211-21, Chicago, IL: American Marketing Association.

 Mohr, Jakki (1992), "Paradoxes in Organizational Communication Practices: Concern
       for Marketers," in C. Allen and T. Madden (eds.), Winter AMA Educators'
       Proceedings, Vol. 3, pp. 308-16, Chicago, IL: American Marketing Association.

 Low, George and Jakki Mohr (1991), "The Budget Allocation Between Advertising and
       Sales Promotion: Understanding the Decision Process," in M. Gilly, et al. (eds.),
       AMA Educators' Conference Proceedings, pp. 448-457, Chicago: American
       Marketing Association.

 Weiss, John and Jakki Mohr (1991), “Communication Style: Looking Beyond Content
       in Designing Influence Strategies,” in M. Gilly, et al. (eds.), AMA Educators’
       Conference Proceedings, pp. 33-45, Chicago: American Marketing Association.

 Mohr, Jakki (1990), "Computerized Communication in Interorganizational
       Relationships: Its Impact on Structure, Conduct, and Performance," in W.
       Bearden et al. (eds.), AMA Educators' Conference Proceedings, pp. 228-33,
       Chicago: American Marketing Association.




 J. Mohr Expert Report                                                            80 | P a g e
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 Mohr, Jakki and J. Paul Peter (1988), "Organizational Buyer-Seller Communication: A
       Review of Recent Literature," in G. Frazier et al. (eds.), AMA Educators'
       Conference Proceedings, pp. 84-89, Chicago: American Marketing Association.

 Bellizzi, Joe and Jakki Mohr (1984), "Technical Versus Nontechnical Wording of
         Industrial Print Advertising," in R. Belk et al. (eds.), AMA Educators' Conference
         Proceedings, pp. 171-75, Chicago: American Marketing Association.


 WORK IN PROGRESS

 Mohr, Jakki, Linda Price, and Aric Rindfleisch, “Listening to the Voice of Nature: The
       Journey Towards Sustainable Innovation,” “reject & resubmit” at Journal of
       Marketing, Nov. 1, 2019.

 Floyd, Theresa, Elizabeth Metcalf, Jakki Mohr, Peter Metcalf, Ragan Callaway, “Social
        networks in ecological restoration: the roles of trust, public engagement, and
        network ties in satisfaction with restoration outcomes,” “reject & resubmit at
        Society and Natural Resources, July 2019

 Mohr, Jakki, Tina Cummins, Theresa Floyd, Elizabeth Covelli Metcalf, Ray Callaway
       and Cara Nelson, “Facilitators and Inhibitors of Innovation in Restoration,”
       manuscript preparation in progress for Journal of Environmental Management.

 Mohr, Jakki, Martin Breed, and Peter Harrison, Is the “Genomics” Cart Before the
       “Restoration” Horse? Data collection complete, manuscript preparation in
       progress for Frontiers in Ecology and the Environment.

 Mohr, Jakki and Carmen Thissen, “Company Valuations of Impact & Dependencies on
       Nature,” working paper complete; manuscript preparation in progress.

 Mohr, Jakki and Luke Robinson, “Business Strategies for Net-Positive”, manuscript
       preparation in progress.

 Giguere, Lisa, Jakki Mohr, and Sanjit Sengupta, “Bringing Innovation to Market” (new
       book)

 Mohr, Jakki, “Developing the Strategy Sweet Spot to Successfully Commercialize
       Biomimetic Innovations,” submitted to Zygote Quarterly, revise-and-resubmit,
       August 2016.

 Sanjit Sengupta and Jakki Mohr: Factors affecting radical product innovation
        capability (data collection completed; manuscript writing in progress)

 Ray Callaway and Jakki Mohr: Overcoming Barriers to Transformative Research in the
       Ecological Sciences (data collection completed)


 FUNDED RESEARCH

 Spring 2019: $1250 funding for Grad Student on Moving to Net-Positive (Regenerative)
       Sustainable Business


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 AY 2018-2019: Part of a $20 million / five-year NSF-funded EPSCoR (State of
       Montana) project: Consortium for Research on Environmental Water Systems
       (CREWS).
       My role is training researchers and students on commercialization potential of
       their scientific discoveries. http://mtnsfepscor.org/projects/rii-track-1-
       consortium-research-environmental-water-systems-crews

 AY 2018-2019: Part of a three-year $200,000 NSF-funded project to establish the
       University of Montana as an iCorp Site. My role will be monitoring and
       assessment. http://news.umt.edu/2018/09/092718stem.php

 AY 2017/2018        $15,000 Funding for Grad Student on the Business of Restoration
                    $5,000 Funding for Undergrad Student on Valuations of Natural
        Capital

 2017 (Summer) Funding for Grad Student on the Business of Restoration $13,000

 2016 (Summer) Funding for Grad Student on Valuating Ecosystem Services and
       Natural Capital $5000

 2014-2015 Center for Integrated Research on the Environment (CIRE): $45,000,000
       through US Army Corp of Engineers (with Ric Hauer, Callaway, Valett, Lowe,
       Russell, Nelson, Metcalf, Kimball, Dixon, and Holien)

 2013 “Human Impacts on the Ecological Integrity of Restoration Projects,” (with
       Elizabeth Metcalf and Laurie Yung)
              $30,000

 2012 “Environmental Change - Science, Society and Solutions in the Rocky
       Mountains,” $42,500 to develop a proposal for the Systems Ecology Education
       Group (with Holben, Cleveland, Larson, Nelson, Valett, and Yung).

 2011 Marketing Science Institute (Boston MA), “Sustainability and Innovation:
       The Case of Biomimicry”
             $15,000

 2002-2004 USDA Cooperative State Research
              $40,000
       Feasibility of establishing a value-added agribusiness enterprise in Montana
       (with N. Shooshtari); part of a larger $200,000 cross-disciplinary grant with
       Professor Don Kiely of the Chemistry Dept. Funds used primarily to support a
       graduate assistant to assist with research.

 2001 Summer Research Grant, School of Business Administration,
      University of Montana, “Leveraging Internet Technologies in B2B
      Relationships.”

 1999 Institute for the Study of Business Markets                              $1000
      Case Study of Pfizer Animal Health Products
      Market Segmentation and Marketing Strategy

 1999 School of Business Administration, University of Montana      $1000
      Course Development Grant for course on E-commerce and Internet Marketing


 J. Mohr Expert Report                                                            82 | P a g e
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 1999 School of Business Administration, University of Montana         $ 750
      Course Development Grant for distance learning course (delivered solely on the
      Web), Principles of Marketing, MBA 560 (with N. Shooshtari)

 1992 Summer, Marketing Science Institute                                $7670
       "The Promotional Budget Allocation Decision: An Empirical Test" (with G. Low)
        for doctoral student support and survey expenses

 1991 Summer, Marketing Science Institute                                 $3700
      "The Advertising-Sales Promotion Trade-Off: A Managerial Budget Allocation
      Perspective" (with G. Low) for doctoral student support and travel expenses for
      exploratory interviews

 1989 Spring, IBM Corporation, Rochester, Minnesota                           $2500


 CONSULTING

 State of Montana v. Purdue Pharma (Summer 2019). Provided Abatement Plan to
           counter effects of marketing of opioids.

 Hammer, Quinn & Shaw PLLC, Kalispell, MT (Spring 2017). Provided research on
        customer sources of information and customer perceptions of
        comparative advertising for legal case (with J. Angle).

 State of Alaska v. Merck (Spring 2016). Provided research regarding media
        impressions for Merck’s advertising of Vioxx during 1999-2004.

 State of Montana v. Merck (Winter – Spring 2016). Provided research and was deposed
        by Merck regarding media impressions for Merck’s advertising of Vioxx during
        1999-2004.

 Upstream Health Care (2015): Development of Brand Strategy (with J. Giese)

 British Columbia Technology Industry Association, Keynote: “The Culture of a Market-
        Driven High-Tech Company,” roughly 225 attendees (January 2008).

 Invizeon Corporation (Missoula, Montana); Led a ½-day marketing retreat for the
        company personnel in product development, operations, marketing, sales,
        customer care, and top management. 2003

 Labko, Inc. (Finland). Provided executive training to senior management on marketing
       strategy 2001 .

 Foveon, Inc., Santa Clara, CA; Provided input on the firm’s branding and marketing
       communication activities prior to launch. 2001

 Storage Technology Corporation, Louisville, CO; Provided extensive consulting on
       issues in handling and protecting proprietary information (January - December
       1992; April1994)


 REFEREED TECHNICAL PAPERS:

 J. Mohr Expert Report                                                           83 | P a g e
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 Mohr, Jakki, Linda Price, and Aric Rindfleisch (2019), “Deep Listening to the Voice of
       Nature: The Journey Towards Sustainable Innovation,” Marketing Science
       Institute Working Paper Series #19-134, Cambridge, MA.

 Low, George and Jakki Mohr (1998), "Brand Managers' Perceptions of the Marketing
       Communications Budget Allocation Process," Marketing Science Institute
       Working Paper Series #98-105, Cambridge, MA.

 Mohr, Jakki, Robert Fisher, and John Nevin (1994), “The Role of Communication
       Strategy in Channel Member Performance: Is More Collaborative
       Communication Better?” Marketing Science Institute Working Paper Series #94-
       119, Cambridge: MA.

 Low, George and Jakki Mohr (1992), "The Advertising-Sales Promotion Trade-Off:
       Theory and Practice," Marketing Science Institute Working Paper Series, #92-
       127, Cambridge, MA.

 Mohr, Jakki (1989), "Communicating with Industrial Customers," Cambridge, MA:
       Marketing Science Institute, Report #89-112.

 OTHER PUBLICATIONS:

 Mohr, Jakki (2012), “Technology-Based Strategic Marketing,” Montana Technology
       Innovation Partnership, Part 1 (Spring), Part 2 (Fall).

 Mohr, Jakki (2009), “Marketing Your Technology Product,” Montana Business &
       Technology Magazine (Summer), pp. 34-37.

 Mohr, Jakki (2006), “Marketing: It’s More than Advertising,” InBusiness Monthly, part
       of the Missoulian newspaper, March, p. 27.

 Slater, Stanley, Jakki Mohr, and Sanjit Sengupta (2005), “Marketing Resource
        Management in High-Tech Firms,” Prayaas, a management education magazine
        published by the Symbiosis Institute of Business Management (SIBM) in Pune,
        India (ranked 8th in management education in India); (October), pp. 19-22.

 Mohr, Jakki (1989), "Right Communication is Name of the Game," in Computer
       Reseller News, December 11, p. 22.

 Busch, Paul and Jakki Mohr (1987), book review of The Collection and Analysis of
      Economic and Consumer Behavior Data: In Memory of Robert Ferber (S. Sudman
      and M. Spaeth, eds.), in the Journal of the American Statistical Association
      (September).

 Kress, George and Jakki Mohr (1984), "Marketing Educators Aren't Heavily Using
        Computers in Their Courses," Marketing Educator, (Spring), p. 2.

 Contributed to Instructor's Manual for Strategic Management: Concepts and
       Applications, S. Certo and J.P. Peter (1988), New York: Random House.

 INVITED COLUMNIST:



 J. Mohr Expert Report                                                            84 | P a g e
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 Mohr, Jakki (2020), “Nature for Business, Business for Nature,” June 11,
       https://www.ama.org/marketing-news/nature-for-business-business-for-
       nature/

 Mohr, Jakki (2020), “Can a Culture of Innovation Co-Exist with a Data-Driven World?”
       March 10, https://www.ama.org/marketing-news/column-can-a-culture-of-
       innovation-co-exist-with-a-data-driven-world/


 Mohr, Jakki (2019), “The Magic in Data and Creativity” AKA “Data Science and Radical
       Innovation,” Marketing News, (September/October).
       https://www.ama.org/marketing-news/is-there-magic-in-the-mashup-of-data-
       and-creativity/

 Mohr, Jakki (2019), “The Positives and Negatives of Marketing,” Marketing News,
       June/July, pp. 30-31. https://www.ama.org/marketing-news/positives-
       negatives-marketing/


 INVITED BLOGGER:
 www.wisepreneur.com, an interactive online community for inventors, innovators, and
       experts to share information that helps entrepreneurs start-up and grow their
       businesses. Sample blogs:
  “What does Marketing Really Mean?” (June 28, 2010):
       http://wisepreneur.com/marketing/what-does-
       %E2%80%9Cmarketing%E2%80%9D-really-mean#comments

  “The Crossroads of Innovation and Marketing,” (July 25, 2010):
        http://wisepreneur.com/entrepreneurship/the-crossroads-of-innovation-and-
        marketing-where-the-money-is-made

 “Innovation Marketing Strategy: First, Get a Beachhead,” (October 10, 2010)
       http://wisepreneur.com/innovation-marketing-2/innovation-marketing-
       strategy-first-get-a-beachhead

 “Customer Adoption Considerations When Marketing Innovative Products,” February
       5, 2011 http://wisepreneur.com/innovation-marketing-2/customer-adoption-
       considerations

 “Crossing the Chasm in High-Tech Markets: Application to 2D Barcode Technology,”
       February 24, 2011) http://wisepreneur.com/management/crossing-the-chasm-
       in-high-tech-markets


 PRESS

 Quoted in:

 Marketing News, November 5, 2019, “Facebook Releases New Branding to Represent
 Facebook as a Parent Company,” by Sarah Steimer, https://www.ama.org/marketing-
 news/facebook-releases-new-branding-to-represent-facebook-as-a-parent-company/




 J. Mohr Expert Report                                                          85 | P a g e
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 NPR/Marketplace Morning Report, May 2, 2014, “Elon Musk, Tesla plan 'Gigafactory'
 site,” interviewed by Sabri Ben-Achour,
 https://www.marketplace.org/2014/05/02/elon-musk-tesla-plan-gigafactory-site/

 Fast Company (2014), The Quiet Death Of The Tech Company Mascot, “ by Bryan
 Lufkin,
 April 17, https://www.fastcompany.com/3029247/the-quiet-death-of-the-tech-
 company-mascot

 Features/Interviews:

 “Companies use biomimicry to solve intractable problems that nature has already
 solved,” by Tina Drolc, Slovenia Times. April 1, 2019.
 http://www.sloveniatimes.com/%E2%80%9Ccompanies-use-biomimicry-to-solve-
 intractable-problems-that-nature-has-already-solved%E2%80%9D

 “Affordable innovations for everybody,” interview with Hankentidningen, a magazine
 published by Hanken School of Economics (Finland), by Johan Svenlin. March 2016.

 I Want Her Job: Interview by Brianne Burrowes, June 19, 2015:
 https://iwantherjob.com/leading-ladies/jakki-mohr/

 “The link between biology and business,” by Andrew Graham, December 28, 2014 in
 Explore Big Sky (magazine)
 https://www.explorebigsky.com/science-biomimicry/13364

 Distinctly Montana (2013), December 12:
 https://www.distinctlymontana.com/people/jakki-mohr

 "Innovation in technology can be vital for the economic future of countries" by Jakki
 Mohr, November 2011. Gerencia: The magazine of information and communication
 technologies for companies in Chile; circulation of 10,000.
 http://www.emb.cl/gerencia/articulo.mvc?xid=479&ni=jakki-j-mohr-phd-y-docente-
 de-marketing-la-innovacion-en-tecnologia-puede-ser-vital-para-el-futuro-economico-
 de-los-paises

 “Buying IT products is different, so your marketing should be, too, says expert,”
 interview with Santiago, Chile trade association, October 5, 2011.
 https://www.bnamericas.com/es/noticias/compra-de-productos-de-ti-es-diferente-
 por-lo-tanto-su-marketing-tambien-debe-serlo-senala-experta

 Mentions:

 Fast Company (2014), “Jakki Mohr, professor of marketing at the University of
 Montana,” May 29, https://www.fastcompany.com/3030568/jakki-mohr-professor-of-
 marketing-at-the-university-of-montana?cid=search

 Fast Company (2011), Innovative Nature: Baking Biomimicry In,” by Jody Turner.
 https://www.fastcompany.com/1741949/innovative-nature-baking-biomimicry

 My TEDx talk mentioned in:
 Wired Magazine coverage of TEDx Bozeman https://www.wired.com/2012/11/ff-tedx/


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 UM Features:
 “Ahead of the Data,” feature in The Montanan (alumni magazine) by Jeff Hull, (Spring
 2020), pp. http://montanan.umt.edu/issues/spring-2020/business/default.php

 “What Makes a Great Teacher?” feature in The Montanan (alumni magazine) by John
 Heaney
 Winter (2017), https://montanan.umt.edu/issues/winter-2017/great-
 teacher/default.php

 “The Business of Biomimicry” (2012),Visions, University of Montana Research
 publication, by Erika Fredrickson, pp. 8-12.
 https://www.umt.edu/urelations/_cms/_archive/vision_archive/Vision%202012/Ima
 ges/Vision2012.pdf



 PUBLISHED CASES:
 Mohr, Jakki and Sara Streeter (1999), “Pfizer Animal Health Products: Market
       Segmentation and Industry Changes,” appears in:
       • Dwyer, Robert and John Tanner, Business Marketing Management (2009),
          McGraw Hill/Irwin.
       • D. Cravens and N. Piercy (2006), Strategic Marketing, 8th ed., Irwin/McGraw-
          Hill, Inc.
       • D. Cravens, C. Lamb, and V. Crittenden (2001), Strategic Marketing
          Management Cases, 7th ed., Irwin/McGraw-Hill.
       • M. Hutt and T. Speh (2001), Business Marketing Management, 6th Edition,
          Fort Worth: Harcourt College Publishers, pp. 518-529.
       • R. Dwyer and J. Tanner (2001), Business Marketing, 2nd edition,
          Irwin/McGraw-Hill.

 Mohr, Jakki and Sara Streeter (1999), “Pfizer Animal Health Products: Industry
       Downturns and Marketing Strategy,” appears in:
       • R. Dwyer and J. Tanner (2009), Business Marketing Management,
          Irwin/McGraw-Hill.
       • Mukerjee, Hory Sankar (2008), Industrial Marketing, Excel Books, India.
       • J.P. Peter and J. Donnelly (2004), Marketing Management, 7th edition,
          Irwin/McGraw-Hill. pp. 298-308.
       • D. Cravens and N. Piercy (2003), Strategic Marketing, 7th ed., Irwin/McGraw-
          Hill, Inc.
       • D. Cravens, C. Lamb, and V. Crittenden (2001), Strategic Marketing
          Management Cases, 7th ed., Irwin/McGraw-Hill.
       • J.P. Peter and J. Donnelly (2001), Marketing Management, 6th edition,
          Irwin/McGraw-Hill. pp. 321-329

 Manning, Ken and Jakki Mohr (1990), "Wind Technology," a case; appears in:
      • Mukerjee, Hory Sankar (2008), Industrial Marketing, Excel Books, India.
      • J.P Peter and J. Donnelly (2004), Marketing Management, 7th edition,
          Irwin/McGraw-Hill.
      • Michael Hutt and Thomas Speh (2001), Business Marketing Management, 7th
          edition, pp. 615-621, Ft. Worth: Harcourt College Publishers.
      • J.P. Peter and J. Donnelly (2001), Marketing Management, 6th edition, Irwin
      • D. Cravens, Charles W. Lamb, Jr, and Victoria L. Crittenden (1999),
          Strategic Marketing Management Cases, 6th edition, Irwin/McGraw Hill.

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        •   F. Robert Dwyer and John F. Tanner (1998), Business Marketing,
            Irwin/McGraw Hill.
        •   D. Cravens (1997), Strategic Marketing, 5th edition, Irwin
        •   R. Haas (1995), Business Marketing, 6th Edition, South-Western College
            Publishing
        •   Irwin Case Database (an electronic database to create customized works),
            1994-1995

 Working Papers (not previously noted or listed):
 Mohr, Jakki, Christine Page, and Greg Gundlach (1995), "The Governance of Inter-
       Organizational Exchange Relationships: Review and State-of-the-Art
       Assessment," College of Business, University of Colorado-Boulder, working
       paper #95-02.

 Mohr, Jakki, Robert Fisher, and John Nevin (1995), “The Effects of Collaborative
       Communication on Channel Outcomes,” College of Business, University of
       Colorado-Boulder, working paper #95-3.

 Low, George and Jakki Mohr (1994), "The Effects of Organizational Relationships and
       Managerial Characteristics on Advertising, Consumer, and Trade Promotion
       Budget Allocations," University of Colorado College of Business Working Paper
       #94-09.

 Mohr, Jakki, Robert Fisher, and John Nevin (1993), "Channel Communication and Its
       Antecedents," University of Colorado College of Business Working Paper #93-04.

 Mohr, Jakki (1992), "Marketing Information and Competitive Advantage: Issues
       Relating to Information Protection," University of Colorado College of Business
       Working Paper #92-14.

 Mohr, Jakki (1991), " 'Proscribed' Communication Characteristics--Distortion and
       Withholding: Implications for Marketing Theory and Research," Graduate
       School of Business Working Paper Series #91-21, University of Colorado,
       Boulder, CO 80309.


 CONFERENCES AND PRESENTATIONS

 Conference Presentations (not previously listed as a conference publication)
 Mohr, Jakki and Carmen Thissen (2020), “Valuations of Business Impacts and
       Dependencies on Nature,” Natural Capital Symposium, Stanford University,
       March 2020 (conference postponed due to COVID-19)

 Mohr, Jakki, Martin Breed, and Peter Harrison (2019), “Innovation in the context of
       ecological restoration,” (presented by Martin & Peter), VIII World Conference on
       Ecological Restoration (Restoring Land, Water, and Community Resilience) by
       the Society of Ecological Restoration, Capetown, South Africa, September 25,
       2019.

 Mohr, Jakki (2018), “Business Perspective on Restoration: A Social-Ecological
       Systems Lens,”
       NW Marketing Symposium, Portland State University, May 2018


 J. Mohr Expert Report                                                           88 | P a g e
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 Metcalf, E.C., J.Mohr, A.L. Metcalf, and F.I. Lauer (2017), “Understanding the human
       dimensions of river restoration: Evidence from the Clark Fork River, MT,”
       Ecological Society of America Annual Meeting, Portland, OR: August 6-11.
       (paper presentation by E. Metcalf)

 Nordin, Fredrik, Annika Ravald, and Jakki Mohr (2015), “Capabilities for Managing
       High-Technology Business Networks,” International Conference on Business
       Market Management (BMM 2015), July 2-4, 2015, UK.

 Metcalf, E. C, Yung, L, Mohr, J., & Metcalf, P. (2014). Social Success of River
       Restoration: A Case Study of the Upper Clark Fork River, Montana. The 20th
       International Symposium on Society and Resource Management. (paper
       presentation by E. Metcalf) June 9-13th, Hannover, Germany.

 GeneXus (the conference of software and IT start-ups in South America), October 1-3,
      2012; presented a session on “Marketing of High-Technology Products &
      Innovations.”

 “Use of Technology in a High-Technology Marketing Class,” April 4, 2007, The
        International Conference on College Teaching and Learning,” Jacksonville,
        Florida

 (Selected) Invited Presentations:
 “Harnessing the Power of Big Data,” November 7, 2018, to the Christchurch (New
       Zealand) business community/alumni of the University of Canterbury.

 “Innovation in Restoration: Barriers and Opportunities,” October 2, 2018, University of
       Queensland (Brisbane, Australia), jointly to the Centre for Biodiversity and
       Conservation Science (CBCS) and ARC Centre for Excellence in Environmental
       Decisions (CEED)

 “Rethinking Innovation through the Lens of Coupled Human-Natural Systems,”
       presented at the University of Otago, Dunedin, New Zealand (September 21,
       2018); University of Auckland (October 24, 2018); and University of Canterbury
       (November 28, 2018).

 “Commercializing Innovation,” presented to the summer program at the Centre for
      Entrepreneurship, November 21, 2018, University of Canterbury.

 “Overcoming Barriers to Successful Deployment of Socially-Desirable Innovations,”
       March 14, 2018 to the Graduate Seminar on Society & Conservation, University
       of Montana.

 “Science-to-Policy Panel” with Dave Naugle, Professor of Large Scale Wildlife Ecology;
       Amy Groen, hydrologist and water resource specialist at the Montana
       Department of Natural Resources & Conservation (DNRC), and Stephen Posner,
       from the science-to-policy organization called COMPASS; for the UM BRIDGES
       trainees, and interdisciplinary graduate students, February 23, 2018

 Hanken School of Economics (Vaasa, Finland), Guest lecture on “Technology
      Marketing” (March 2014; January 2016 – 2x; February 2018 – 2x)




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  “Challenges in the Business of Restoration,” Montana Institute on Ecosystem,
        Montana State University, March 22, 2017; also at the Institute on Ecosystems
        “All Hands” Meeting (Bozeman, MT), April 6, 2017.

 “Understanding Innovation Ecosystems,” ORT University alumni and faculty,
       Montevideo, Uruguay, April 2016.

 Participated in the Energy Transportation Conference at KAPSARC (King Abdullah’s
        Petroleum Studies and Research Center—a think tank), November 10, 2015,
        Riyadh, Saudi Arabia.
        “Models for Successful Technology Development and Commercialization:
        Overcoming Market and Company Barriers”

 “Pathways to Unleashing Biomimicry in University Settings,” 8th annual Biomimicry
       Education Summit, Austin, TX, October 4, 2015.

 Asia-Montana Energy Summit, University of Montana, “Consumer Perspectives and
       Innovation Ecosystems for New Energy Models,” April 29, 2015.

 Marketing Science Institute Spring Trustees Meeting: A Celebration of Breakthrough
      Marketing, “Sustainable Innovation: New Challenges, New Sources of Insights,
      and New Capabilities Required,” Boston, April 22-24, 2015.

 University of Illinois, “Becoming An Adaptive Organization in Harmony with Nature,”
       April 17, 2014

 College of St. John/Benedictine (St. Cloud, Minnesota) (October 2013)
        “Innovation Ecosystems and Electric Vehicles: The intersection of Society,
        Business, and Policy”
        “Women & Leadership: Lessons and Personal Observations”
        “Biomimicry: Business Innovations Inspired by Nature”

 Montana Institute on Ecosystems (Missoula and Bozeman): “The Value of Business
      Innovation Research to Natural Sciences,” (March and April 2013)

 University of Wyoming, “Theory of Sustainable Innovation in a Complex Natural World:
       Building Adaptive Capacity,” November 5, 2012.

 “Environmental Sustainability and Innovation in Business,” Montana Ethic Project
       (Spring 2013), The Wheeler Center, Bozeman, MT.

 “Bringing Ideas to Life,” IdeaMensch Missoula, July 13, 2012

 “Biomimicry: Business Innovations Inspired by Nature,” March 23, 2012,
       TEDxBozeman

 “Biomimicry: How Does Nature Do That?” December 3, 2011, TEDxSanDiego

 University of Stockholm, “Biomimicry: A Case of Sustainable Innovation,” January 19,
       2012

 University of Arizona, “Biomimicry: A Case of Sustainable Innovation,” March 3, 2011
       (with Aric Rindfleisch);


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        And “Challenges in Technology Marketing,” University of Arizona: Thinking
        Forward Conference, March 4, 2011

 “The Business Case for Biomimicry,” Biomimicry Education Summit, San Francisco,
       CA, July 8-11, 2010.

 “A World Without Marketing: Blessing or Curse,” September 19, 2009, UM’s Provost
       Lecture Series, a campus/community event designed to highlight scholarship
       on campus.

  “High-Technology Marketing” American Marketing Association’s Doctoral Consortium,
        University of Missouri-Columbus, June 4-8, 2008.

 “Barriers and Success Factors in Effective High-Tech Marketing”
        December 1, 2006 Tata Consultancy Services, Hyderabad, India
        December 3, 2006 Green Business Centre/Confederation of Indian Industry,
        Hyderabad, India

  “The Effect of Transnational Buyer-Supplier Relationships on Change and
        Adaptability in Supply Chains,” Pre-conference special session on inter-
        organizational marketing, Summer AMA, Chicago, August, 2006

 “Marketing and Management Challenges at the Intersection of Technology and
       Services,” Special Session at Summer AMA, San Francisco, August 1, 2005

 “Technology in the Supply Chain: Issues, Obstacles, and the Future,” presented at:
       • American Marketing Association, special session on trends in distribution
          (August 2004, Boston)
       • Scuolo Superiore S’Ant Anna, Pisa, Italy, May 28, 2004
       • the American Marketing Association Faculty Consortium on Supply Chain
          Management, Texas Christian University, October 31, 2003.

 “Leveraging the Power of the Internet in Montana” for the Provost’s Distinguished
       Faculty Lecture Series, University of Montana, December 5, 2003.

 “Distribution Channels in High-Tech Markets,” MBA class at the University of
        Washington’s Graduate School of Business, May 2003.

 “Furthering Emerging Technologies for Urban Consumers: Understanding the Digital
       Divide,” presented at the American Marketing Association in a special session,
       Austin, TX, February 23, 2002.
       * Session received the best special session of the conference award.

 “Unintended Consequences of Technological Development,” presented at the American
       Marketing Association in a special session on Three Perspectives on Technology
       and Marketing, Phoenix, AZ, February 22, 2001.

 "Managing the Paradox of Inter-firm Learning: The Role of Governance Mechanisms,"
      presented at the American Marketing Association in a special session on the
      Unintended Effects of Relationship Marketing, Chicago, IL, August 6, 2000


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 “Channels Research and the Internet: Issues for Discussion,” colloquium to marketing
      faculty and doctoral students, University of Utah School of Business, February
      11, 2000 and University of Nebraska, March 2000.

 “A Contingency Approach to ‘Click and Brick’,” with Sandy Jap, San Antonio, TX,
       February 2000, AMA special session.

 “The Changing Nature of Channels and Distribution: Impact of the Internet,” San
       Francisco, CA, August 1999, Pre-AMA Conference SIG meeting, Channels and
       Distribution Management, American Marketing Association.

 “Effective Use of the Internet: Business Issues and Customer Needs,” Missoula, MT,
        August 1999, e-Business Immersion Course, Montana World Trade Center.

 "Governance and Inter-firm Learning," Austin, TX, February 1998, American
       Marketing Association Conference, special session on Inter-firm Learning (with
       C. Page and G. Gundlach).

 "Understanding the Advertising Budgeting Process," Boston, MA, September 1997,
       Marketing Science Institute Conference on Managing Advertising Expenditures
       (with G. Low).

 "Marketing Communications Budget Allocation Decisions," Marketing Science Institute
       Conference on Integrated Marketing Communications, Boston, MA. March 1994
       (given by co-author, G. Low).

 "Characteristics of Partnership Success," Conference on Relationship Marketing,
       Emory University, Atlanta, GA, April 1992.
       Also presented at a Workshop on Global Strategic Alliances, Winter AMA, San
       Diego, CA, February 1995.

 "Protecting Your Proprietary Information from the Competitive Intelligence Efforts of
        Others," Special Session at the Winter Conference, American Marketing
        Association, San Antonio, TX, February 1992.

 "Persuasive Communication in Channel Relationships," Special Session at the Winter
       Conference, American Marketing Association, San Antonio, TX, February 1992.

 "The Advertising-Sales Promotion Trade-Off: A Managerial Perspective on Budget
       Allocations," Marketing Science Institute Consumer Goods Meeting, Cambridge,
       MA, January 1992 (given by co-author, G. Low).

 "Understanding and Building Customer Value and Satisfaction," Business Marketing
       Conference, co-sponsored by the Institute for the Study of Business Markets
       and the University of Toledo, Toledo, OH, October 6-7, 1991.


 PROFESSIONAL TRAINING
 Biomimicry Immersion Program: Discovering Nature’s Genius
 Costa Rica, December 9-14, 2014.

 SERVICE
 Reviewing:

 J. Mohr Expert Report                                                            92 | P a g e
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        Editorial Boards:
               Journal of the Academy of Marketing Science (1995-1998; 2004 - present)
               Journal of Product & Innovation Management (2014-present)
               Industrial Marketing Management (2013-present)
               Academy of Marketing Science Review (2019-present)
               Journal of Business-To-Business Marketing (1992-present)
               Journal of Marketing (1993-2005)

 Guest Editor            Industrial Marketing Management
                         Guest-edited (with Shikhar Sarin) a special issue (2008) on the
                         marketing of high-technology products and innovations.

                         Journal of Marketing Theory and Practice
                         Guest-edited (with N. Shooshtari) a special issue (2003) on the
                         marketing of high-technology products and innovations.

        Ad hoc reviewer for:
              Journal of Marketing (2006, 2007, 2009, 2010, 2019, 2020)
              Restoration Ecology (2018; 2019)
              Journal of Biomimetic Engineering (2017, 2018)
              Review of Marketing Science (2014, 2015)
              Journal of Marketing Research (2001, 2002; 2006; 2007)
              Journal of Retailing (2010, 2013)
              Journal of Business Research (1992, 1993, 2010)
              Decision Sciences Journal (2002)
              Journal of International Business Studies (2003)
              International Journal of Research in Marketing (2003; 2004)
              California Management Review (2003)
              Journal of Retailing (1995, 1999, 2003)
              Academy of Management Review (1994, 1995)
              Journal of Public Policy and Marketing (1992, 1993, 1995,1996)

 Other Reviewing:              2015-present Howard/AMA Dissertation Competition
                               2008-present,1995 ISBM Dissertation Proposal Competition
                               2009, 2013 Marketing Science Institute
                               2013 Academy of Marketing Science Dissertation
                               2005 Journal of Retailing Dissertation Competition

 Committees in the Marketing Discipline:
 Member, Selection Committee for the Lifetime Achievement Award for the
      Interorganizational Special Interest Group, American Marketing Association,
      2010

 Member, Outstanding Marketing Teacher Selection Committee, Academy of Marketing
      Science, 2009

 Chair, Stern Award Selection Committee, 2004, 2005, 2020 to select the best article
        on distribution channels in the marketing discipline.

 Member, Selection Committee for the Best Article in Technology & Innovation in the
      marketing discipline, 2006 (run by the Technology & Innovation SIG of the
      American Marketing Association)

 Dissertation/Thesis Committees (past 10 years)
 J. Mohr Expert Report                                                               93 | P a g e
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 Supervisor, Honor’s Thesis, Carmen Thissen: Valuations of Natural Capital (Fall ’17-
                           Spr’ 2020)

 Chair:                    Luke Robinson (Fall 2017-May 2019)
                           M.S. Systems Ecology: “Becoming Net-Positive: Emergy
                           Analysis”

 Committee Member:         Carter Bermingham, M.S. in Tourism and Recreation
                           Management (Spring 2019-present)
                           Erin Sexton, Ph.D. in Systems Ecology, UM (2017-present)
                           Kayla Pierson, MS in Computer Science (2017-2018)
                           Catie DeMets, MS in Environmental Studies, UM (2017-
                           2018)
                           Rachel Hahs, Biomimicry (Arizona State University 2015)
                           John Chandler-Pepelnjak, Ph.D. Math/Statistics, “Modeling
                           Conversions in Online Advertising,” (Fall 2008-May 2010)
                           Michael Cassens, Interdisciplinary Ph.D. 2003-2008

 University of Montana Committees (past 10 years)
 College of Business, Curriculum Revision Task Force (Spr 2020 - present)
 Master of Science in Business Analytics, (2015-present; Chair, 2019-present)
 Fellow, Institute on Ecosystems (2011-present)
 Ph.D. in Systems Ecology Curriculum Committee (Fall 2011-present)
 Pursue Your Passions/Women’s Entrepreneurship (Fall 2015-present)
 UM Women’s Leadership Initiative (2015-2016; 2019-present)
 Davidson Honor’s College, Faculty Advisory Board (2006-present)
        Subcommittee to interview/select Presidential Leadership Scholarship winners
        (2009, 2010, 2011; 2016; 2017; 2018)
        Subcommittee to review new Honor’s course proposals (January 2009; 2016)
        Curriculum Review Subcommittee (Spring 2018)
 Co-Chair, Regents Professor Selection Committee (Spring 2016); Member (Spring
        2018)
 Montana Academy of Distinguished Entrepreneurs (MADE) (2002-2016)
 International Programs Committee (2007-2009; 2014-2016)
 Marketing curriculum revision (2013-2014)
 Big Data Committee (2013)
 Search Committee, Vice-President for Integrated Communications, Spring 2012-
        January 2013
 Brand Strategy Task Force (September 2011-2013) – Worked to create a strategy
        brand platform for the University of Montana, including screening and hiring a
        higher-education marketing strategy consulting firm
 Sustainability Committee/School of Business (January 2012-2014)
 School of Business Administration Research/Grants Committee (2002-2014; chair,
        2012/2013)
 Management & Marketing Department Strategy and Operations Committee (January
        2012-2013)
 Advisory Board, Montana EPSCoR (August 2013-2014)
 Research Strategic Planning Committee (May 2010-Feburary 2011) – Developed
        strategic plan for the Office of Research at the University of Montana

 Other Service:



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 Book review for a trade book on Content Marketing for Technology Companies
       (Summer 2020)

 Book review for a children’s book on “Nature-Inspired” Energy Technologies (Spring
       2018)

 Faculty Advisor for Student Marketing Club (Fall 2016; co-chair with E. Plant 2015-
       2016)

 Book review for Solomon, Marshall, and Stuart (2005), 4th edition, Marketing: Real
       People, Real Choices, Prentice Hall.

 Book Prospectus Review, “Electronic Commerce: The New Model for Technology and
       Marketing,” September 1999, Irwin/McGraw Hill.

 PROFESSIONAL AFFILIATIONS
 American Marketing Association (1983-present)
 Academy of Marketing Science (1999-2000; 2007-2008)
 Academy of Management (1990-1997)


 COMMUNITY SERVICE
 Provide community briefings and seminars on best practices in high-tech marketing
       and other marketing topics (for example, to the following groups):

 State of Montana Governor’s Climate Solutions Council (January 27, 2020)
 Indigo Group/Bigfork, Montana (August 14, 2019)
 KPMG/Pacific Northwest (April 5, 2019)
 Biomimicry training at Rattlesnake Elementary School (spring 2018)
 Montana Natural History Center (Fall 2017)
 Missoula Economic Partnership/Innovation Initiative (pro-bono consulting)
 UM Computer Science Club; presentations on high-tech marketing
 Montana Community Development Corporation’s “Invest in Success”
 Senator Jon Tester’s Small Business Opportunity Workshop for Women
 Greater Polson Community Foundation/Envision Polson!
 Hellgate Venture Network
 Montana Export-TECH (through the Montana World Trade Center)
 Marketing Roundtable (Small Business Seminar)
 Montana Manufacturing Extension Center, Compete Smart Seminar
 Montana Community Development Corporation Youth Entrepreneur Seminar (keynote
        speaker)

 Volunteer, Missoula County Public Schools, Fall 1998 – 2013
       Assisted bi-weekly in classes; activities include writing coach for Hellgate High
       School, reading tutor, math tutor, delivering the science curriculum to the 2 nd
       grade classes at Mt. Jumbo Elementary School, designing class Website, etc.

 Board of Directors, local women’s health clinic (non-profit), January 2002-October
 2003
 Volunteer, Therapeutic Riding Center, Missoula, MT, Summer/Fall 1997



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 Schedule 2. Materials Considered

 Case Complaint:

 Corrected Joint and Third Amended Complaint, In re National Prescription Opiate Litigation as it
 relates to Cabell County Commission and City of Huntington, West Virginia, Case No. 1:17-op-
 45053-DAP (S.D. W.Va.) and Case No. 1:17-op-45054 (S.D. W.Va.), in the United States District
 Court for the Northern District of Ohio, Eastern Division, September 16, 2019.
 Expert Reports:
 Expert Report of Craig McCann, PhD, CFA

 Expert Report of David Courtright.


 Books:
 Coughlan, Anne, Erin Anderson, Louis Stern, and Adel El-Ansary (2001), Marketing Channels, Prentice
 Hall, 6th edition.

 Coughlan, Anne T. and Sandy D. Jap (2016), A Field Guide to Channel Strategy: Building Routes to
 Market. CreateSpace.

 Keller, Kevin Lane (2008), Strategic Brand Management: Building, Measuring, and Managing Brand
 Equity, Prentice Hall, 3rd edition.

 Kotler, Philip and Gary Armstrong (2018), Principles of Marketing (17th edition). Pearson.

 Rees, Hedley (2011), Supply Chain Management in the Drug Industry. Wiley.

 Rollins, Brent and Matthew Perri (2013), Pharmaceutical Marketing (Chapter 5: “Place: The
 Pharmaceutical Industry Supply Chain”), Jones & Bartlett Learning.

 Whewell, Rob (2010), Supply Chain in the Pharmaceutical Industry: Strategic Influences and Supply
 Chain Responses, Routledge.


 Articles, Publications and Webpages

 Britt, Russ (2007), “Growing share of 'Big Three' gets federal attention: Giant wholesalers dominate
 market, to hit quarter-trillion mark in sales,” Marketwatch (May 30),
 https://www.marketwatch.com/story/growing-share-of-big-three-drug-wholesalers-gets-attention

 Britt, Russ (2007), “A plethora of purchases in wholesalers' history,” Marketwatch (May 30),
 https://www.marketwatch.com/story/how-the-big-three-got-bigger-acquisitions?mod=article_inline

 Business Wire, Inc. (2017, January 17). McKesson Brings InterQual Criteria to the Cloud. Retrieved from
 https://www.businesswire.com/news/home/20170117005093/en/McKesson-Brings-InterQual-Criteria-
 Cloud

 J. Mohr Expert Report                                                                        96 | P a g e
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 Business Wire, Inc. (2020, March 10). Change Healthcare Inc. Announces the Completion of Split-Off of
 McKesson's Ownership Interest. Retrieved from
 https://www.businesswire.com/news/home/20200310005594/en/Change-Healthcare-Announces-
 Completion-Split-Off-McKesson’s-Ownership

 Business Wire, CMS to Continue Use of InterQual Criteria (December 19, 2016) (Available at
 https://www.businesswire.com/news/home/20161219005102/en/CMS-Continue-InterQual-Criteria).

 Clark, David and Mark Schumacher (2017), “America’s Opioid Epidemic: Supply and Demand
 Considerations,” Anesthesia and Analgesia, (November), pp. 1667-1674.

 Congressional Budget Office (CBO) (2007), “Prescription drug pricing in the private sector,” (January),
 available at: https://www.cbo.gov/sites/default/files/110th-congress-2007-2008/reports/01-03-
 prescriptiondrug.pdf

 Dabora, Matan, Namrata Turaga, and Kevin Schulman (2017), “Financing and Distribution of
 Pharmaceuticals in the United States,” JAMA, July 4, 2017, pp. 21-22 (opinion/viewpoint).

 De Lombaerde, Geert, Change McKesson Division Joining Forces, Nashville Post (June 28, 2016)
 (Available at https://www.nashvillepost.com/business/health-care/information-
 technology/article/20826776/change-mckesson-division-joining-forces).

 Fein, Adam, J. (2020). The 2020 Economic Report on U.S. Pharmacies and Pharmacy Benefit Managers,
 Drug Channels Institute. https://drugchannelsinstitute.com/files/2020-PharmacyPBM-DCI-Overview.pdf

 Fein, Adam J., The 2017-2018 Economic Report on Pharmaceutical Wholesaler and Specialty Distributors
 (October 2017). Drug Channels Institute.

 Fein, Adam (2018), “2018 MDM Market Leaders: Top Pharmaceutical Distributors,” Modern Distribution
 Management, https://www.mdm.com/2017-top-pharmaceuticals-distributors

 Fein, Adam (2016), “2016 MDM Market Leaders: Top Pharmaceutical Distributors,” Modern Distribution
 Management, https://www.mdm.com/2016-top-pharmaceuticals-distributors

 Fein, Adam (2005), “Drive the Right Supply Chain Behaviors,” Harvard Business Review (August 1).
 Abstract: For supply chains to operate at their best, partners need incentives to perform their roles as
 efficiently as possible. This has not always been the case in the pharmaceutical industry, where drug
 distributors were long motivated to engage in behaviors that, at best, added no value to the supply
 chain and, at worst, ran counter to it. Today this is changing, to the benefit of an entire industry. Learn
 more about how the industry is switching to fee-for-service compensation.

 “Follow the Pill: Understanding the U.S. Commercial Supply Chain,” (2005), prepared for the Kaiser
 Family Foundation by the Health Strategies Consultancy LLC; available at https://www.kff.org/wp-
 content/uploads/2013/01/follow-the-pill-understanding-the-u-s-commercial-pharmaceutical-supply-
 chain-report.pdf.

 Forman, Robert and Lauren G. Block (2006), “The Marketing of Opioid Medications without Prescription
 Over the Internet,” Journal of Public Policy & Marketing, (Fall), pp. 133-146.



 J. Mohr Expert Report                                                                           97 | P a g e
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 HDA 2019 report, The Role of Distributors in the US Health Care Industry at 20 (Available at
 https://www2.deloitte.com/content/dam/Deloitte/us/Documents/life-sciences-health-care/us-hda-
 role-of-distributors-in-the-us-health-care-industry.pdf)

 HDA Research Foundation, The Facts, Figures and Trends in Healthcare (2017-2018) (88th edition, 2017).

 HDA Research Foundation, Understanding Pharmaceutical Distribution (2017) (Available at
 https://www.hda.org/resources).

 https://www.hda.org/resources/90th-edition-hda-factbook-the-facts-figures-and-trends-in-healthcare

 https://www.hda.org/resources

 Healthcare Innovation, CMS to use McKesson’s InterQual Criteria to support Medicare initiatives
 (September 30, 2011) (Available at https://www.hcinnovationgroup.com/home/article/13004150/cms-
 to-use-mckessons-interqual-criteria-to-support-medicare-initiatives).

 McCain, Jack (2012), “Connecting Patients with Specialty Products; Part 1: Distribution Models for
 biologics and other specialty pharmaceutical products.” Biotechnology Healthcare (Summer), pp. 8-13.
 Available at: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3411231/

 McKesson (2018), “10 Pharmaceutical Distribution Trends to Know,” February 5,
 https://www.mckesson.com/Blog/10-Pharmaceutical-Distribution-Trends-to-Know/

 McKesson, InterQual Actionable Evidence-Based Criteria Portfolio: Enabling shared, clinical decision
 support (2013) (Available at https://www.mckesson.com/documents/health-plans/interqual-criteria/).

 McKesson, InterQual ConnectTM: Enable automation of authorizations requiring medical review, within
 your existing workflow (2016) (Available at
 https://www.mckesson.com/documents/providers/interqual-connect-fact-sheet/).

 McKesson, Interqual: Leadership, Innovation, and Integrity… for Better Health (2015) (Available at
 http://mms.businesswire.com/media/20170117005093/en/523614/1/InterQual_2016_Brochure.pdf?do
 wnload=1).

 McKesson Corporation. (2017, January 5). Retrieved from https://www.mckesson.com/about-
 mckesson/newsroom/press-releases/2017/mckesson-and-change-healthcare-announce-new-company-
 named-change-healthcare/

 McKesson Corporation. (2017, March 2). Retrieved from https://www.mckesson.com/about-
 mckesson/newsroom/press-releases/2017/mckesson-and-change-healthcare-complete-the-creation-of-
 new-healthcare-information-technology-company/

 McKesson Corporation. (2019, June 27). Retrieved from https://www.mckesson.com/about-
 mckesson/newsroom/press-releases/2019/mckesson-statement-change-healthcare-ipo/

 McKesson Corporation. (2020, February 10). Retrieved from https://www.mckesson.com/About-
 McKesson/Newsroom/Press-Releases/2020/McKesson-Split-Off-Interest-Change-Healthcare/




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  McKesson, McKesson Health Solutions (2016) (Available at
  http://mms.businesswire.com/media/20160919005467/en/545063/1/MHS_Product_Brochure_Sept_20
  16.pdf?download=1)

  McKesson HBOC, Inc. (2000). Annual Report – Fiscal Year 2000.
  http://www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2000.pdf

  McKesson HBOC, Inc. (2001). United States Securities and Exchange Commission form 10-K. Retrieved
  from https://www.annualreports.com/HostedData/AnnualReportArchive/m/NYSE_MCK_2001.pdf

  McKesson Corporation (2002). United States Securities and Exchange Commission form 10-K.
  http://www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2002.pdf

  McKesson Corporation (2003). United States Securities and Exchange Commission form 10-K.
  http://www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2003.pdf

  McKesson Corporation (2004). United States Securities and Exchange Commission form 10-K.
  http://www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2004.pdf

  McKesson Corporation (2005). United States Securities and Exchange Commission form 10-K.
  www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2005.pdf

  McKesson Corporation (2006). United States Securities and Exchange Commission form 10-K.
  www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2006.pdf

  McKesson Corporation (2007). United States Securities and Exchange Commission form 10-K.
  www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2007.pdf

  McKesson Corporation. (2008) Annual Report – Fiscal Year 2008.
  https://www.annualreports.com/HostedData/AnnualReportArchive/m/NYSE_MCK_2008.pdf

  McKesson Corporation. (2009) Annual Report – Fiscal Year Ended March 31, 2009.
  http://www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2009.pdf

  McKesson Corporation (2010). United States Securities and Exchange Commission form 10-K.
  http://www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2010.pdf

  McKesson Corporation. (2011) Annual Report – Fiscal Year Ended March 31, 2011.
  http://www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2011.pdf

  McKesson Corporation (2012). United States Securities and Exchange Commission form 10-K.
  http://www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2012.pdf

  McKesson Corporation (2013). United States Securities and Exchange Commission form 10-K.
  www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2013.pdf

  McKesson Corporation. (2014) Annual Report – Fiscal Year Ended March 31, 2014.
  http://www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2014.pdf

  McKesson Corporation. (2015) Annual Report – Fiscal Year Ended March 31, 2015.
  www.annualreports.co.uk/HostedData/AnnualReportArchive/m/NYSE_MCK_2015.pdf


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  https://www.annualreports.com/HostedData/AnnualReportArchive/m/NYSE_MCK_2016.pdf

  McKesson Corporation. (2017) Annual Report – Fiscal Year Ended March 31, 2017.
  http://www.annualreports.com/HostedData/AnnualReportArchive/m/NYSE_MCK_2017.pdf

  Nearly 500 Organizations License InterQual in Six-Month Period. (2015, November 04). Retrieved from
  https://www.businesswire.com/news/home/20151104005344/en/500-Organizations-License-InterQual-
  Six-Month-Period

  PhRMA, Code on Interactions with Healthcare Professionals, (Feb. 2, 2017),
  https://www.phrma.org/codes-andguidelines/code-on-interactions-with-health-care-professionals

  PhRMA, Pharmaceutical Marketing in Perspective, Its Value and Role as one of Many Factors Informing
  Prescribing,
  http://phrmadocs.phrma.org/sites/default/files/pdf/phrma_marketing_brochure_influences_on_prescri
  bing_final.pdf.

  PhRMA, Follow the Dollar: Understanding How the Pharmaceutical Distribution and Payment System
  Shapes the Prices of Brand Medicines, 10 (Nov. 2017) http://phrmadocs.phrma.org/files/dmfile/Follow-
  the-Dollar-Report.pdf.

  Shih, T., Sood, N., Van Nuys, T., Goldman, D., The Flow of Money Through the Pharmaceutical
  Distribution System, USC Schaeffer Center for Health Policy and Economics (Jun. 13, 2017).

  Smith, N. Craig & Elizabeth Cooper-Martin (1997), “Ethics and Target Marketing: The Role of Product
  Harm and Consumer Vulnerability,” Journal of Marketing (July), pp. 1-20.

  Sullivan, T. (2017, February 20). McKesson previews early version of InterQual Auto Review at HIMSS17.
  Retrieved from https://www.healthcareitnews.com/news/mckesson-previews-every-version-interqual-
  auto-review-himss17

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   ABC-MSAGC00002128l                       PKY189796724
   ABDC_INCID0000189                        ENDO-OPIOID_MDL-0224844
   ABDCMDL00000397                          CAH_MDL2804_00112004
   ABDCMDL00002126                          CAH_MDL2804_00132726
   ABDCMDL00002128                          CAH_MDL2804_00133350
   ABDCMDL00002141                          CAH_MDL2804_01384291_image
   ABDCMDL00002622                          ABDCMDL00375715 - ABDCMDL00375718
   ABDCMDL00002623                          ABDCMDL00375723 -01837025
   ABDCMDL00002624                          ABDCMDL00400594
   ABDCMDL00002625                          ABDCMDL04744324
   ABDCMDL00002630                          ABDCMDL049400319756
   ABDCMDL00002631                          ABDC-RI00291031
   ABDCMDL00002632                          CAH_MDL2804_02100389
   ABDCMDL00002637                          ABDC-STCT000066281
   ABDCMDL00002638                          ABDC-STCT001978452
   ABDCMDL00002639                          ABDC-STCT002094982
   ABDCMDL00002828                          ABDC-STCT002212379
   ABDCMDL00002831                          ABDC-STCT002251040
   ABDCMDL00169253                          ABDC-WVFED00073464
   ABDCMDL00169889                          ABDC-WVFED00073465
   ABDCMDL00250024 - ABDCMDL00250063        Acquired_Actavis_00368068
   ABDCMDL00253869                          Acquired_Actavis_00379710
   ABDCMDL00264245                          CAH_MDL2804_03250329
   ABDCMDL00269293                          CHI_000272862
   ABDCMDL00269301                          ENDO-CHI_LIT-00088728
   ABDCMDL00279854                          Acquired_Actavis_00447129_image
   ABDCMDL00288483                          ENDO-CHI_LIT-00431191
   ABDCMDL00288484                          ENDO-OPIOID_MDL-00394248
   ABDCMDL00320055                          ENDO-OPIOID_MDL-01445144
   ABDCMDL00320057                          Acquired_Actavis_00607429
   ABDCMDL00320059                          Acquried-Actavis_01170746
   ABDCMDL00320063                          ACTAVIS0302886
   ABDCMDL00320064                          ACTAVIS0600359
   ABDCMDL00320065                          ACTAVIS0600362
   ABDCMDL00320068                          ACTAVIS0622788
   ABDCMDL00323116                          ENDO-OPIOID_MDL-01623042
   ABDCMDL00323380                          ALLERGAN_MDL_00000042
   ABDCMDL00354657                          ALLERGAN_MDL_00000044
   ABDCMDL00359830                          ALLERGAN_MDL_00016971
   ABDCMDL00360399                          ALLERGAN_MDL_00019229
   ABDCMDL00365073                          ENDO-OPIOID_MDL-01928156
   ABDCMDL00365074                          ALLERGAN_MDL_00638086
   ABDCMDL00374353                          ENDO-OPIOID_MDL-02217039
   ABDCMDL00375084                          ENDO-OPIOID_MDL-02254694


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   ABDCMDL00375564                          ALLERGAN_MDL_01115961
   ABDCMDL00375580                          ALLERGAN_MDL_01246018_image
   ABDCMDL00375582 - ABDCMDL00375584        ALLERGAN_MDL_01246020_image
   ABDCMDL00375598                          ALLERGAN_MIDL_00019229
   ABDCMDL00375631                          CAH_ALASKA_00112308
   ABDCMDL00375640                          CAH_DEPO_MONE_OH_0000285
   ABDCMDL00375641                          CAH_MDL_PRIORPROD_DEA07_00854208
   ABDCMDL00375642                          CAH_MDL_PRIORPROD_DEA12_00014414
   ABDCMDL00375643                          CAH_MDL2804_00105700.
   ABDCMDL00375644                          CAH_MDL2804_00116208.
   ABDCMDL00375646                          CAH_MDL2804_00125969
   ABDCMDL00375649                          CAH_MDL2804_00126300
   ABDCMDL00375654 -ABDCMDL00375657         CAH_MDL2804_00131705
   ABDCMDL00375660                          CAH_MDL2804_00132701
   ABDCMDL00375663 - ABDCMDL00375668        CAH_MDL2804_00132780
   ABDCMDL00375671- ABDCMDL00375676         CAH_MDL2804_00134146
   ABDCMDL00375683 - ABDCMDL00375688        CAH_MDL2804_00134434
   ABDCMDL00375696                          CAH_MDL2804_00134451
   ABDCMDL00375707 - ABDCMDL00375712        CAH_MDL2804_00134454
   ABDCMDL03829334                          ENDO-OPIOID_MDL-02254695
   ABDCMDL03830243                          ENDO-OPIOID_MDL-04234777
   ABDC-WVFED00018369                       EPI001222194
   ABDMDL00002828                           ENDO-OPIOID_MDL-024093787
   Acquired_Actavis_00669723                HDA_MDL_000081669
   ACTAVIS0220239                           HDA_MDL_000081671
   ACTAVIS0600353                           HDA_MDL_000131158
   ACTAVIS0622787                           HDA_MDL_000159198
   ACTAVIS0623776                           HDA_MDL_000159557
   ALLERGAN_MDL_00684866                    HDA_MDL_000159563
   ALLERGAN_MDL_02495818                    HDA_MDL_000162207
   CAH_MDL2804_00104656                     JAN-MS-00326339_image
   CAH_MDL2804_00134510                     ENDO-NY-00377737
   CAH_MDL2804_00134869                     ENDO-NY-00377871
   CAH_MDL2804_00134871                     ENDO-NY-00378275
   CAH_MDL2804_01521345                     ENDO-OPIOID_MDL-01607349
   CAH_MDL2804_01521354_image               ENDO-OPIOID_MDL-01708869
   CAH_MDL2804_02100431                     ENDO-OPIOID_MDL-02224769
   CAH_MDL2804_02149723                     ENDO-OPIOID_MDL-02224844
   CAH_MDL2804_021497723                    ENDO-OPIOID_MDL-02261219
   CAH_MDL2804_02879153                     ENDO-OPIOID_MDL-02261221
   CAH_MDL2804_02955927                     ENDO-OPIOID_MDL-02261223
   CAH_MDL2804_02959413                     ENDO-OPIOID_MDL-0261219
   CAH_MDL2804_02959471                     ENDO-OPIOID_MDL-04093787
   CAH_MDL2804_02959634                     ENDO-OPIOID_MDL-04097240
   CAH_MDL2804_02959635                     ENDO-OPIOID_MDL-04753956
   CAH_MDL2804_03177666                     ENDO-OPIOID_MDL-04815432_image

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   CAH_MDL2804_03224633-03240087            ENDO-OPIOID_MDL-04815436_image
   CAH_MDL2804_03250272                     ENDO-OPIOID_MDL-06234341
   CAH_MDL2804_0330368                      ENDO-OR-CID-00418114
   CAH_MDL2804_03303725                     EPI000869246
   CAH_MDL2804_03334629                     HDA_MDL_000013887
   CAH_MDL2804_03334630                     HDA_MDL_000081670
   CAH_MDL2804_03443903                     HDA_MDL_000202605
   CCHD_0253699                             INSYS-MDL-008053958
   CHHD_0253699_image                       INSYS-MDL-008625863
   CHI_000289460_image                      JAN-MS-00311338.
   CHI_000289560                            JAN-MS-00473789_image
   CHI_001218354_image                      JAN-MS-00785241
   CHI001218356                             JAN-MS-00817085_image
   CUYAH_015844541_image                    JAN-MS-00865181
   CUYAH_015844543                          JAN-MS-00866316_image
   CUYAH_015868739_image                    JAN-MS-01038959
   DEF- 17347.00002                         JAN-MS-03014558_Confidential
   DEF-00076764_image                       JAN-MS-04218105_image
   DEF-17347_image                          JAN-MS-04227312_image
   E513_00052516_image                      JAN-MS-04227313_slipsheet
   E513_00129997                            JAN-MS-04227456_image
   END000732121                             MCKMDL00000021
   END00732121                              MCKMDL0017361605
   ENDO_CHI_LIT-00195910                    ABDC-JNAG00000372
   ENDO_CHI_LIT-00195910                    MCKMDL00323776
   ENDO_CHI_LIT-00247966                    MCKMDL00332932
   ENDO_OPIOID_MDL_DEPONENT-000009487       MCKMDL00334317
   ENDO_OPIOID_MDL-04815436                 MCK-AGMS-069-00091
   ENDO-CHI_LIT-00091622                    MCKMDL00334324
   ENDO-CHI_LIT-00195910                    MCKMDL00353262
   ENDO-CHI_LIT-00247966                    MCKMDL00353282
   ENDO-CHI_LIT-00294169                    MCKMDL00353308
   ENDO-CHI_LIT-00470118                    MCKMDL00353368
   JAN-MS-00326341_image                    MNK-T1_0000416504
   JAN-MS-00362392_image                    MNK-T1_0000499742
   JAN-MS-00362395_image                    MNK-T1_0000499880
   JAN-MS-00364683_image                    MNK-T1_0000641574_image
   JAN-MS-00364686_image                    MNK-T1_0000823151
   JAN-MS-00364689_image                    MNK-T1_0000990815
   JAN-MS-00447221_image                    MNK-T1_0001052415_image
   JAN-MS-00465772                          MNK-T1_0001052416_image
   JAN-MS-007852412                         ML00055637
   JAN-MS-00785242                          MNK-T1_0001532952_image
   JAN-MS-00814133                          MNK-T1_0002191216_image
   JAN-MS-00817084_image                    MNK-T1_0002191218
   JAN-MS-00864519                          MNK-T1_0002191219

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   JAN-MS-00865180                          MNK-T1_0004876067_image
   JAN-MS-00866310_image                    MNK-T1_0004876068_image
   JAN-MS-01071368                          MNK-T1_0006486651_image
   JAN-MS-01130535                          MNK-T1_0006486652
   JAN-MS-01136836                          MNK-T1_0006684264
   JAN-MS-04216373_image                    MNK-T1_0006909534
   JAN-MS-04218103_image                    MNK-T1_0007055940_image
   JAN-MS-04227313_Confidential             PDD1502100590
   JAN-MS-04227457_image                    PDD1502117658
   JAN-MS-04241287                          PDD1701098054
   MCK-AGMS-069-0002523                     ABC-MSAGC00002141
   MCK-AGMS-069-00091                       PLPC024000532503
   MCKMDL00334328                           PDD1701107091
   MCKMDL00353261                           PDD8801142910
   MCKMDL00353266                           PDD8801281191
   MCKMDL00353277                           PKY180255278
   MCKMDL00353279                           PKY180256902
   MCKMDL00353305                           PKY180416642
   MCKMDL00353307                           PKY180771438
   MCKMDL00353316                           PKY180796623
   MCKMDL00353374                           PKY180796628
   MCKMDL00355349                           MCKMDL01397081_image
   MCKMDL00385864                           PKY180796664
   MCKMDL00459598.                          MCKMDL01618970
   MCKMDL00459601.                          MCK-WVAG-003-0001145
   MCKMDL00462398                           ML00055624
   MCKMDL00463200                           MNK_NC00016755
   MCKMDL00463201                           MNK_NC00016757
   MCKMDL00464066                           PKY180796666
   MCKMDL00464368                           MNK_NC00028683
   MCKMDL00464370                           MNK_NC00251474
   MCKMDL00464371                           MNK-T1_0000416319
   MCKMDL00464377                           MNK-T1_0000443779 - MNK-T1_0000443822
   MCKMDL00464389                           MNK-T1_0000510177
   MCKMDL00465742                           MNK-T1_0000917000
   MCKMDL00465744                           MNK-T1_0000990812
   MCKMDL00465745                           MNK-T1_0000990994.
   MCKMDL00465746                           MNK-T1_0002191218_slipsheet
   MCKMDL00465749                           MNK-T1_0002678103
   MCKMDL00465750                           MNK-T1_0002679132
   MCKMDL00465752                           MNK-T1_0002679132_slipsheet
   MCKMDL00465752                           MNK-T1_0003002580_image
   MCKMDL00465755                           MNK-T1_0005053501_image
   MCKMDL00465763                           MNK-T1_0005053502_image
   MCKMDL00469495                           MNK-T1_0005543594
   MCKMDL00473378                           PKY180947495

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   MCKMDL00474152                           MNK-T1_0005981734
   MCKMDL00477362                           MNK-T1_0006486652_slipsheet
   MCKMDL00477364                           MNK-T1_0006659403
   MCKMDL00477365                           MNK-T1_0006661796
   MCKMDL00477369                           MNK-T1_0006661806
   MCKMDL00477373                           MNKT1_0006661807
   MCKMDL00477478                           MNK-T1_0006664418
   MCKMDL00484449                           MNK-T1_0006909538
   MCKMDL00490713                           PKY181284712
   MCKMDL00493101                           PKY183402315
   MCKMDL00496195                           PPLP003299959
   MCKMDL00539021                           PPLP003451464
   MCKMDL00543462                           PPLP004210521
   MCKMDL00543612                           MNK-T1_0007055941_image
   MCKMDL00545341                           MNK-T1_0007260134
   MCKMDL00546932                           PPLPC002000140782
   MCKMDL00571361                           MNK-T1_0007729166
   MCKMDL00587115_image                     MNK-T1_0007819281
   MCKMDL00610040                           MNKT1_0007832541
   MCKMDL00649066                           MNK-T1-0001155124
   MCKMDL00652315_image                     MNK-T1-0002704863
   MCKMDL00652317_image                     PAK000212733
   MCKMDL00661598_image                     PAK000212734
   MCKMDL00668399                           PAK000269231
   MCKMDL00695128                           PPLPC004000122279
   MCKMDL00706767                           PPLPC004000142842
   MCKMDL00719205                           PPLPC004000145999
   MCKMDL00724395                           PPLPC004000146529
   MCKMDL00724422                           PPLPC004000183541
   MCKMDL00726854                           PPLPC004000245474
   MCKMDL00837052                           PAK000269232
   MCKMDL00868604.                          PAK000269329
   MCKMDL00868605                           PAK000269333
   MCKMDL01174072                           PDD1701098048
   MCKMDL01387750                           PDD1701421278
   MCKMDL01392944_image                     PDD9316706639
   MDL2804_ MCKMDL00334325                  TEVA_MDL_A_06771237
   PDD9316710173                            PPLPC036000091671_image
   PKY180117283                             PPLPC039000195285_image
   PKY18077399                              PPLPC039000672711_CONFIDENTIAL
   PKY180796724                             PPLPC039000672711_slipsheet
   PKY181277693                             PPLPC045000002603
   PKY181715440                             PPLPC045000002604
   PLPC028000117269                         PPLPC046000040434
   PPLC051000235229                         PPLPC047000031688_image
   PPLP0033337352                           MAL-MI 000157445

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   PPLP003337352                            PPLPC05600009410
   PPLP003361253                            PPLPC05600009412
   PPLP003361649                            PPLPC05600009413
   PPLP003361918                            PPLPC31000214959
   PPLP004397425                            PPLPC31000214960
   PPLP004397461                            TEVA_AAMD_00619305
   PPLPC0025000006304                       TEVA_MDL_A_00782827
   PPLPC0025000006305                       TEVA_MDL_A_00858257_image
   PPLPC0025000007431                       TEVA_MDL_A_00858301_slipsheet
   PPLPC0025000007432                       TEVA_MDL_A_01180335
   PPLPC004000073279                        TEVA_MDL_A_01182428
   PPLPC004000141887                        TEVA_MDL_A_01307786
   PPLPC004000141888                        TEVA_MDL_A_01853080
   PPLPC004000235658 -PPLPC004000235659     TEVA_MDL_A_01907307_Highly Confidential
   PPLPC004000235760 - PPLPC004000235761    TEVA_MDL_A_01907307_slipsheet
   PPLPC004000246705                        TEVA_MDL_A_02366621_slipsheet
   PPLPC004000246708                        TEVA_MDL_A_02481717
   PPLPC004000248015                        TEVA_MDL_A_02964576_Highly Confidential
   PPLPC004000249167                        TEVA_MDL_A_02481724
   PPLPC004000249170                        TEVA_MDL_A_03010771_image
   PPLPC004000256865                        TEVA_MDL_A_03010773
   PPLPC004000298375                        TEVA_MDL_A_03195537_image
   PPLPC008000013580                        TEVA_MDL_A_03195786_image
   PPLPC00800002138                         TEVA_MDL_A_02482047
   PPLPC008000022314                        TEVA_MDL_A_03195788_image
   PPLPC008000030097                        TEVA_MDL_A_02482061
   PPLPC008000031453                        TEVA_MDL_A_02482064
   PPLPC008000031454                        TEVA_MDL_A_02482082
   PPLPC008000036382                        TEVA_MDL_A_03195792_image
   PPLPC009000007590                        TEVA_MDL_A_03195793_image
   PPLPC013000328276_image                  TEVA_MDL_A_02482606
   PPLPC017000044561                        TEVA_MDL_A_03195797_slipsheet
   PPLPC018000902029_image                  TEVA_MDL_A_02485201
   PPLPC018000902031_image                  TEVA_MDL_A_02485506
   PPLPC019000518994                        TEVA_MDL_A_03217416_image
   PPLPC019000874246_image                  TEVA_MDL_A_02485891
   PPLPC019000897956_image                  TEVA_MDL_A_02486818
   PPLPC020000086520_image                  TEVA_MDL_A_02486851
   PPLPC020001151103                        TEVA_MDL_A_03217417_Confidential
   PPLPC022000184774                        TEVA_MDL_A_03547843_image
   PPLPC022000653078                        TEVA_MDL_A_02486863
   PPLPC022000986873                        TEVA_MDL_A_02486875
   PPLPC022000986875                        TEVA_MDL_A_06559377
   PPLPC023000061302                        TEVA_MDL_A_06758021
   PPLPC024000532502_image                  TEVA_MDL_A_06764971
   PPLPC024000537803_image                  TEVA_MDL_A_02487152

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   PPLPC025000149099                         TEVA_MDL_A_06769509
   PPLPC025000149100                         TEVA_MDL_A_02674754
   PPLPC025000149102                         TEVA_MDL_A_02722309
   PPLPC025000149110                         TEVA_MDL_A_02819137_Highly Confidential
   PPLPC025000171067                         TEVA_MDL_A_02819137_slipsheet
   PPLPC028000008080                         TEVA_MDL_A_02935210
   PPLPC028000587023                         TEVA_MDL_A_06771229
   PPLPC029000022136                         TEVA_MDL_A_06772174
   PPLPC029000177585                         TEVA_MDL_A_06794030
   PPLPC030000271126                         TEVA_MDL_A_09165501_image
   PPLPC030000564197                         TEVA_MDL_A_11786072
   PPLPC031000385886                         TEVA_MDL_A_12746422
   PPLPC031001481881                         TEVA_MDL_A_02935212
   PPLPC034000102543                         TEVA_MDL_A_02935214
   PPLPC034001107535                         TEVA_MDL_A_12765924
   PPLPC039000672710_image                   TEVA_MDL_A_12765926
   PPLPC046000062722_image                   TEVA_MDL_A_13494044
   PPLPC046000062729_image                   TEVA_MDL_A_13495736
   PPLPC046000062731_image                   PPLPC05600009410
   PPLPC047000031685_image                   ENDO-OPIOID_MDL-02261219
   PPLPC051000001178                         ENDO-OPIOID_MDL-04093787
   PPLPCO31001481881                         MAL-MI 000157630
   TEVA_MDL_A_00701449                       MCKMDL00726854
   TEVA_MDL_A_00825736                       ENDO-CHI_LIT_004770118
   TEVA_MDL_A_00858252_image                 CAH_MDL2904_00134451
   TEVA_MDL_A_00858261_image                 MCKAGMS-069-000064
   TEVA_MDL_A_00858300_image                 MCKMDL0047342
   TEVA_MDL_A_00858301_Highly Confidential   MCK-AGMS-069-00091
   TEVA_MDL_A_00858307_image                 Cardinal Health Solutions Guide (No Bates #
                                             provided)
   TEVA_MDL_A_00858312_image                 CAH_MDL2804_03225740
   TEVA_MDL_A_01236538_image                 ABDCMDL00320055
   TEVA_MDL_A_01907306_image                 PDD1701098050
   TEVA_MDL_A_02366619_image                 MNK_T1-0007055941
   TEVA_MDL_A_02366621_Confidential          ENDO-CHI_LIT- 00294169
   TEVA_MDL_A_02553105_image                 MCK-AGMS-019-0008132
   TEVA_MDL_A_02819133_image                 ABC-MSAGC00002141
   TEVA_MDL_A_02819135_image                 ABDC-JNAG00000372
   TEVA_MDL_A_02935216                       TEVA_MDL_A_03536515
   TEVA_MDL_A_02935426                       TEVA_MDL_A_03548111_image
   TEVA_MDL_A_02935428                       TEVA_MDL_A_03548120_Highly Confidential
   TEVA_MDL_A_02935519                       TEVA_MDL_A_03548120_slipsheet
   TEVA_MDL_A_02935521                       TEVA_MDL_A_03949078
   TEVA_MDL_A_02953776                       TEVA_MDL_A_03950295
   TEVA_MDL_A_02953879                       TEVA_MDL_A_03950296
   TEVA_MDL_A_02953905                       TEVA_MDL_A_06557774

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   TEVA_MDL_A_02953959_Highly Confidential               PPLPCO31001481881
   TEVA_MDL_A_02953959_image                             TEVA_MDL_A_06771262
   TEVA_MDL_A_02953959_slipsheet                         TEVA_MDL_A_06771267
   TEVA_MDL_A_02955356_image                             ABC-MSAGC00002126
   TEVA_MDL_A_02964576_image                             TEVA_MDL_A_08845018_image
   TEVA_MDL_A_02964576_slipsheet                         TEVA_MDL_A_08855370
   TEVA_MDL_A_02966982                                   TEVA_MDL_A_09165507_Highly Confidential
   TEVA_MDL_A_03217417_slipsheet                         TEVA_MDL_A_09165507_slipsheet
   TEVA_MDL_A_03452670                                   TEVA_MDL_A_11885794
   TEVA_MDL_A_03535304                                   TEVA_MDL_A_12745916.
   TEVA_MDL_A_03536110                                   TEVA_MDL_A_12745917
   TEVA_MDL_A_03536275                                   TEVA_MDL_A_12782509


  Laws and Regulations:

   21 CFR 1301.11                   21 USC 801a                      23 USC 826
   21 CFR 1301.71                   21 USC 812                       24 USC 827
   22 CFR 1301.74                   21 USC 821                       25 USC 830
   21 USC 22                        21 USC 823                       26 USC 880
   21 USC 22a                       21 USC 843
   21 USC 801                       22 USC 824


  2018 Transcripts and Written Statements to Congress:

  Written Statement of Steven H. Collis Before Subcommittee on Oversight and Investigations Committee
  5.8.18




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  Schedule 3. American Marketing Association Statement of Ethics325


  Preamble: The American Marketing Association commits itself to promoting the highest
  standard of professional ethical norms and values for its members (practitioners, academics
  and students). Norms are established standards of conduct that are expected and maintained
  by society and/or professional organizations. Values represent the collective conception of
  what communities find desirable, important and morally proper. Values also serve as the
  criteria for evaluating our own personal actions and the actions of others. As marketers, we
  recognize that we not only serve our organizations but also act as stewards of society in
  creating, facilitating and executing the transactions that are part of the greater economy. In this
  role, marketers are expected to embrace the highest professional ethical norms and the ethical
  values implied by our responsibility toward multiple stakeholders (e.g., customers, employees,
  investors, peers, channel members, regulators and the host community).

  Ethical Norms As marketers, we must:

        1. Do no harm. This means consciously avoiding harmful actions or omissions by
           embodying high ethical standards and adhering to all applicable laws and regulations in
           the choices we make.
        2. Foster trust in the marketing system. This means striving for good faith and fair dealing
           so as to contribute toward the efficacy of the exchange process as well as avoiding
           deception in product design, pricing, communication, and delivery of distribution.
        3. Embrace ethical values. This means building relationships and enhancing consumer
           confidence in the integrity of marketing by affirming these core values: honesty,
           responsibility, fairness, respect, transparency and citizenship.

  Ethical Values

  Honesty – to be forthright in dealings with customers and stakeholders. To this end, we will:

        •   Strive to be truthful in all situations and at all times.
        •   Offer products of value that do what we claim in our communications.
        •   Stand behind our products if they fail to deliver their claimed benefits.
        •   Honor our explicit and implicit commitments and promises.

  Responsibility – to accept the consequences of our marketing decisions and strategies. To this
  end, we will:

        •   Strive to serve the needs of customers.
        •   Avoid using coercion with all stakeholders.


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    https://www.ama.org/codes-of-conduct/
  Downloaded June 27, 2020

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     •   Acknowledge the social obligations to stakeholders that come with increased marketing
         and economic power.
     •   Recognize our special commitments to vulnerable market segments such as children,
         seniors, the economically impoverished, market illiterates and others who may be
         substantially disadvantaged.
     •   Consider environmental stewardship in our decision-making.

  Fairness – to balance justly the needs of the buyer with the interests of the seller. To this end,
  we will:

     •   Represent products in a clear way in selling, advertising and other forms of
         communication; this includes the avoidance of false, misleading and deceptive
         promotion.
     •   Reject manipulations and sales tactics that harm customer trust.
     •   Refuse to engage in price fixing, predatory pricing, price gouging or “bait-and-switch”
         tactics.
     •   Avoid knowing participation in conflicts of interest.
     •   Seek to protect the private information of customers, employees and partners.

  Respect – to acknowledge the basic human dignity of all stakeholders. To this end, we will:

     •   Value individual differences and avoid stereotyping customers or depicting demographic
         groups (e.g., gender, race, sexual orientation) in a negative or dehumanizing way.
     •   Listen to the needs of customers and make all reasonable efforts to monitor and
         improve their satisfaction on an ongoing basis.
     •   Make every effort to understand and respectfully treat buyers, suppliers, intermediaries
         and distributors from all cultures.
     •   Acknowledge the contributions of others, such as consultants, employees and
         coworkers, to marketing endeavors.
     •   Treat everyone, including our competitors, as we would wish to be treated.

  Transparency – to create a spirit of openness in marketing operations. To this end, we will:

     •   Strive to communicate clearly with all constituencies.
     •   Accept constructive criticism from customers and other stakeholders.
     •   Explain and take appropriate action regarding significant product or service risks,
         component substitutions or other foreseeable eventualities that could affect customers
         or their perception of the purchase decision.
     •   Disclose list prices and terms of financing as well as available price deals and
         adjustments.

  Citizenship – to fulfill the economic, legal, philanthropic and societal responsibilities that serve
  stakeholders. To this end, we will:


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     •   Strive to protect the ecological environment in the execution of marketing campaigns.
     •   Give back to the community through volunteerism and charitable donations.
     •   Contribute to the overall betterment of marketing and its reputation.
     •   Urge supply chain members to ensure that trade is fair for all participants, including
         producers in developing countries.

  Implementation

  We expect AMA members to be courageous and proactive in leading and/or aiding their
  organizations in the fulfillment of the explicit and implicit promises made to those stakeholders.
  We recognize that every industry sector and marketing sub-discipline (e.g., marketing research,
  digital marketing, direct marketing, and advertising) has its own specific ethical issues that
  require policies and commentary. An array of such codes can be accessed through links on the
  AMA Web site. Consistent with the principle of subsidiarity (solving issues at the level where
  the expertise resides), we encourage all such groups to develop and/or refine their industry and
  discipline-specific codes of ethics to supplement these guiding ethical norms and values.




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  Schedule 4. PRSA Code of Ethics326

  This Code applies to PRSA members. The Code is designed to be a useful guide for PRSA
  members as they carry out their ethical responsibilities. This document is designed to anticipate
  and accommodate, by precedent, ethical challenges that may arise. The scenarios outlined in
  the Code provision are actual examples of misconduct. More will be added as experience with
  the Code occurs.

  The Public Relations Society of America (PRSA) is committed to ethical practices. The level of
  public trust PRSA members seek, as we serve the public good, means we have taken on a
  special obligation to operate ethically.

  The value of member reputation depends upon the ethical conduct of everyone affiliated with
  the Public Relations Society of America. Each of us sets an example for each other – as well as
  other professionals – by our pursuit of excellence with powerful standards of performance,
  professionalism, and ethical conduct.

  Emphasis on enforcement of the Code has been eliminated. But, the PRSA Board of Directors
  retains the right to bar from membership or expel from the Society any individual who has been
  or is sanctioned by a government agency or convicted in a court of law of an action that fails to
  comply with the Code.

  Ethical practice is the most important obligation of a PRSA member. We view the Member Code
  of Ethics as a model for other professions, organizations, and professionals.

  PRSA Member Statement of Professional Values
  This statement presents the core values of PRSA members and, more broadly, of the public
  relations profession. These values provide the foundation for the Member Code of Ethics and
  set the industry standard for the professional practice of public relations. These values are the
  fundamental beliefs that guide our behaviors and decision-making process. We believe our
  professional values are vital to the integrity of the profession as a whole.

  Advocacy We serve the public interest by acting as responsible advocates for those we
  represent. We provide a voice in the marketplace of ideas, facts, and viewpoints to aid
  informed public debate.

  Honesty We adhere to the highest standards of accuracy and truth in advancing the interests of
  those we represent and in communicating with the public.

  Expertise We acquire and responsibly use specialized knowledge and experience. We advance
  the profession through continued professional development, research, and education. We build


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        https://www.prsa.org/about/ethics/prsa-code-of-ethics

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  mutual understanding, credibility, and relationships among a wide array of institutions and
  audiences.

  Independence We provide objective counsel to those we represent. We are accountable for
  our actions.

  Loyalty We are faithful to those we represent, while honoring our obligation to serve the
  public interest.

  Fairness We deal fairly with clients, employers, competitors, peers, vendors, the media, and
  the general public. We respect all opinions and support the right of free expression.
  PRSA Code Provisions of Conduct

  Free Flow of Information
  Core Principle Protecting and advancing the free flow of accurate and truthful information is
  essential to serving the public interest and contributing to informed decision making in a
  democratic society.
  Intent:
   • To maintain the integrity of relationships with the media, government officials, and the
       public.
   • To aid informed decision-making.

  Guidelines: A member shall:
   • Preserve the integrity of the process of communication.
   • Be honest and accurate in all communications.
   • Act promptly to correct erroneous communications for which the practitioner is
      responsible.
   • Preserve the free flow of unprejudiced information when giving or receiving gifts by
      ensuring that gifts are nominal, legal, and infrequent.
  Examples of Improper Conduct Under this Provision:
   • A member representing a ski manufacturer gives a pair of expensive racing skis to a sports
      magazine columnist, to influence the columnist to write favorable articles about the
      product.
   • A member entertains a government official beyond legal limits and/or in violation of
      government reporting requirements.

  Competition
  Core Principle Promoting healthy and fair competition among professionals preserves an ethical
  climate while fostering a robust business environment.

  Intent:
   •   To promote respect and fair competition among public relations professionals.
   •   To serve the public interest by providing the widest choice of practitioner options.

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  Guidelines: A member shall:
   • Follow ethical hiring practices designed to respect free and open competition without
      deliberately undermining a competitor.
   • Preserve intellectual property rights in the marketplace.
  Examples of Improper Conduct Under This Provision:
   • A member employed by a “client organization” shares helpful information with a
      counseling firm that is competing with others for the organization’s business.
   • A member spreads malicious and unfounded rumors about a competitor in order to
      alienate the competitor’s clients and employees in a ploy to recruit people and business.

  Disclosure of Information
  Core Principle Open communication fosters informed decision making in a democratic society.
  Intent: To build trust with the public by revealing all information needed for responsible
  decision making.

  Guidelines: A member shall:
   • Be honest and accurate in all communications.
   • Act promptly to correct erroneous communications for which the member is responsible.
   • Investigate the truthfulness and accuracy of information released on behalf of those
      represented.
   • Reveal the sponsors for causes and interests represented.
   • Disclose financial interest (such as stock ownership) in a client’s organization.
   • Avoid deceptive practices.
  Examples of Improper Conduct Under this Provision:
   • Front groups: A member implements “grass roots” campaigns or letter-writing campaigns
      to legislators on behalf of undisclosed interest groups.
   • Lying by omission: A practitioner for a corporation knowingly fails to release financial
      information, giving a misleading impression of the corporation’s performance.
   • A member discovers inaccurate information disseminated via a website or media kit and
      does not correct the information.
   • A member deceives the public by employing people to pose as volunteers to speak at
      public hearings and participate in “grass roots” campaigns.

  Safeguarding Confidences
  Core Principle Client trust requires appropriate protection of confidential and private
  information.
  Intent: To protect the privacy rights of clients, organizations, and individuals by safeguarding
  confidential information.
  Guidelines:
    • A member shall: Safeguard the confidences and privacy rights of present, former, and
       prospective clients and employees.
    • Protect privileged, confidential, or insider information gained from a client or organization.

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   •  Immediately advise an appropriate authority if a member discovers that confidential
      information is being divulged by an employee of a client company or organization.
  Examples of Improper Conduct Under This Provision:
   • A member changes jobs, takes confidential information, and uses that information in the
      new position to the detriment of the former employer.
   • A member intentionally leaks proprietary information to the detriment of some other
      party.

  Conflicts of Interest
  Core Principle Avoiding real, potential or perceived conflicts of interest builds the trust of
  clients, employers, and the publics.
  Intent:
   • To earn trust and mutual respect with clients or employers.
   • To build trust with the public by avoiding or ending situations that put one’s personal or
       professional interests in conflict with society’s interests.
  Guidelines: A member shall:
   • Act in the best interests of the client or employer, even subordinating the member’s
       personal interests.
   • Avoid actions and circumstances that may appear to compromise good business judgment
       or create a conflict between personal and professional interests.
   • Disclose promptly any existing or potential conflict of interest to affected clients or
       organizations.
   • Encourage clients and customers to determine if a conflict exists after notifying all affected
       parties.
  Examples of Improper Conduct Under This Provision:
   • The member fails to disclose that he or she has a strong financial interest in a client’s chief
       competitor.
   • The member represents a “competitor company” or a “conflicting interest” without
       informing a prospective client.

  Enhancing the Profession
  Core Principle Public relations professionals work constantly to strengthen the public’s trust in
  the profession.

  Intent:
   • To build respect and credibility with the public for the profession of public relations.
   • To improve, adapt and expand professional practices.
  Guidelines: A member shall:
   • Acknowledge that there is an obligation to protect and enhance the profession.
   • Keep informed and educated about practices in the profession to ensure ethical conduct.
   • Actively pursue personal professional development.
   • Decline representation of clients or organizations that urge or require actions contrary to
       this Code.

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   •  Accurately define what public relations activities can accomplish.
   •  Counsel subordinates in proper ethical decision making.
   •  Require that subordinates adhere to the ethical requirements of the Code.
   •  Report practices that fail to comply with the Code, whether committed by PRSA members
      or not, to the appropriate authority.
  Examples of Improper Conduct Under This Provision:
   • A PRSA member declares publicly that a product the client sells is safe, without disclosing
      evidence to the contrary.
   • A member initially assigns some questionable client work to a non-member practitioner to
      avoid the ethical obligation of PRSA membership.




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  Schedule 5. Specific Evidence Forming the Basis for Opinions

  In addition to the documents listed in Schedule 2 and the documents, publications, articles and
  materials listed throughout my report, the following documents additionally form the basis for my
  opinions that are listed in

  D. Manufacturers and Distributors Team Up in an Integrated Marketing System

   PKY180255278                      PPLPC030000271126                  PPLPC004000146529
   PDD8801142910                     PPLPC004000183541                  PPLPC008000013580
   PKY180256902                      PPLPC034001107535                  ENDO-CHI_LIT-00088728
   PKY181284712                      PPLPC029000022136                  JAN-MS-00465772
   PDD8801281191                     PPLPC009000007590                  TEVA_MDL_A_13495736
                                     PPLPC004000145999


  E. Distributors Bring a Wide Variety of Marketing Services to their Partnership with Opioid
     Manufacturers

   ENDO-CHI_LIT_004770118            MCKMDL0047342                      ABDCMDL00323116
   CAH_MDL2904_00134451              CAH_MDL2804_02100389               ABDCMDL00320055
   MCKAGMS-069-000064                TEVA_MDL_A_12746422                ABDC-WVFED00018369
   MCKMDL00724395                    MCKMDL00353374                     CAH_MDL2804_01384291
   MCKMDL00464066                    TEVA_MDL_A_12765924                CAH_MDL2804_00104656
   MCKMDL00473378                    TEVA_MDL_A_12765926


  C. Specific Ways in which the Distributors Worked to Create Demand

  1. Establishing retail relationships with pharmacists and leveraging those relationships to market and
  promote prescription opioids.

   MCK-AGMS-069-00091                 Cardinal Health Solutions Guide   ABDCMDL00320055
                                      (No Bates # provided)
   MCKMDL00724422                     CAH_MDL2804_03225740


  2. Providing market research and analysis services to opioid manufacturers.

   PDD1701098050                     TEVA_MDL_A_03195786                TEVA_MDL_A_00858261
   PDD1701098054                     TEVA_MDL_A_03195792                TEVA_MDL_A_00858300
   PDD1701107091                     TEVA_MDL_A_03195797                TEVA_MDL_A_00858301
   PDD1502117658                      TEVA_MDL_A_09165501               TEVA_MDL_A_00858307
   PDD1502100590                     TEVA_MDL_A_03547843                TEVA_MDL_A_00858312
   PPLPC030000564197                 MNK-T1_0006486651                  TEVA_MDL_A_02955356
   JAN-MS-00817084                   MNK-T1_0006486652                  JAN-MS-00447221
   MNK-T1_0001532952                 MNK-T1_0000641574                  JAN-MS-00364683
   MNK-T1_0001052415                  MNK-T1_0002191216                 JAN-MS-00364686
   MNK-T1_0001052416                 MNK-T1_0002191218                  JAN-MS-00364689

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   TEVA_MDL_A_01236538              MNK-T1_0007055940                  JAN-MS-00362395
   TEVA_MDL_A_02553105              MNK_T1-0007055941                  JAN-MS-00362392
   TEVA_MDL_A_02819135              PPLPC046000062722                  JAN-MS-00866310
   TEVA_MDL_A_02819133              PPLPC046000062729                  JAN-MS-04218103
   TEVA_MDL_A_02953959              PPLPC046000062731                  JAN-MS-04227457
   TEVA_MDL_A_03195537               PPLPC047000031685                 JAN-MS-04216373
   TEVA_MDL_A_03195793              TEVA_MDL_A_02964576                MNK-T1_0002191219
   TEVA_MDL_A_03195788              TEVA_MDL_A_00858252

  3. Developing strategic marketing plans for opioid manufacturers, including segmentation analysis
  and value proposition design.

   ACTAVIS0622787                   TEVA_MDL_A_00858252                JAN-MS-00364686
   TEVA_MDL_A_12746422              TEVA_MDL_A_00858261                JAN-MS-00364689
   MCKMDL00353374                   TEVA_MDL_A_00858300                JAN-MS-00362395
   MCKMDL00353316                   TEVA_MDL_A_00858301                JAN-MS-00362392
   PPLPC046000062722                TEVA_MDL_A_00858307                JAN-MS-00866310
   PPLPC046000062729                TEVA_MDL_A_00858312                JAN-MS-04218103
   PPLPC046000062731                TEVA_MDL_A_02955356                JAN-MS-04227457
   PPLPC047000031685                JAN-MS-00447221                    JAN-MS-04216373
   TEVA_MDL_A_02964576              JAN-MS-00364683


  4. Performing direct marketing for opioid manufacturers:

        a. Advertising manufacturer partners’ opioid products to the retail pharmacies.

   ACTAVIS0600353                   ACTAVIS0622787                     PPLPC022000184774
   PPLPC004000298375                TEVA_MDL_A_12746422                PPLPC051000001178
   MNK-T1_0000823151                MCKMDL00353374                     PPLPC004000142842
   ACTAVIS0220239                   MCKMDL00353316                     ABC-MSAGC00002141
   ENDO-CHI_LIT- 00294169           MCKMDL00353261                     ABDCMDL00002141
   ENDO-CHI_LIT-00431191            MCKMDL00353266                     ABDC-JNAG00000372
   CAH_MDL2804_00133350             MNK-T1_0000990815                  ABDCMDL00002632
   TEVA_MDL_A_13494044              MCKMDL00695128                     PPLPC022000986875
   CAH_MDL2804_00132726             MCKMDL00546932                     PPLPCO31001481881
   PKY180416642                     MNK-T1_0006909534                  PPLPC004000256865
   MCKMDL00353305                   MCKMDL00353277                     ABC-MSAGC00002126
   MCKMDL00706767                   MCKMDL00490713                     ABDCMDL00002126
   MCK-AGMS-019-0008132             PPLPC004000245474                  ABDC_INCID0000189
   PPLPC004000245474                MNK-T1_0000990815                  ABDMDL00002828
   MCKMDL00353279                   PPLPC004000249170                  ABC-MSAGC00002128l
   ALLERGAN_MDL_00684866            MCKMDL00353307                     ABDCMDL00002128


        b. Sales promotion programs (offering coupons and rebates to customers) for opioid drugs

   JAN-MS-01136836                  PPLPC022000184774                  ABDCMDL00365073

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    PPLPC030000564197               MCK-AGMS-069-00091                EPI001222194
   JAN-MS-01071368                  MCKMDL00724422                    PPLPC004000298375
   MDL2804_ MCKMDL00334325          EPI001222194                      ALLERGAN_MDL_02495818
   MCKMDL00334328                   MCKMDL00543462                    ACTAVIS0623776
   MCKMDL00385864                   JAN-MS-00864519                   JAN-MS-00785242
    JAN-MS-00865180                 MCKMDL00539021                    JAN-MS-007852412

             c. Field Sales Support Systems

   ENDO_OPIOID_MDL-04815436        PPLPCO31001481881                       JAN-MS-04227313
   TEVA_MDL_A_11786072                JAN-MS-00814133


     5. Conducting indirect marketing of Opioid Products:

              a. Distributor-run Patient Adherence Programs

   PPLPC002000140782               MCKMDL00493101                       JAN-MS-00814133
   PPLP003299959                   MCKMDL00726854                       JAN-MS-01130535
   PPLP0033337352                  MCKMDL00496195                       MCK-AGMS-069-0002523
   PPLPC004000248015               PPLP003451464                        PPLPC030000564197
   PPLPC028000587023               TEVA_MDL_A_11786072                  PPLPC031001481881


              b. Offering continuing education programs for physicians, pharmacists and healthcare
              providers promoting the widespread use of opioids.

   JAN-MS-00814133                  PPLPC008000022314                 PPLPC004000183541
   JAN-MS-00326339                  PPLPC004000122279                  PPLPC008000036382
   JAN-MS-00326341                  PPLPC023000061302

  Imedex Involvement:

   ENDO_CHI_LIT-00195910            PKY180796623                      TEVA_MDL_A_06559377
   ENDO-OPIOID_MDL-01445144         PKY180796628                      TEVA_MDL_A_06758021
   ENDO-OPIOID_MDL-01928156         PKY180796664                      TEVA_MDL_A_06764971
   ENDO-OPIOID_MDL-0224844          PKY180796666                      TEVA_MDL_A_06769509
   ENDO-OPIOID_MDL-02254694         PKY189796724                      TEVA_MDL_A_06771229
   ENDO-OPIOID_MDL-02254695         PKY180947495                      TEVA_MDL_A_06772174
   ENDO-OPIOID_MDL-024093787        PPLPC019000518994                 TEVA_MDL_A_06794030
   ENDO-OPIOID_MDL-04234777         TEVA_MDL_A_00701449               TEVA_MDL_A_06771237
   PKY180771438                     TEVA_MDL_A_00825736

              c. Hiring and training key opinion leaders (speaker series) to promote the widespread use
              of opioids.

   PPLPC024000532502                PPLPC039000672710
   PLPC024000532503                 PPLPC004000183541


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              d. Conducting clinical trials and Writing publications.

   TEVA_MDL_A_02366621               TEVA_MDL_A_03217416                MNK-T1_0004876068
    TEVA_MDL_A_03217417              TEVA_MDL_A_03010771                PPLPC030000564197
    TEVA_MDL_A_02366619              TEVA_MDL_A_03010773
   TEVA_MDL_A_01907306               MNK-T1_0004876067


         e. Working through the industry trade associations to ensure favorable operating conditions
         and combatting media and government pushback against opioids.

   ABDCMDL00374353                   CAH_MDL2804_03250329               ABDCMDL00264245
   HDA_MDL_000131158                 ABDCMDL00288483                    ENDO-OPIOID_MDL-01623042
   ML00055637                        ABDCMDL00288484                    ENDO-OPIOID_MDL-02217039
   HDA_MDL_000159563                 ABDCMDL00269293                    ENDO-OPIOID_MDL-00394248
   HDA_MDL_000159557                 ABDCMDL00269301                    CHI_000272862
   HDA_MDL_000159198                 HDA_MDL_000162207                  PPLPC031000385886
   ABDCMDL00000397                   ABDCMDL03829334                    PPLPC017000044561
   HDA_MDL_000081671                 MCKMDL00719205                     PPLPC029000177585
   HDA_MDL_000081669                 ABDCMDL03830243                    PKY183402315
   PPLP004210521                     CAH_MDL2804_00112004               JAN-MS-04241287
   PPLPC020001151103                 ABDCMDL00375084


  D.     Financial Rewards from Integrated Marketing

  1. Distributors’ Marketing Activities Generated ROI for Opioid Manufacturers.

   PPLPC030000564197                 MCK-AGMS-069-00091                 MAL-MI 000157630
   PPLPC025000149099                 MCKMDL00724422                     MNK-T1_0000416504


  2. Distributors’ Compensation Tied to Increased Opioid Sales

   MAL-MI 000157445                  Acquired_Actavis_00669723          ABDCMDL00002141
   MNK-T1_0006684264                 MAL-MI 000240890/MNK-              ABDC-JNAG00000372
                                     T1_0000499742
   MAL-MI 000157630                   MAL-MI 000241028/MNK-             ABDCMDL00002632
                                     T1_0000499880
   MNK-T1_0000416504                  ABC-MSAGC00002141




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  Schedule 6- Excerpts from the Controlled Substance Abuse Act

  The following are relevant excerpts that I have been provided with from the Controlled Substance Abuse
  Act. I have further been provided with that Act and its implementing regulations as listed in Schedule 2.

  21 U.S.C.A. § 801327

  § 801. Congressional findings and declarations: controlled substances

  The Congress makes the following findings and declarations:

  (1) Many of the drugs included within this subchapter have a useful and legitimate medical purpose and
  are necessary to maintain the health and general welfare of the American people.

  (2) The illegal importation, manufacture, distribution, and possession and improper use of controlled
  substances have a substantial and detrimental effect on the health and general welfare of the American
  people.



  21 U.S.C.A. § 812328

  § 812. Schedules of controlled substances

  (b) Placement on schedules; findings required

  Except where control is required by United States obligations under an international treaty, convention,
  or protocol, in effect on October 27, 1970, and except in the case of an immediate precursor, a drug or
  other substance may not be placed in any schedule unless the findings required for such schedule are
  made with respect to such drug or other substance. The findings required for each of the schedules are
  as follows:

  (2) Schedule II--

  (A) The drug or other substance has a high potential for abuse.

  (B) The drug or other substance has a currently accepted medical use in treatment in the United States
  or a currently accepted medical use with severe restrictions.

  (C) Abuse of the drug or other substances may lead to severe psychological or physical dependence.



  The Attorney General is authorized to promulgate rules and regulations and to charge reasonable fees
  relating to the registration and control of the manufacture, distribution, and dispensing of controlled
  substances and to listed chemicals.

  21 U.S.C.A. § 823329


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      (Pub.L. 91-513, Title II, § 303, Oct. 27, 1970, 84 Stat. 1253)
  328
      (Pub.L. 91-513, Title II, § 303, Oct. 27, 1970, 84 Stat. 1253)
  329
      (Pub.L. 91-513, Title II, § 303, Oct. 27, 1970, 84 Stat. 1253)

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  § 823. Registration requirements

  (b) Distributors of controlled substances in schedule I or II

  The Attorney General shall register an applicant to distribute a controlled substance in
  schedule I or II unless he determines that the issuance of such registration is inconsistent with
  the public interest. In determining the public interest, the following factors shall be
  considered:

  (1) maintenance of effective control against diversion of particular controlled substances into other than
  legitimate medical, scientific, and industrial channels.



  21 C.F.R. § 1301.74330

  § 1301.74 Other security controls for non-practitioners; narcotic treatment programs and compounders
  for narcotic treatment programs.

  (b) The registrant shall design and operate a system to disclose to the registrant suspicious orders of
  controlled substances. The registrant shall inform the Field Division Office of the Administration in his
  area of suspicious orders when discovered by the registrant. Suspicious orders include orders of unusual
  size, orders deviating substantially from a normal pattern, and orders of unusual frequency.




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        [36 FR 7778, Apr. 24, 1971]

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